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              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY


PENNEAST PIPELINE COMPANY, CIVIL ACTION
LLC,
One Meridian Boulevard, Suite 2C01 Docket No. _____________
Wyomissing, PA 19610
                                   Electronically Filed
                       Plaintiff,

      vs.

A PERMANENT EASEMENT FOR
1.92 ACRES ± AND TEMPORARY
EASEMENT FOR 2.05 ACRES ± IN
HOPEWELL TOWNSHIP,
MERCER COUNTY, NEW
JERSEY, TAX PARCEL NO. 1106-
59-13.01;

COUNTY OF MERCER, JERSEY
CENTRAL POWER & LIGHT
COMPANY, VERIZON NEW
JERSEY, INC. AS SUCCESSOR IN
INTEREST TO BELL ATLANTIC
OF NEW JERSEY, INC., STATE OF
NEW JERSEY, BY THE
SECRETARY OF THE NEW
JERSEY DEPARTMENT OF
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ENVIRONMENTAL
PROTECTION, THE TOWNSHIP
OF HOPEWELL,

AND ALL UNKNOWN OWNERS,

                          Defendants.

            VERIFIED COMPLAINT IN CONDEMNATION OF
             PROPERTY PURSUANT TO FED. R. CIV. P. 71.1
      Plaintiff, PennEast Pipeline Company, LLC, by the undersigned counsel, files

this Verified Complaint in eminent domain pursuant to the Natural Gas Act, 15

U.S.C. § 717f(h) and Federal Rule of Civil Procedure 71.1, for its causes of action

against Defendants, a Permanent Easement for 1.92 Acres ± and a Temporary

Easement for 2.05 Acres ± in Hopewell Township, Mercer County, New Jersey, Tax

Parcel Number 1106-59-13.01, the County of Mercer, Jersey Central Power & Light

Company, Verizon New Jersey, Inc. as successor in interest to Bell Atlantic of New

Jersey, Inc. (“Verizon”), State of New Jersey, by the Secretary of the New Jersey

Department of Environmental Protection, the Township of Hopewell, and all

Unknown Owners, and avers as follows:

                            NATURE OF THE CASE
      1.    This is a civil action under the Natural Gas Act, 15 U.S.C. § 717 et seq.,

for (a) the taking of rights of way and easements in property under the power of

eminent domain granted by Section 7(h) of the Act, 15 U.S.C. § 717f(h), (b) for

ancillary injunctive relief to allow immediate entry and possession of the same, and


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(c) for the ascertainment and award of compensation to the owner of the property

and any other parties in interest.

                                     DEFINITIONS

      2.     The following definitions are used in this Complaint:

             (a)    “PennEast” shall mean Plaintiff, PennEast Pipeline Company,

LLC, a Delaware limited liability company, duly registered to do business in the

State of New Jersey, with its principal place of business at One Meridian Boulevard,

Suite 2C01, Wyomissing, Pennsylvania, 19610.

             (b)    “FERC”      shall   mean   the   Federal   Energy   Regulatory

Commission.

             (c)    “FERC Order” shall mean the Order issued by the FERC on

January 19, 2018 at Docket No. CP15-558-000, authorizing the PennEast Pipeline

Project and granting PennEast a Certificate of Public Convenience and Necessity.

The FERC Order is a matter of public record that is subject to judicial notice under

Federal Rule of Evidence 201. The full FERC Order is attached here as Exhibit B.

             (d)    The “Project” shall mean the PennEast Pipeline Project, which

FERC reviewed and approved by the issuance of the FERC Order. The Project will

provide about 1.1 million dekatherms per day (Dth/d) of year-round natural gas

transportation service from northern Pennsylvania to markets in New Jersey, eastern

and southern Pennsylvania, and surrounding states. It will involve the construction



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and operation of approximately 120 miles of natural gas pipeline and associated

equipment and facilities in Pennsylvania and New Jersey to provide infrastructure

for the Project, including, without limitation, approximately 120 miles of new 36-

inch-diameter pipeline extending from Luzerne County, Pennsylvania to Mercer

County, New Jersey.

             (e)   “Property” shall mean: that property located at Valley Rd in

Hopewell Township, Mercer County, New Jersey, described in a Deed dated

December 23, 2002 recorded in Mercer County at Book 4983 Page 139 and known

as Tax Parcel Number 1106-59-13.01.

             (f)   “Rights of Way”1 shall mean the following easements and rights

of way on the Property that are necessary to install and construct the Project and are

depicted in the drawing attached here as Exhibit A for Tax Parcel Number 1106-59-

13.01:

                   1.     A permanent right of way and easement of 1.92 acres ± for
                          the purpose of constructing, operating, maintaining,
                          altering, repairing, changing the size of, replacing and
                          removing a 36-inch diameter pipeline and all related
                          equipment and appurtenances thereto (including but not
                          limited to meters, fittings, tie-overs, valves, cathodic
                          protection equipment and launchers and receivers) for the
                          transportation of natural gas, or its byproducts, and other
                          substances as approved by the FERC Order; and

1
 The acreages of the Rights of Way are approximate, as noted in Exhibit A,
because a civil survey has not been performed. The complaint shall be amended, if
necessary, once a civil survey has been completed and the acreages have been
confirmed.

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                        conducting all other activities as approved by the FERC
                        Order together with all rights and benefits necessary for
                        the full enjoyment and use of the right of way and
                        easement. Further, Defendants shall not excavate, change
                        the grade of or place any water impoundments or
                        structures on the right of way and easement without the
                        written consent of Plaintiff, nor may Defendants plant any
                        trees, including trees considered as a growing crop, on the
                        permanent right of way and easement; or use said
                        permanent right of way or any part thereof in such a way
                        as to interfere with Plaintiff’s immediate and unimpeded
                        access to said permanent right of way, or otherwise
                        interfere with Plaintiff’s lawful exercise of any of the
                        rights herein granted without first having obtained
                        Plaintiff’s approval in writing; and Defendants will not
                        permit others to do any of said acts without first having
                        obtained Plaintiff’s approval in writing. Plaintiff shall
                        have the right from time to time at no additional cost to
                        Defendants to cut and remove all trees including trees
                        considered as a growing crop, all undergrowth and any
                        other obstructions that may injure, endanger or interfere
                        with the construction and use of said pipeline and all
                        related equipment and appurtenances thereto;

                  2.    A temporary workspace easement totaling 2.05 acres ± as
                        described on Exhibit A for use during the pipeline
                        construction and restoration period only for the purpose of
                        ingress, egress and regress and to enter upon, clear off and
                        use for construction and all other activities required by the
                        FERC Order; and

                  3.    The Rights of Way shall include permanent rights of
                        ingress to and egress from the Permanent Right of Way.

            (g)   “Appraised Value” shall mean the fair market value of the

Rights of Way to be condemned, as set forth in an appraisal prepared by an

independent appraiser retained by PennEast. The appraisal values the Permanent



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Easement at $34,500, and the Temporary Easement at $2,900. The total Appraised

Value for the Rights of Way is $37,400.

            (h)    “Landowners” shall mean the County of Mercer, the fee simple

owner of the Property on which PennEast is seeking to acquire the Rights of Way.

            (i)    “Interest Holders” shall mean other persons and corporations

appearing of record to have an interest in the said land and premises and person and

corporations who have or may claim to have an interest therein as are known to

PennEast and are as follows:

                   1.    Jersey Central Power and Light Company, address: 300
                         Madison Avenue, Morristown, NJ 07962, by reason of
                         easements and rights of way, see Exhibit C;

                   2.    Verizon New Jersey, Inc., address: 540 Broad Street,
                         Newark, NJ 07102, by reason of an easement, see Exhibit
                         D;

                   3.    State of New Jersey, by the Secretary of the New Jersey
                         Department of Environmental Protection, address: DEP
                         Main Building, 401 East State Street, Trenton, NJ 08608,
                         but reason of an easement, see Exhibit E; and

                   4.    The Township of Hopewell, address: 201 Washington
                         Crossing-Pennington Rd., Titusville, NJ 08560-1410, by
                         reason of a deed of dedication and easements, see Exhibit
                         F.

            (j)    “Defendants” shall collectively refer to Landowners, Interest

Holders, and any other party who have or may claim some interest in the Property,

whose names are currently unknown to PennEast despite diligent inquiry

(“Unknown Owners”).

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                         JURISDICTION AND VENUE
      3.     Plaintiff, PennEast, is a Delaware limited liability company that

proposes to construct a new greenfield pipeline system and upon commencement of

its operations will become a Natural Gas Company within the meaning of the Natural

Gas Act, 15 U.S.C. § 717a(6).

      4.     Defendants are the Landowners, Interest Holders, and all Unknown

Owners of the Property on which PennEast is seeking to acquire the Rights of Way.

      5.     PennEast’s authority to maintain the action in this Court derives from

the Natural Gas Act, 15 U.S.C. § 717f(h), which states in relevant part:

             When any holder of a certificate of public convenience
             and necessity cannot acquire by contract, or is unable to
             agree with the owner of property to the compensation to
             be paid for, the necessary right-of-way to construct,
             operate, and maintain a pipe line or pipe lines for the
             transportation of natural gas, and the necessary land or
             other property, in addition to right-of-way, for the
             location of compressor stations, pressure apparatus, or
             other stations or equipment necessary to the proper
             operation of such pipe line or pipe lines, it may acquire
             the same by the exercise of the right of eminent domain
             in the district court of the United States for the district in
             which such property may be located, or in the State
             courts. The practice and procedure in any action or
             proceeding for that purpose in the district court of the
             United States shall conform as nearly as may be with the
             practice and procedure in similar action or proceeding in
             the courts of the State where the property is situated:
             Provided, That the United States district courts shall only
             have jurisdiction of cases when the amount claimed by the
             owner of the property to be condemned exceeds $3,000.



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             (Emphasis added).

      6.     This Court has jurisdiction over this action because the Property is

located within the District of New Jersey, and because the value of the property

interests to be taken is claimed by the Landowner to exceed the sum of $3,000.

      7.     Venue is proper in this District under 28 U.S.C. § 1391 because the

Property is situated in the District of New Jersey.

                       THE AUTHORITY TO CONDEMN

      8.     On January 19, 2018, the FERC issued the FERC Order to PennEast

approving the Project, authorizing PennEast to construct, operate, and maintain a

new natural gas pipeline system, including pipeline transmission facilities in

Pennsylvania and New Jersey.

      9.     PennEast is the holder of a Certificate of Public Convenience and

Necessity issued by the FERC – the FERC Order.

      10.    Under the Natural Gas Act, the holder of a Certificate of Public

Convenience and Necessity has the power to condemn land for a federally-approved

natural gas pipeline project if:

             a.     the company has been granted a Certificate of Public

                    Convenience and Necessity from the FERC,

             b.     the company has been unable to acquire the needed land by

                    contract with the owner, and



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             c.    the value of the property at issue is claimed by the landowner at

                   more than $3,000.

15 U.S.C. § 717f(h); see Columbia Gas Transmission, LLC v. 1.01 Acres, 768 F.3d

300, 304 (3d Cir. 2014); E. Tenn. Natural Gas Co. v. Sage, 361 F.3d 808, 827-28

(4th Cir. 2004), cert. denied, 543 U.S. 978 (2004).

      11.    PennEast meets these three requirements, as detailed below.

       PENNEAST IS A HOLDER OF A CERTIFICATE OF PUBLIC
                 CONVENIENCE AND NECESSITY
      12.    On September 24, 2015, PennEast filed an application with the FERC

for a Certificate of Public Convenience and Necessity for its Project to construct new

pipeline facilities in Pennsylvania and New Jersey. The Project will provide about

1.1 million dekatherms per day (Dth/d) of year-round natural gas transportation

service from northern Pennsylvania to markets in New Jersey, eastern and southern

Pennsylvania, and surrounding states. It will involve the construction and operation

of approximately 120 miles of natural gas pipeline and associated equipment and

facilities in Pennsylvania and New Jersey to provide infrastructure for the Project,

including, without limitation, approximately 120 miles of new 36-inch-diameter

pipeline extending from Luzerne County, Pennsylvania to Mercer County, New

Jersey. See Exhibit B at ¶¶ 1, 4.

      13.    The Project underwent an extensive pre-filing and post-filing review

process. The FERC evaluated the public need for the Project (referred to as the


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 “public convenience and necessity” under Section 7(c) of the Natural Gas Act), and

 completed a thorough review of environmental impacts and operational

 considerations before issuing the FERC Order authorizing the Project.

       14.    The public was notified of the Project and was provided an opportunity

 to comment throughout the process, including through the following notices: (a)

 FERC issued a Notice of Intent to Prepare an Environmental Impact Statement for

 the Planned PennEast Project, Request for Comments on Environmental Issues, and

 Notice of Public Scoping Meetings on January 13, 2015 in Docket No. PF15-1-000

 (the FERC’s pre-filing docket number for the Project), which was published in the

 Federal Register on February 3, 2015 and mailed to interested parties including

 federal, state, and local officials; agency representatives; environmental and public

 interest groups; Native American tribes; local libraries and newspapers; and affected

 property owners (i.e., landowners crossed or adjacent to the pipeline facilities or

 within 0.5 miles of a compressor station), and other stakeholders who had indicated

 an interest in the Project; (b) PennEast filed an Application for Certificates of Public

 Convenience and Necessity and Related Authorizations dated September 24, 2015,

 and FERC issued notice of PennEast’s application on October 15, 2015; (c) FERC

 published a Draft Environmental Impact Statement (“EIS”) on July 22, 2016 and

 invited public comments on the Draft EIS; and (d) FERC issued a Notice announcing




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 the availability of the final EIS on April 7, 2017, which was published in the Federal

 Register on April 14, 2017 and mailed to interested parties and stakeholders.

       15.    The FERC invited the public to participate in scoping meetings for the

 Project, provided public notice of PennEast’s certificate application and EIS for the

 Project as stated above, and reviewed and considered hundreds of public comments

 received from interested parties and stakeholders, including federal, state, and local

 governmental agencies, elected officials, environmental and public interest groups,

 and potentially affected landowners. before issuing the FERC Order.

       16.    When evaluating proposals for the construction of a new pipeline, the

 FERC must assess whether there is a need for the proposed project and whether the

 project will serve the public interest, as articulated in the FERC’s Certificate Policy

 Statement:

              The Certificate Policy Statement establishes criteria for
              determining whether there is a need for a proposed project
              and whether the proposed project will serve the public
              interest. The Certificate Policy Statement explains that in
              deciding whether to authorize the construction of major
              new pipeline facilities, the Commission balances the
              public benefits against the potential adverse
              consequences. The Commission’s goal is to give
              appropriate consideration to the enhancement of
              competitive transportation alternatives, the possibility of
              overbuilding, subsidization by existing customers, the
              applicant’s responsibility for unsubscribed capacity, the
              avoidance of unnecessary disruptions of the environment,
              and the unneeded exercise of eminent domain in
              evaluating new pipeline facilities construction.



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 See Exhibit B at ¶ 16; see also Certification of New Interstate Natural Gas Pipeline

 Facilities, 88 FERC ¶ 61,227 (1999), clarified, 90 FERC ¶ 61,128 (2000), further

 clarified, 92 FERC ¶ 61,094 (2000).

       17.    On January 19, 2018, FERC completed its assessment, found that there

 is a need for the PennEast Project and that the Project will serve the public interest,

 and issued the FERC Order. See Exhibit B.

       18.    The FERC Order authorizes PennEast, among other things, to install a

 new 36-inch pipeline and the facilities described above.

       19.    Rights of Way are needed to construct, install, operate and maintain the

 pipeline facilities approved in the FERC Order.

       20.    The Rights of Way on the Property, as depicted in Exhibit A, are

 necessary to construct, install, operate, and maintain the pipeline facilities approved

 in the FERC Order.

       21.    The Rights of Way on the Property were reviewed and approved by

 FERC prior to the issuance of the FERC Order.

       22.    In issuing the FERC Order, the FERC considered the impact on

 landowners and communities along the route of the Project. The FERC concluded

 that PennEast has taken steps to minimize any adverse impacts on landowners and

 communities that might be affected by the project. See Exhibit B at ¶ 39.




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       23.    The FERC found the Project is “required by the public convenience and

 necessity.” See Exhibit B at ¶ 29.

       24.    The Rights of Way sought in this action are located within the area of

 the Project approved by the FERC for construction of the pipeline and facilities.

       25.    Accordingly, PennEast has a valid FERC Order covering the Rights of

 Way sought in this action.

       26.    PennEast has satisfied the first condition for the exercise of eminent

 domain under Section 7(h) of the Natural Gas Act.

             PENNEAST HAS BEEN UNABLE TO ACQUIRE THE
                  RIGHTS OF WAY BY AGREEMENT
       27.    PennEast has been working since August 2014 to identify the individual

 properties that would be impacted by the construction of the Project. Since this time,

 PennEast’s agents have been continuously meeting with property owners in an

 attempt to obtain access to properties to complete civil and environmental surveys

 for the Project and to purchase the easements required for the construction of the

 Project.

       28.    PennEast has obtained several easements needed for the construction

 of the Project, however PennEast was not able to obtain access to the Property to

 complete civil and environmental surveys for the Project nor to acquire the Rights

 of Way identified in this Complaint despite numerous attempts to negotiate in good

 faith with the Landowner.


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       29.    PennEast’s land agent, Western Land, contacted the Landowners

 several times in an effort to negotiate in good faith for the acquisition of the Rights

 of Way, including attempting to confer with the Landowners and sending

 correspondence. The Landowners responded by rejecting PennEast’s outreach.

       30.    PennEast has been unable to acquire the Rights of Way by contract or

 to obtain an agreement with the Landowners on the amount of compensation to be

 paid for the Rights of Way.

       31.    Accordingly, PennEast has satisfied the second condition required prior

 to the exercise of eminent domain under Section 7(h) of the Natural Gas Act.

                 PENNEAST HAS OFFERED AT LEAST $3,000
                       FOR THE RIGHTS OF WAY
       32.    PennEast offered to pay the Landowners at least $3,000 for the Rights

 of Way. However, the Landowners refused that offer.

       33.    Therefore, PennEast has satisfied the third condition required prior to

 the exercise of eminent domain under Section 7(h) of the Natural Gas Act.

       34.    PennEast has satisfied all statutory requirements and is authorized to

 exercise eminent domain under Section 7(h) of the Natural Gas Act.

                     FIRST CLAIM FOR RELIEF
              AWARD OF POSSESSION BY EMINENT DOMAIN

       35.    Under the Natural Gas Act, PennEast, has the power to condemn land

 for the federally approved PennEast Pipeline Project because:



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              a.    PennEast holds a valid FERC Order that authorizes the

                    construction, operation, and maintenance of the Project,

                    including the construction, operation and maintenance of a

                    pipeline on the Property,

              b.    PennEast has been unable to acquire the necessary property

                    interests by agreement with the Landowners, and

              c.    The value of the property interests to be taken is claimed by the

                    Landowners to exceed the sum of $3,000.

 15 U.S.C. § 717f(h); see Columbia Gas Transmission, LLC, 768 F.3d at 304; Sage,

 361 F.3d at 827-28.

       36.    By virtue of the authority granted in the Natural Gas Act, 15 U.S.C. §

 717f(h), and the FERC Order, PennEast is vested with federal eminent domain

 power to acquire an interest in the Property, and pursuant to such authority, PennEast

 seeks to take the Rights of Way by eminent domain for the purpose of laying,

 constructing, operating, and maintaining a new 36-inch diameter pipeline and related

 appurtenances.

       37.    PennEast has satisfied all of the conditions imposed by the FERC Order

 that are required to be satisfied prior to the exercise of eminent domain.

       38.    It is necessary for PennEast to obtain immediate access to and

 possession of the Rights of Way on the Property in a timely manner, in order to meet



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 construction deadlines, meet contractual obligations to its customers, and otherwise

 comply with the in-service date in the FERC Order.

                    SECOND CLAIM FOR RELIEF
               DETERMINATION OF JUST COMPENSATION
       39.   The Landowners are entitled to receive just compensation for the Rights

 of Way granted to PennEast in this action.

       40.   PennEast requests that the just compensation to which the Landowners

 are entitled be determined and awarded in this action.

                          THIRD CLAIM FOR RELIEF
                            INJUNCTIVE RELIEF
       41.   Pursuant to Federal Rule of Civil Procedure 65, PennEast requests

 preliminary and permanent injunctive relief granting PennEast immediate

 possession and entry onto the Property, in advance of any award of just

 compensation, in order to construct, operate, and maintain an interstate natural gas

 transmission pipeline and appurtenances as approved by FERC, and enjoining

 Defendants and his/her agents, servants, and representatives from interfering in any

 way with the construction of the pipeline, including, without limitation, land




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 surveys, tree-clearing, excavation, trenching, pipe laying, and post-construction

 restoration.

       42.      It is necessary for PennEast to obtain immediate entry to the Property

 in order to commence construction and otherwise comply with the FERC-approved

 in-service date.

       43.      Pursuant to its equitable powers, the Court may grant PennEast

 immediate entry onto the Property if the conditions for preliminary injunctive relief

 under Federal Rule of Civil Procedure 65 are met. Columbia Gas Transmission,

 LLC., 768 F.3d at 315-16; Sage, 361 F.3d at 823-24; see also Transcontinental Gas

 Pipeline Co., LLC v. Permanent Easement for 2.59 Acres, Civ. No. 17-1829, 2017

 U.S. App. LEXIS 17580 (3d Cir. Sept. 12, 2017); and Columbia Gas Transmission,

 LLC v. 1.092 Acres of Land, 2015 U.S. Dist. LEXIS 9625, at *12-17 (D.N.J. Jan. 28,

 2015) (Simandle, C.J.).

       44.      PennEast is entitled to a preliminary injunction allowing it immediate

 entry onto the Property, and enjoining the Defendants, and his/her agents, servants,

 and representatives from interfering in any way with the exercise of the rights

 granted for the following reasons:

                a.    PennEast is likely to succeed on the merits of its claim because

                      (1) the Property is located within an area approved for pipeline

                      construction by the FERC Order; (2) PennEast has the right to



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                  condemn the Rights of Way and easements needed for the Project

                  under the Natural Gas Act and the FERC Order; (3) PennEast has

                  been unable to acquire the necessary easements on the Property

                  by agreement; and (4) the property rights that PennEast seeks to

                  acquire are claimed by the Landowners to have a value in excess

                  of $3,000.

            b.    PennEast must begin construction of the pipeline and other

                  appurtenant facilities and make them available for service by the

                  in-service date in the FERC Order. Consequently, PennEast will

                  suffer irreparable harm absent the issuance of the requested

                  preliminary injunction because delay in accessing the property

                  will substantially increase the risk that PennEast will be unable

                  to timely complete the construction of facilities needed for the

                  Project.

            c.    The balance of the harms favors the issuance of the requested

                  preliminary injunction because the Defendants will be justly

                  compensated for the taking of the Rights of Way on the Property.

            d.    The issuance of the FERC Order demonstrates that the public

                  interest will be furthered by allowing the Project to proceed in a

                  timely fashion.



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       45.   PennEast is prepared to promptly post appropriate security in the form

 of a surety bond or other undertaking as the Court may direct.

       WHEREFORE, PennEast requests that the Court issue an Order and demands

 judgment against the Rights of Way and Defendants as follows:

             a.     Determining that PennEast has satisfied all of the statutory

                    requirements of Section 7(h) of the Natural Gas Act and is duly

                    vested with and has duly exercised its authority to condemn the

                    Rights of Way;

             b.     Granting PennEast’s application for an Order of Condemnation

                    of the Rights of Way;

             c.     Determining that PennEast is entitled under the equitable powers

                    of the Court, to an order for immediate possession of the property

                    rights being condemned so as to allow the construction of the

                    Project on the Landowners’ Property;

             d.     Ordering that PennEast post appropriate security in the form of a

                    surety bond or other undertaking as the Court may direct into the

                    Court’s Registry pursuant to Local Civil Rule 67.1(a);

             e.     Determining the compensation to be paid to the Landowners for

                    the Rights of Way pursuant to Fed. R. Civ. P. 71.1(h);




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            f.    Entering judgment transferring title of the Rights of Way

                  condemned to PennEast; and

            g.    Granting such other relief as the Court deems just and proper.

                                            Respectfully submitted,


                                            By: /s/ James M. Graziano
                                                James M. Graziano, Esquire
                                                Maureen T. Coghlan, Esquire
                                                   Archer & Greiner, P.C.
                                                   One Centennial Square
                                                   33 E. Euclid Ave.
                                                   Haddonfield, NJ 08033
                                                   (856) 795-2121
                                                   Attorneys for Plaintiff

 Dated: February 6, 2018




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                                   VERIFICATION
         Jeffrey D. England, of full age, upon his oath deposes and says:

         1.    I am Manager, Project Management and Construction, UGI Energy

 Services, LLC as Project Manager on behalf of PennEast Pipeline Company, LLC

 (“PennEast”) for the PennEast Pipeline Project.

          2.   I have reviewed the matters and statement set forth herein as well as the

 Exhibits attached to the Verified Complaint.         Additionally, I have consulted

 PennEast representatives and agents working on the Project regarding the matters

 and statements set forth herein as well as the Exhibits to the Verified Complaint.

          3.   To the best of PennEast’s knowledge and based on a review of all of

 the relevant facts, the matters and statements set forth in the Verified Complaint are

 true.

          4.   To the best of PennEast’s knowledge, the Exhibits to the Verified

 Complaint are accurate copies of the documents received by PennEast or issued on

 its behalf.

          5.   Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

 foregoing is true and correct.

                                             ______________________________
                                             Jeffrey D. England

 Executed on February 6, 2018

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                                           21
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                                      162 FERC ¶ 61,053
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION


        Before Commissioners: Kevin J. McIntyre, Chairman;
                              Cheryl A. LaFleur, Neil Chatterjee,
                              Robert F. Powelson, and Richard Glick.

        PennEast Pipeline Company, LLC                               Docket No. CP15-558-000

                                    ORDER ISSUING CERTIFICATES

                                         (Issued January 19, 2018)

        1.      On September 24, 2015, PennEast Pipeline Company, LLC (PennEast) filed an
        application pursuant to section 7(c) of the Natural Gas Act (NGA)1 and Parts 157 and 284
        of the Commission’s regulations,2 requesting authorization to construct and operate a new
        116-mile natural gas pipeline from Luzerne County, Pennsylvania, to Mercer County,
        New Jersey, along with three laterals extending off the mainline, a compression station,
        and appurtenant above ground facilities (PennEast Project). The project is designed to
        provide up to 1,107,000 dekatherms per day (Dth/d) of firm transportation service.
        PennEast also requests a blanket certificate under Part 284, Subpart G of the
        Commission’s regulations to provide open-access transportation services, and a blanket
        certificate under Part 157, Subpart F of the Commission’s regulations to perform certain
        routine construction activities and operations.

        2.      As explained herein, we find that the benefits that the PennEast Project will
        provide to the market outweigh any adverse effects on existing shippers, other pipelines
        and their captive customers, and on landowners and surrounding communities. Further,
        as set forth in the environmental discussion below, we agree with Commission staff’s
        conclusion in the Environmental Impact Statement (EIS) that the project will result in
        some adverse environmental impacts, but that these impacts will be reduced to acceptable
        levels with the implementation of the applicant’s proposed mitigation and staff’s
        recommendations, as modified herein, and adopted as conditions in the attached
        Appendix A of this order. Therefore, for the reasons stated below, we grant the requested
        authorizations, subject to the conditions discussed herein.


              1
                  15 U.S.C. § 717f(c) (2012).
              2
                  18 C.F.R. pt. 157 (2017).
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        I.    Background and Proposal

        3.     PennEast3 is a Delaware limited liability company organized and existing under
        the laws of the State of Delaware, managed by UGI Energy Services, LLC, pursuant to a
        Project Management Agreement. Upon the commencement of operations proposed in its
        application, PennEast will become a natural gas company within the meaning of section
        2(6) of the NGA,4 and will be subject to the Commission’s jurisdiction.

              A.        Facilities and Services

        4.      PennEast proposes to construct a new greenfield pipeline system to provide up to
        1,107,000 Dth/d of firm natural gas transportation service to markets in New Jersey,
        New York, Pennsylvania, and surrounding states. The project extends from various
        receipt point interconnections with the interstate natural gas pipeline system of
        Transcontinental Gas Pipe Line Company, LLC (Transco) and with gathering systems in
        the eastern Marcellus Shale region operated by UGI Energy Services, LLC, Williams
        Partners, L.P., and Energy Transfer Partners, L.P., to multiple delivery point
        interconnections in natural gas-consuming markets in New Jersey and Pennsylvania,
        terminating at a delivery point with Transco in Mercer County, New Jersey.5 PennEast
        states that the project is designed to bring lower cost natural gas to markets in New
        Jersey, Pennsylvania, and New York and to provide shippers with additional supply
        flexibility, diversity, and reliability.6

        5.    PennEast proposes to construct the following facilities:

                       approximately 116 miles of 36-inch-diameter mainline transmission
                        pipeline originating in Luzerne County, Pennsylvania, and extending to
                        Mercer County, New Jersey, traversing Luzerne, Carbon, Northampton,
                        and Bucks Counties, Pennsylvania, and Hunterdon and Mercer Counties,
                        New Jersey;

              3
                PennEast is a joint venture owned by Red Oak Enterprise Holdings, Inc., a
        subsidiary of AGL Resources Inc. (20 percent interest); NJR Pipeline Company, a
        subsidiary of New Jersey Resources (20 percent interest); SJI Midstream, LLC, a
        subsidiary of South Jersey Industries (20 percent interest); UGI PennEast, LLC, a
        subsidiary of UGI Energy Services, LLC (20 percent interest); and Spectra Energy
        Partners, LP (20 percent interest).
              4
                  15 U.S.C. § 717a(6) (2012).
              5
                  See PennEast’s Application at 3.
              6
                  Id. at 4, 8-10.
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                     three lateral pipelines extending off of the mainline consisting of:

                      o      the approximately 2.1-mile, 24-inch-diameter Hellertown Lateral in
                             Northampton County, Pennsylvania to connect with Columbia Gas
                             Transmission, LLC, and UGI Utilities, Inc.;

                      o      the approximately 0.6-mile, 12-inch-diameter Gilbert Lateral in
                             Hunterdon County, New Jersey to connect with NRG REMA, LLC,
                             and Elizabethtown Gas at the Gilbert Electric Generating Station;
                             and

                      o      the approximately 1.54-mile, 36-inch-diameter Lambertville Lateral
                             in Hunterdon County, New Jersey to connect with Algonquin Gas
                             Transmission, LLC, and Texas Eastern Transmission, LP;

                     one new compressor station in Carbon County, Pennsylvania; and

                     various associated aboveground facilities, including interconnects,
                      launchers, receivers, and mainline block valves.

        PennEast estimates that the proposed facilities will cost approximately $1.13 billion.

        6.     PennEast states that it conducted an open season for the project from August 11 to
        August 29, 2014. As a result of the open season, PennEast states that it has executed
        long-term precedent agreements with the following 12 shippers for 990,000 Dth/d of firm
        transportation service, or approximately 90 percent of the project’s capacity:

                      Shipper (* indicates PennEast Affiliate)       Contracted Volumes (Dth/d)

                      New Jersey Natural Gas Company*                          180,000
                      PSEG Power, LLC*                                         125,000
                      Texas Eastern Transmission, LP*                          125,000
                      South Jersey Gas Company*                                105,000
                      ConEd of New York                                        100,000
                      Elizabethtown Gas*                                       100,000
                      UGI Energy Services, Inc.*                               100,000
                      Cabot Oil & Gas Corp.                                    50,000
                      Talen Energy Marketing, LLC                              50,000
                      Enerplus Resources Corp.                                 30,000
                      Warren Resources, Inc.                                   15,000
                      NRG Rema LLC                                             10,000
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        PennEast proposes to provide service to the project shippers at negotiated rates.

        7.     PennEast also requests approval of its pro forma tariff. PennEast proposes to offer
        open-access transportation services under Rate Schedules FTS (Firm Transportation
        Service), ITS (Interruptible Transportation Service), and PALS (Parking and Lending
        Service).

               B.       Blanket Certificates

        8.     PennEast requests a blanket certificate of public convenience and necessity
        pursuant to Part 284, Subpart G of the Commission’s regulations authorizing PennEast to
        provide transportation service to customers requesting and qualifying for transportation
        service under its proposed FERC Gas Tariff, with pre-granted abandonment
        authorization.7

        9.     PennEast requests a blanket certificate of public convenience and necessity
        pursuant to Part 157, Subpart F of the Commission’s regulations authorizing certain
        future facility construction, operation, and abandonment.8

        II.    Procedural Issues

               A.       Notice, Interventions, Protests, and Comments

        10.   Notice of PennEast’s application was published in the Federal Register on
        October 15, 2015.9 Timely, unopposed motions to intervene are granted by operation of
        Rule 214 of the Commission’s Rules of Practice and Procedure.10 Late interventions
        were granted by notice issued on March 23, 2017, and May 18, 2017.

        11.     Numerous entities, landowners, individuals, and New Jersey State representatives
        filed protests and adverse comments raising the following issues: (1) the need for an
        evidentiary hearing; (2) the need for the project; and (3) whether the use of eminent
        domain is appropriate for this project. On November 13, 2015, PennEast filed a Motion
        for Leave to Answer and Answer to the protests, as well as to various comments filed on
        the project. Although the Commission’s Rules of Practice and Procedure generally do
        not permit answers to protests,11 we will accept PennEast’s answer because it clarifies the
               7
                   18 C.F.R. § 284.221 (2017).
               8
                   Id. § 157.204 (2017).
               9
                   80 Fed. Reg. 62,068 (2015).
               10
                    18 C.F.R. § 385.214 (2017).
               11
                    Id. § 385.214(c) (2017).
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        concerns raised and provides information that has assisted in our decision making. These
        concerns are addressed below.

        12.   In addition, numerous comments were filed raising concerns over the
        environmental impacts of the project. These comments are addressed in the Final
        Environmental Impact Statement (EIS) and, as appropriate, below.

               B.       Request for Evidentiary Hearing

        13.     New Jersey Senator Shirley K. Turner, New Jersey Assemblyman Reed Gusciora,
        and New Jersey Assemblywoman Elizabeth Muoio requested an evidentiary hearing to
        determine the need for the project, and explore whether less disruptive, more cost-
        effective alternatives exist to meet demand. Similarly, the New Jersey Conservation
        Foundation (NJCF) and Stony Brook-Millstone Watershed Association (Stony Brook)
        assert that a hearing is necessary in order to develop a record to determine the public
        benefits of the project and whether the project is viable without subsidies.

        14.     An evidentiary, trial-type hearing is necessary only where there are material issues
        of fact in dispute that cannot be resolved on the basis of the written record.12 No party
        has raised a material issue of fact that the Commission cannot resolve on the basis of the
        written record. As demonstrated by the discussion below, the existing written record
        provides a sufficient basis to resolve the issues relevant to this proceeding. The
        Commission has satisfied the hearing requirement by giving all interested parties a full
        and complete opportunity to participate through evidentiary submission in written form.13
        Therefore, we will deny the request for a trial-type evidentiary hearing.

        III.   Discussion

        15.     As PennEast’s proposed pipeline system would be used to transport natural gas in
        interstate commerce subject to the Commission's jurisdiction, the construction and
        operation of the facilities are subject to the requirements of subsections (c) and (e) of
        section 7 of the NGA.14




               12
                See, e.g., Southern Union Gas Co. v. FERC, 840 F.2d 964, 970 (D.C. Cir.
        1988); Dominion Transmission, Inc., 141 FERC ¶ 61,183, at P 15 (2012).
               13
                    Moreau v. FERC, 982 F.2d 556, 568 (D.C. Cir. 1993).
               14
                    15 U.S.C. §§ 717f(c), (e) (2012).
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               A.     Application of the Certificate Policy Statement

        16.     The Certificate Policy Statement provides guidance for evaluating proposals to
        certificate new construction.15 The Certificate Policy Statement establishes criteria for
        determining whether there is a need for a proposed project and whether the proposed
        project will serve the public interest. The Certificate Policy Statement explains that in
        deciding whether to authorize the construction of major new pipeline facilities, the
        Commission balances the public benefits against the potential adverse consequences.
        The Commission’s goal is to give appropriate consideration to the enhancement of
        competitive transportation alternatives, the possibility of overbuilding, subsidization by
        existing customers, the applicant’s responsibility for unsubscribed capacity, the
        avoidance of unnecessary disruptions of the environment, and the unneeded exercise of
        eminent domain in evaluating new pipeline facilities construction.

        17.     Under this policy, the threshold requirement for pipelines proposing new projects
        is that the pipeline must be prepared to financially support the project without relying on
        subsidization from its existing customers. The next step is to determine whether the
        applicant has made efforts to eliminate or minimize any adverse effects the project might
        have on the applicant’s existing customers, existing pipelines in the market and their
        captive customers, or landowners and communities affected by the construction. If
        residual adverse effects on these interest groups are identified after efforts have been
        made to minimize them, we will evaluate the project by balancing the evidence of public
        benefits to be achieved against the residual adverse effects. This is essentially an
        economic test. Only when the benefits outweigh the adverse effects on economic
        interests will we proceed to consider the environmental analysis where other interests are
        addressed.

                      1.     Subsidization and Impact on Existing Customers

        18.    As discussed above, the threshold requirement for pipelines proposing new
        projects is that the pipeline must be prepared to financially support the project without
        relying on subsidization from existing customers. As PennEast is a new company, it has
        no existing customers. As such, there is no potential for subsidization on PennEast’s
        system or degradation of service to existing customers.




               15
               Certification of New Interstate Natural Gas Pipeline Facilities,
        88 FERC ¶ 61,227 (1999), clarified, 90 FERC ¶ 61,128 (2000), further clarified,
        92 FERC ¶ 61,094 (2000) (Certificate Policy Statement).
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                      2.     Need for the Project

        19.    Numerous parties and commenters challenge the need for the project.16 They raise
        a variety of arguments including: (1) insufficient demand for natural gas in New Jersey
        and Pennsylvania; (2) the need for a regional analysis to determine if the project is
        needed; (3) the availability of alternatives, including renewable energy and capacity on
        existing and proposed interstate pipelines, to meet future demand; (4) the public benefits
        of the project, including cost savings, supply flexibility and reliability, and local
        employment impacts are unfounded or are overstated; (5) the use of precedent
        agreements with affiliated entities to demonstrate project need; and (6) that a portion of
        the gas transported on the project may be exported.

        20.      A number of commenters claim that the project is not needed because there is
        little or no forecasted load growth in New Jersey and Pennsylvania.17 In addition, the
        New Jersey Division of Rate Counsel (NJRC) cites to filings made by local distribution
        companies (LDCs) before state regulatory agencies in Pennsylvania and New Jersey
        which show that the peak day requirements of the LDCs will be largely stable through
        2020, and can be met through existing supply arrangements.18

        21.   Numerous commenters suggest that increased use of renewable resources to
        generate electricity and energy conservation could eliminate the need for the project.
        Several other commenters claim that there is no need to construct a new pipeline, as

               16
                  Many of the commenters conflate the balancing of economic benefits (market
        need) and effects under the Certificate Policy Statement with the distinct description of
        purpose and need in the final EIS. The purpose and need statement in the final EIS
        complied with Council on Environmental Quality (CEQ) regulations that provide that this
        statement “shall briefly specify the underlying purpose and need to which the agency is
        responding in proposing the alternatives including the proposed actions” for purposes of
        its environmental analysis. 40 C.F.R. § 1502.13 (2017).
               17
                 See, e.g., October 29, 2015 Comments of NJCF at 9; February 11, 2016
        Comments of Delaware Riverkeeper (citing attached affidavit of David Berman,
        Labyrinth Consulting Services); October 27, 2015 Comments of the West Amwell
        Citizens Against the Pipeline.
               18
                 See September 12, 2016 Comments of NJCF (citing attached Affidavit of
        David E. Dismukes). On October 17, 2016, PennEast filed an answer to NJRC. On
        November 14, 2016, the New Jersey Division of Rate Council (NJRC) filed a Motion for
        Leave to Answer and Answer to PennEast. Although the Commission’s Rules of Practice
        and Procedure generally do not permit answers to answers, we will accept NJRC’s
        answers because it clarifies the concerns raised and provides information that has assisted
        in our decision making.
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        PennEast’s shippers could source gas on existing pipelines or on other to be constructed,
        but already-authorized pipeline capacity.19 NJRC states that the fact that utilization rates
        of several long-haul pipelines declined from 2007 to 2013 suggests that there is available
        firm capacity on these existing pipelines.20

        22.    Multiple commenters assert that PennEast’s claims that the project will provide
        cost-savings for end users, and provide increased reliability and supply diversity are
        unfounded or overstated.21 The NJCF filed a report prepared by Skipping Stone, LLC,
        (Skipping Stone Report) which challenges the findings in the Concentric study filed by
        PennEast22 that the PennEast Project would lower costs to consumers.23 Among other
        things, the Skipping Stone Report concludes that local gas distribution companies already
        have more than enough capacity to meet peak winter demand, suggesting that increased
        demand by providers of gas-fired electric generation could be more cost effectively met
        by dual fuel switching or by purchasing gas from LNG facilities, and that the PennEast
        Project could increase, rather than decrease costs to consumers. Commenters also claim




               19
                    See, e.g., October 29, 2015 Comments of NJCF at 10.
               20
                  September 12, 2016 Comments of NJCF at 6-8 (citing Denny Young, Black &
        Veatch, Has Emerging Natural Gas Shale Production Affected Financial Performances
        of Interstate pipelines? (2013).
               21
               See, e.g., November 14 Answer of NJRC, October 27, 2015 Comments of the
        West Amwell Citizens Against the Pipeline.
               22
                  In Exhibit F-1, Resource Report 5, PennEast submitted a study by
        Concentric Energy Advisors, Estimated Energy Market Savings from Additional Pipeline
        Infrastructure Serving Eastern Pennsylvania and New Jersey) (Concentric Study)
        that finds that the project would provide increased access to low-cost natural gas in
        New Jersey and Pennsylvania that could save consumers nearly $900 million.
        Resource Report 5 also includes a study by Econsult Solutions & Drexel University,
        Economic Impact Report and Analysis: PennEast Pipeline Project Economic Impact
        Analysis (2015) (Econsult Study) that estimates the total (direct, indirect, and induced)
        jobs that would be supported during construction and operation of the project.
               23
              See Report of Skipping Stone, LLC, attached to NJCF’s December 1, 2016
        Comments (Skipping Stone Report).
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        that the employment and economic benefits of the project contained in the Econsult study
        cited by PennEast have been overstated, possibly significantly so.24

        23.     Several commenters allege that because a large portion of the project’s capacity
        has been subscribed by affiliates of the pipeline, additional evidence of need must be
        presented as precedent agreements with pipeline affiliates may not be the result of an
        “arms-length negotiation,” or reflect the competitive market.25 Commenters further claim
        that the project is being cross-subsidized by the captive customers of the affiliated
        shippers, and may not be financially viable without these subsidies.26

        24.    The NJCF and Stony Brook claim that the NGA requires the Commission to
        evaluate the need for new pipeline infrastructure on a regional basis.27 They state that the
        public interest cannot be effectively safeguarded through the approval of individual
        pipelines without coordinated planning to ensure that pipeline proposal fits within
        long-term, regional plans. Therefore, they assert that the Commission should implement
        a planning process for natural gas infrastructure development that is similar to the
        planning process for electric transmission.

        25.    Finally, a few commenters contend that the PennEast Project is not being proposed
        to benefit United States markets but to support the growing LNG export market.28

        PennEast’s Answers

        26.    PennEast filed several answers disputing commenters’ claims that the project was
        not needed. PennEast maintains that that substantial need for the project has been
        demonstrated by precedent agreements for long-term firm service for approximately



               24
              See November 7, 2015 Comments of NJCF (citing attached Report of the
        Goodman Group, ltd.), September 8, 2016 Comments of the NJCF; September 8, 2016
        Comments of Jeffrey R. Shafer.
               25
                    Id. at 9-10.
               26
                  See October 20, 2016 Comments of the Eastern Environmental Law Center,
        citing attached Report of Dr. Steve Isser, “Natural Gas Pipeline Certification and
        Ratemaking.
               27
                    NJCF Comments at 24-27.
               28
                 See, e.g., October 27, 2015 Comments of West Amwell Citizens Against the
        Pipeline at 15-17; February 11, 2016 Comments of Delaware Riverkeeper (attaching
        opinion of Labyrinth Consulting Services, Inc.).
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        90 percent of the project’s capacity.29 PennEast filed a study that responds to NJRC’s
        assessment of the need for the project that explains that shippers contract for pipeline
        capacity for a variety of reasons beyond simply the need to be able to meet peak
        demands, including costs savings, supply security, and price stability.30 PennEast asserts
        that the various studies by market experts that it filed in the proceeding provide ample
        market data and analysis supporting the market need for the project.

        Commission Determination

        27.     The Certificate Policy Statement established a policy under which the Commission
        will allow an applicant to rely on a variety of relevant factors to demonstrate need, rather
        than continuing to require that a percentage of the proposed capacity be subscribed under
        long-term precedent or service agreements.31 These factors might include, but are not
        limited to, precedent agreements, demand projections, potential cost savings to
        consumers, or a comparison of projected demand with the amount of capacity currently
        serving the market.32 The Commission stated that it will consider all such evidence
        submitted by the applicant regarding need. Nonetheless, the Certificate Policy Statement
        made clear that, although precedent agreements are no longer required to be submitted,
        they are still significant evidence of demand for the project.33 As the court stated in
        Minisink Residents for Environmental Preservation & Safety v. FERC, and again in
        Myersville Citizens for a Rural Community, Inc., v. FERC, nothing in the Certificate
        Policy Statement or in any precedent construing it suggest that the policy statement
        requires, rather than permits, the Commission to assess a project’s benefits by looking
        beyond the market need reflected by the applicant's precedent agreements with shippers.34

               29
                    See PennEast’s October 17, and December 1, 2016 Answers.
               30
                PennEast’s October 17 Answer (attaching report of Concentric Energy
        Advisors, Inc).
               31
                  Certificate Policy Statement, 88 FERC ¶ 61,227 at 61,747. Prior to the
        Certificate Policy Statement, the Commission required a new pipeline project to have
        contractual commitments for at least 25 percent of the proposed project’s capacity. See
        Certificate Policy Statement, 88 FERC ¶ 61,227 at 61,743. PennEast, at 90 percent
        subscribed, would have satisfied this prior, more stringent, requirement.
               32
                    Id. at 61,747.
               33
                    Id. at 61,748.
               34
                 Minisink Residents for Envtl. Pres. & Safety v. FERC, 762 F.3d 97, 110 n.10
        (D.C. Cir. 2014); see also Myersville Citizens for a Rural Cmty., Inc., v. FERC, 183 F.3d
        1301, 1311 (D.C. Cir. 2015).
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        Moreover, it is current Commission policy to not look beyond precedent or service
        agreements to make judgments about the needs of individual shippers.35

        28.     We find that PennEast has sufficiently demonstrated that there is market demand
        for the project. PennEast has entered into long-term, firm precedent agreements with
        12 shippers for 990,000 Dth/d of firm transportation service, approximately 90 percent of
        the project’s capacity.36 Further, Ordering Paragraph (C) of this order requires that
        PennEast file a written statement affirming that it has executed contracts for service at the
        levels provided for in their precedent agreements prior to commencing construction.
        PennEast has entered into precedent agreements for long-term, firm service with
        12 shippers. Those shippers will provide gas to a variety of end users, including local
        distribution customers, electric generators, producers, and marketers and those shippers
        have determined, based on their assessment of the long-term needs of their particular
        customers and markets, that there is a market for the natural gas to be transported and the
        PennEast Project is the preferred means for delivering or receiving that gas. Given the
        substantial financial commitment required under these contracts by project shippers, we
        find that these contracts are the best evidence that the service to be provided by the
        project is needed in the markets to be served. We also find that end users will generally
        benefit from the project because it would develop gas infrastructure that will serve to
        ensure future domestic energy supplies and enhance the pipeline grid by providing
        additional transportation capacity connecting sources of natural gas to markets in
        Pennsylvania and New Jersey.

        29.    We are unpersuaded by the studies submitted by commenters in their attempt to
        show that there is insufficient demand for the project and by their assertions that the
        Commission is required to examine the need for pipeline infrastructure on a regional
        basis. Commission policy is to examine the merits of individual projects and assess
        whether each project meets the specific need demonstrated. While the Certificate Policy
        Statement permits the applicant to show need in a variety of ways, it does not suggest that
        the Commission should examine a group of projects together and pick which project(s)
        best serve an estimated future regional demand. In support of their arguments regarding
        demand, commenters cite general forecasts for load growth in Pennsylvania and New

               35
                 Id. at 61,744 (citing Transcontinental Gas Pipe Line Corp., 82 FERC ¶ 61,084,
        at 61,316 (1998)).
               36
                 Constitution Pipeline Company, LLC, 154 FERC ¶ 61,046, at P 21 (2016)
        (“Although the Certificate Policy Statement broadened the types of evidence certificate
        applicants may present to show the public benefits of a project, it did not compel an
        additional showing … [and] [n]o market study or other additional evidence is necessary
        where … market need is demonstrated by contracts for 100 percent of the project's
        capacity.”).
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        Jersey or certain LDC supply forecast projections through 2020 made to state
        commissions.37 However, projections regarding future demand often change and are
        influenced by a variety of factors, including economic growth, the cost of natural gas,
        environmental regulations, and legislative and regulatory decisions by the federal
        government and individual states. Given this uncertainty associated with long-term
        demand projections, including those presented in the studies noted by commenters above,
        where an applicant has precedent agreements for long-term firm service, the Commission
        deems the precedent agreements to be the better evidence of demand. The Commission
        evaluates individual projects based on the evidence of need presented in each proceeding.
        Under section 7(c) of the NGA, the Commission shall issue a certificate for any proposal
        found to be required by the public convenience and necessity.38 Where, as here, it is
        demonstrated that specific shippers have entered into precedent agreements for project
        service, the Commission places substantial reliance on those agreements to find that the
        project is needed.

        30.    Commenters also overlook the fact that shippers on PennEast’s system have noted
        several reasons other than load growth for entering into precedent agreements with
        PennEast to source gas from the Marcellus Shale region.39 Project shippers state they
        believe that the project will provide a reliable, flexible, and diverse supply of natural gas
        that will lead to increased price stability, and the opportunity to expand natural gas
        service in the future.40 Based on the record before us, we find no reason to second guess
        the business decisions of these shippers that they need the service to which they have
        subscribed.

        31.    With respect to the ability of alternatives to meet the project’s need, our
        environmental review considered the potential for renewable energy and energy
        conservation, and the availability of capacity on existing or proposed natural gas systems,
        to serve as alternatives to the project and concluded that they do not presently serve as


               37
                    NJRC Comments at 5.
               38
                    15 U.S.C. § 717(f) (2012).
               39
                 See Exhibit F-1 of PennEast’s application, Resource Report 1 – General Project
        Description, section 1.1 – Purpose and Need.
               40
                  See Motion to Intervene and Comments in Support of New Jersey Natural Gas
        Co. (filed October 28, 2015); Pivotal Utility Holdings, Inc., d/b/a Elizabethtown Gas
        (filed October 28, 2015); Consolidated Edison Company of New York, Inc. (filed
        October 29, 2015); Texas Eastern Transmission, LP (filed October 29, 2015); PSEG
        Energy Resources & Trade LLC (filed October 29, 2015); and South Jersey Gas
        (filed October 29, 2015).
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        practical alternatives to the project.41 Specifically, the final EIS stated that renewable
        energy and energy efficiency measures to reduce the dependence on natural gas is not a
        comparable replacement for the transportation of natural gas to be provided by the
        project.42 Moreover, the final EIS found that there is not sufficient available capacity on
        existing pipeline systems to transport all of the volumes contemplated to be transported
        by the PennEast Project to the range of delivery points proposed by PennEast, and that
        expansion of existing pipeline systems was not a feasible alternative. 43 The EIS also
        found that the proposed Atlantic Sunrise Project could not serve as a practical system
        alternative because there is customer demand for both projects (noting that approximately
        100 percent of capacity of the Atlantic Sunrise Project, and 90 percent of the capacity of
        the PennEast Project has been contracted for), as well as the fact that the Atlantic Sunrise
        Project would not provide for the same delivery points for customers that have been
        identified for the PennEast Project.44

        32.     We also find that NJRC’s assertion that the PennEast Project is not needed based
        on the fact that pipeline utilization on long-haul pipelines from the Gulf Coast to markets
        in the Northeast has declined in recent years is unavailing. Pipeline utilization rates
        reflect actual gas flows over the facilities but do not indicate whether there is available
        firm capacity on the pipelines. As indicated above, the EIS found that there was
        insufficient firm capacity available on existing pipeline systems to provide the service
        proposed by PennEast.

        33.    Moreover, the fact that 6 of the 12 shippers on the PennEast Project are affiliated
        with the project’s sponsors does not require the Commission to look behind the precedent
        agreements to evaluate project need.45 There is no evidence in the record of any

               41
                    Final EIS at 3-1 – 3-8.
               42
                    Id. at 3-3.
               43
                    Id. at ES-16; 3-4 - 3-7.
               44
                  Id. at 3-7 – 3-8. The Atlantic Sunrise Project was authorized by Commission
        order issued February 3, 2017 (see Transcontinental Gas Pipe Line Company, LLC,
        158 FERC ¶ 61,125 (2017)) and is currently under construction.
               45
                   Millennium Pipeline Co., L.P., 100 FERC ¶ 61,277, at P 57 (2002) (“as long as
        the precedent agreements are long-term and binding, we do not distinguish between
        pipelines' precedent agreements with affiliates or independent marketers in establishing
        the market need for a proposed project”); Eastern Shore Natural Gas Co., 132 FERC
        ¶ 61,204, at P 31 (2010) (“the Commission gives equal weight to contacts with
        affiliates and non-affiliates.” See also Certificate Policy Statement, 88 FERC at 61,748
        (explaining that the Commission's policy is less focused on whether the contracts are with
        affiliated or unaffiliated shippers and more focused on whether existing ratepayers would
        (continued ...)
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        impropriety or abuse in connection with any of the affiliate agreements. The mere fact
        that six of the shippers are affiliates of PennEast does not call into question their need for
        the new capacity or otherwise diminish the showing of market support. Indeed, three of
        the six affiliates, subscribing to 38 percent of the total project design capacity, are LDCs
        with service obligations toward their retail customers. The Commission has found it
        reasonable for LDCs seek additional sources of supply, and has emphasized its
        disinclination to second-guess reasoned business decisions by pipelines’ customers
        evidenced by precedent agreements, as well as binding contracts.46 Further, when
        considering applications for new certificates, the Commission’s primary concern
        regarding affiliates of the pipeline as shippers is whether there may have been undue
        discrimination against a non-affiliate shipper.47 Here, no such allegations have been
        made, nor have we found that the project sponsors have engaged in any anticompetitive
        behavior. As discussed above, PennEast held an open season for capacity on the project
        and all potential shippers had the opportunity to contract for service. Moreover,
        PennEast’s tariff, as discussed below, ensures that any future shipper will not be unduly
        discriminated against.

        34.     We also do not find merit in the commenters’ assertion that the proposed project
        will be subsidized by the affiliated LDC shippers’ captive customers. First, to the extent
        a ratepayer receives a beneficial service, paying for that service does not constitute a
        “subsidy.”48 Further, state regulatory commissions are responsible for approving any
        expenditures by state-regulated utilities. Moreover, PennEast is required to calculate its
        recourse rates based on the design capacity of the pipeline, thereby placing PennEast at
        risk for costs associated with any unsubscribed capacity.



        subsidize the project); see also id. at 61,744 (the Commission does not look behind
        precedent agreements to question the individual shippers’ business decisions to enter into
        contracts) (citing Transcontinental Gas Pipe Line Corp., 82 FERC ¶ 61,084, at 61,316
        (1998)).
               46
                 See Millennium Pipeline Co., L.P., 100 FERC ¶ 61,277, at P 201 (2002). See
        also, Midwestern Gas Transmission Co., 116 FERC ¶ 61,182, at P 42 (2006); Southern
        Natural Gas Co., 76 FERC ¶ 61,122, at 61,635 (1996), order issuing certificate and
        denying reh'g, 79 FERC ¶ 61,280 (1997), order amending certificate and denying stay
        and reh'g, 85 FERC ¶ 61,134 (1998), aff'd Midcoast Interstate Transmission, Inc. v.
        FERC, 198 F.3d 960 (D.C. Cir. 2000).
               47
                 See 18 C.F.R. § 284.7(b) (2017) (requiring transportation service to be provided
        on a non-discriminatory basis).
               48
                    See Certificate Policy Statement, 88 FERC ¶ 61,227 at 61,746.
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        35.    Finally, allegations that the project is not needed because gas that is transported by
        it may be exported through an LNG terminal are not persuasive. There is no evidence in
        the record that indicates that the expansion capacity will be used to transport natural gas
        for export. A number of the project shippers are LDCs, which will locally distribute gas
        or use it to generate electricity. Further, even if there was evidence that some of the gas
        would be exported, the Commission does not have jurisdiction over the exportation or
        importation of natural gas. Such jurisdiction resides with the Secretary of Energy, who
        must act on any applications for natural gas export or import authority.49

        36.    In conclusion, we find that the PennEast Project will provide reliable natural gas
        service to end use customers and the market. Precedent agreements signed by customers
        for approximately 90 percent of the project’s capacity adequately demonstrate that the
        project is needed.

                      3.     Existing Pipelines and their Customers

        37.    PennEast’s project is not intended to replace service on other pipelines, and no
        pipelines or their customers have filed adverse comments regarding PennEast’s proposal.
        Thus, we find that PennEast’s project will not adversely affect other pipelines or their
        captive customers.


               49
                  Section 3(a) of the NGA provides, in part, that “no person shall export any
        natural gas from the United States to a foreign country or import any natural gas from a
        foreign country without first having secured an order of the Commission authorizing it to
        do so.” 15 U.S.C. § 717b(a) (2012). In 1977, the Department of Energy Organization
        Act transferred the regulatory functions of section 3 of the NGA to the Secretary of
        Energy. 42 U.S.C. § 7151(b) (2012). Subsequently, the Secretary of Energy delegated to
        the Commission authority to “[a]pprove or disapprove the construction and operation of
        particular facilities, the site at which such facilities shall be located, and with respect to
        natural gas that involves the construction of new domestic facilities, the place of entry for
        imports or exit for exports.” DOE Delegation Order No. 00-004.00A (effective May 16,
        2006). The proposed facilities are not located at a potential site of exit for natural gas
        exports. Moreover, the Secretary of Energy has not delegated to the Commission any
        authority to approve or disapprove the import or export of the commodity itself, or to
        consider whether the exportation or importation of natural gas is consistent with the
        public interest. See Corpus Christi Liquefaction, LLC, 149 FERC ¶ 61,283, at P 20
        (2014) (Corpus Christi). See also National Steel Corp., 45 FERC ¶ 61,100, at 61,332-
        61,333 (1988) (observing that DOE, “pursuant to its exclusive jurisdiction, has approved
        the importation with respect to every aspect of it except the point of importation” and that
        the “Commission’s authority in this matter is limited to consideration of the place of
        importation, which necessarily includes the technical and environmental aspects of any
        related facilities”).
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                        4.     Landowners and Communities

        38.    Regarding the project’s impacts on landowners and communities, the project
        would impact approximately 1,588 acres of land during construction, and approximately
        788.3 acres of land during operation. Approximately 44.5 miles, or 37 percent of the
        120.2 mile-long pipeline route, will be located alongside existing rights-of-way.

        39.    While we are mindful that PennEast has been unable to reach easement
        agreements with a number of landowners, for purposes of our consideration under the
        Certificate Policy Statement, we find that PennEast has generally taken sufficient steps
        to minimize adverse impacts on landowners and surrounding communities. The
        Commission encourages pipeline companies to engage with project stakeholders
        throughout the life of the project, and provide all stakeholders and potential impacted
        residents with informational materials, and hold community meeting to enable
        stakeholders to learn about the project, and educate project developers about local
        concerns.50 PennEast participated in the pre-filing process, and held over 200 meetings
        with public officials, as well as 15 “informational sessions” for impacted landowners.51
        PennEast incorporated 70 of 101 identified route variations into its final proposed
        pipeline route for various reasons, including landowner requests, community impacts,
        and the avoidance of sensitive resources.52 Accordingly, we find that PennEast’s
        proposal has taken appropriate steps to minimize impacts on landowners and the
        surrounding communities.

                        5.     Conclusion

        40.    Based on the benefits the project will provide to the shippers, the lack of adverse
        effects on existing customers, other pipelines and their captive customers, and effects on
        landowners and surrounding communities, we find, consistent with the Certificate Policy
        Statement and section 7 of the NGA, that the public convenience and necessity requires
        approval of PennEast’s proposal, subject to the conditions discussed below.

               B.       Eminent Domain Authority

        41.     Several commenters assert that it is inappropriate for PennEast to obtain property
        for the project through eminent domain, as PennEast is a for-profit company, and has not



               50
                 Commission, Suggested Best Practices for Industry Outreach Programs to
        Stakeholders at 11-17 (2015).
               51
                    PennEast Application at 5.
               52
                    Final EIS at 3-27 – 3-32.
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        shown that there is a genuine need for the project, or that the public it is intended to serve
        will benefit from it.53

        42.     Under section 7 of the NGA, the Commission has jurisdiction to determine if the
        construction and operation of proposed interstate pipeline facilities are in the public
        convenience and necessity. Once the Commission makes that determination, it is
        section 7(h) of the NGA that authorizes a certificate holder to acquire the necessary land
        or property to construct the approved facilities by exercising the right of eminent domain
        if it cannot acquire the easement by an agreement with the landowner.54 In constructing
        this provision, Congress made no distinction between for-profit and non-profit
        companies. Further, as discussed above, need for the project has been demonstrated by
        the existence of long-term precedent agreements for approximately 90 percent of the
        project’s capacity. Just as the precedent agreements provide evidence of market
        demand/need, they are also evidence of the public benefits of the project.55

               C.       Blanket Certificates

        43.     PennEast requests a Part 284, Subpart G blanket transportation certificate to
        provide open-access transportation services to its shippers. Since a Part 284 blanket
        certificate is required for PennEast to offer these services, we will grant PennEast a
        Part 284, Subpart G blanket certificate, subject to the conditions imposed herein.

        44.     PennEast has also applied for a Part 157, Subpart F blanket construction certificate
        to automatically, or after prior notice, perform certain activities related to the
        construction, acquisition, abandonment, and replacement and operation of pipeline
        facilities. This blanket certificate includes requirements for landowner notification
        before construction may begin.

        45.    The Trustees of the Joseph D. Ceader Family Memorial Fund (Ceader Family)
        express concern over issuing PennEast a Part 157, Subpart F blanket certificate, alleging
        that doing so would grant PennEast “carte blanche” (emphasis included) authority to
        condemn land via eminent domain, and construct significant facilities that could have
        negative impacts on the environment and their property value, without “extensive
        environmental review” or findings of need. In addition, Hopewell Township Citizens

               53
                    See, e.g., Homeowners Against Land Taking-PennEast.
               54
                    15 U.S.C. § 717f(h) (2012).
               55
                 See Sierra Club v. FERC, 867 F.3d 1357, 1379 (D.C. Cir. 2017); see also
        Florida Southeast Connection, LLC, 156 FERC ¶ 61,160, at P 5 (2016); see also Minisink
        Residents for Environmental Preservation and Safety v. FERC, 762 F.3d 97, 111, at n.10
        (D.C. Cir. 2014).
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        Against the PennEast Pipeline, LLC, (Hopewell Township) oppose the issuance of a
        blanket certificate to PennEast as it would be a “‘one size fits all solution’” that is
        inappropriate for such a project.

        46.     Neither the Ceader Family nor Hopewell Township) present any arguments why
        PennEast’s specific request for a blanket certificate should be denied; rather they seem
        to take general issue with the Commission’s blanket certificate program. Part 157,
        Subpart F of the Commission’s regulations authorizes a certificate holder to engage in a
        limited number of routine activities under a blanket certificate, subject to certain
        reporting, notice, and protest requirements.56 The blanket certificate procedures are
        intended to increase flexibility and reduce regulatory and administrative burdens.
        Because the eligible activities permitted under a blanket certificate regulations can satisfy
        our environmental requirements and meet the blanket certificate cost limits, they will
        have minimal impacts, such that the close scrutiny involved in considering applications
        for case-specific certificate authorization is not necessary to ensure compatibility with the
        public convenience and necessity. For almost all eligible activities, a certificate holder
        seeking to engage in such activities must notify landowners prior to commencing the
        activity.57 For activities that require prior notice, an opportunity to protest is afforded
        once notice of the certificate holder’s request is issued to the public.58 If a protest cannot
        be resolved, then the certificate holder may not perform the requested activity under a
        blanket certificate.59

        47.     Receipt of a Part 157 blanket certificate does confer the right of eminent domain
        authority under section 7(h) of the NGA.60 However, Commission regulations require
        companies to include information on relevant eminent domain rules in notices to
        potentially affected landowners.61 The compensation landowners receive for property
        rights is a matter of negotiation between the pipeline company and landowner, or is
        determined by a court in an eminent domain proceeding. In view of the above-noted

               56
                    See 18 C.F.R. § 157.203 (2017).
               57
                    See id. § 157.203(d).
               58
                    See id. § 157.205.
               59
                    See id. § 157.205(f).
               60
                  See 15 U.S.C. § 717f(h) (2012); also Columbia Gas Transmission, LLC v. 1.01
        Acres, 768 F.3d 300, 314 (3rd Cir. 2014) (finding that the plain meaning of the
        Commission’s Part 157 blanket certificate regulations grants the holder of a blanket
        certificate the right of eminent domain to obtain easements from landowners.).
               61
                    18 C.F.R. § 157.203(d)(2)(v) (2017).
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        blanket program procedures and protections, we expect the Ceader Family and Hopewell
        Township will have the opportunity to raise specific concerns and seek specific relief
        regarding PennEast’s reliance on blanket authority in undertaking a future activity.

        48.     Because PennEast will become an interstate pipeline with the issuance of a
        certificate to construct and operate the proposed facilities, we will issue PennEast the
        requested blanket certificate authority under Parts 157 and 284 of the Commission’s
        regulations.

               D.       Rates

                        1.      Initial Rates

        49.      PennEast proposes an initial maximum reservation recourse charge of
        $16.0799 per Dth per month, and an initial usage charge of $0.0024 per Dth for firm
        transportation service under Rate Schedule FTS.62 PennEast developed its proposed
        initial rates based on a total first-year cost of service of $224,270,492. The proposed
        cost-based rates reflect a Straight-Fixed Variable rate methodology. The FTS reservation
        rate is designed using the fixed costs of the project63 and annual reservation design
        determinants of 13,905,896 Dth.64 The FTS usage rate is derived using the variable costs
        of the project and billing determinants of 282,838,500 Dth, based on a 70 percent load
        factor of the project’s annual design throughput.65

        50.    The proposed cost of service is based on a depreciation rate of 2.5 percent for
        pipeline facilities and 4 percent for compression and metering facilities.66 PennEast
        proposes a capital structure of 40 percent debt and 60 percent equity. PennEast’s
        proposed rates include a return on equity of 14 percent and a cost of debt of 6 percent.
        PennEast states that the overall rate of return of 10.8 percent is consistent with the range


               62
                    Exhibit P, Schedule 2, of PennEast’s Application.
               63
                Id. PennEast estimates the first year fixed costs of the project to be
        $223,604,821.
               64
                 Id. The annual reservation design determinants are based on the project’s daily
        design capacity of 1,107,000 Dth plus 51,825 Dth of imputed IT billing determinants, as
        described further, times 12.
               65
                 The project’s daily design capacity of 1,107,000 Dth, times 365, times
        70 percent.
               66
                    Exhibits L, O and P of PennEast’s Application.
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        the Commission has found acceptable for new greenfield pipelines.67 PennEast’s
        proposed cost of service also includes a federal corporate income tax rate of 35 percent.68

        51.     PennEast proposes an initial charge of $0.5310 per Dth for interruptible service
        under Rate Schedule IT and for interruptible parking and lending service under Rate
        Schedule PAL, based on a 100 percent load factor equivalent of its Rate Schedule FTS
        rates.69

        52.    Commission policy requires new pipelines to allocate costs to all services
        (including interruptible and short-term firm transportation) or credit revenues generated
        by these services to maximum rate shippers.70 To comply with this policy, PennEast
        proposes to assign $10 million of costs to interruptible services, reflected as 51,825 Dth/d
        of imputed billing determinants for interruptible service. PennEast included the
        additional imputed billing determinants for interruptible service in the calculation of the
        FT reservation charge, which results in a lower FT reservation charge for firm shippers.

        53.     The Commission has reviewed PennEast’s proposed initial rates, cost of service,
        use of the Straight Fixed-Variable method of cost classification, billing determinants, and
        the treatment of interruptible services and interruptible rate calculations, and finds they
        reasonably reflect current Commission policy, with the modifications and conditions
        imposed below.

        Return on Equity, Capital Structure, Debt Costs, and Federal Corporate Tax Issues

        54.    In comments on the draft environmental impact statement, the NJRC argues that
        PennEast’s requested 60 percent equity capitalization, 14 percent return on equity, and
        6 percent debt costs are excessive.

        Return on Equity and Capital Structure

        55.      NJRC asserts that a 14 percent return on equity is too high because PennEast faces
        little risk as a new market entrant constructing a new greenfield pipeline. In support,
        NJRC notes that PennEast’s system capacity is 90 percent subscribed, and that the
        majority of that capacity is subscribed by local distribution companies that are “all but


               67
                    PennEast’s Application at 32.
               68
                    Id.
               69
                    Exhibit P, Schedule 2, of PennEast’s Application.
               70
                    Transcontinental Gas Pipe Line Corp., 78 FERC ¶ 61,057, at 61,209-61,210
        (1997).
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        guaranteed to pay their bills.”71 In addition, NJRC claims that markets have changed
        significantly since the Commission began granting 14 percent returns nearly 20 years ago
        due to the increase in hydraulic fracturing and liquefied natural gas exports, and that
        current capital markets lack the risk to necessitate such high equity returns.72

        56.     NJRC also asserts that returns on equity have been trending down over the last few
        years as reflected in both pipeline rate cases and a number of Federal Power Act
        complaints regarding electric utilities, and points out that average approved rates of
        return over the last 5 years for LDCs has been less than 10 percent.73 NJRC further
        points to a recent Commission order in which it claims the Commission “ordered a new
        pipeline” to use a 10.55 percent return on equity,74 and asserts that the Commission
        should not “reflexively” award PennEast a 14 percent return on equity “simply because
        earlier pipelines have received that return on equity.”75

        57.    Alternatively, if the Commission approves a 14 percent return on equity, NJRC
        contends that recent Commission orders require the Commission to limit PennEast’s
        capital structure to no more than 50 percent equity.76

        Commission Determination

        58.    For new pipelines, the Commission has approved equity returns of up to
        14 percent as long as the equity component of the capitalization is no more than
        50 percent.77 As pointed out by NJRC, PennEast has proposed to establish its rates based

               71
                    NJRC Comments at 11.
               72
                    Id. at 11-12 (citing Alliance Pipeline L.P., 80 FERC ¶ 61,149, at 61,552 (1997)).
               73
                    Id. at 9-13.
               74
                 Id. at 13 (citing First ECA Midstream LLC, 155 FERC ¶ 61,222, at P 23 (2016)
        (First ECA Midstream)).
               75
                    Id.
               76
                  Id. at 14 (citing Ingleside Energy Center, LLC, 112 FERC ¶ 61,101, at PP 32-33
        (2005), vacated on other grounds, 136 FERC ¶ 61,114 (2011) (reducing a proposed 70%
        equity structure to 50%).
               77
                 See, e.g., Florida Southeast Connection, LLC, 154 FERC ¶ 61,080 (2016)
        (approving a 14 percent return on equity after requiring the capital structure be modified
        to include at least 50 percent debt), MarkWest Pioneer, L.L.C., 125 FERC ¶ 61,165, at
        P 27 (2008) (approving 14 percent return on equity based on 50 percent debt and 50
        percent equity ratios); Corpus Christi LNG, L.P., 111 FERC ¶ 61,081, at P 33 (2005)
        (continued ...)
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        only on a 40 percent debt capitalization. With such a debt ratio, everything else being
        equal, PennEast will not face the same level of financial risks as any of the new
        pipelines that have been previously granted a 14 percent return on equity. Imputing a
        capitalization containing a 60 percent equity ratio is more costly to ratepayers, since
        equity financing is typically more costly than debt financing, and also because the interest
        on indebtedness is tax deductible.78 Accordingly, the Commission will approve
        PennEast’s proposed 14 percent return on equity, but will require that it design its cost-
        based rates on a capital structure that includes at least 50 percent debt. As a result of the
        change to the capital structure required here, we will require PennEast to recalculate its
        rates in its compliance filing.

        59.    However, we reject NJRC’s request that we reduce the proposed return of
        14 percent, in addition to requiring a lower equity capitalization. In modifying
        PennEast’s proposed capital structure, we are ensuring that consumers are protected and
        that PennEast’s rates are on a level playing field with other new pipelines. The
        Commission’s policy of approving equity returns of up to 14 percent with an equity
        capitalization of no more than 50 percent for new pipeline companies reflects the fact that
        greenfield pipelines undertaken by a new entrant in the market face higher business risks
        than existing pipelines proposing incremental expansion projects. For example, in
        contrast to an existing pipeline company, a new pipeline entrant does not have historical
        cost data on which to base its cost-of-service estimates. In addition, a new pipeline
        entrant is likely to face higher risks in securing financing than an existing pipeline.79
        Thus, approving PennEast’s requested 14 percent return on equity in this instance is not
        merely “reflexive;” it is in response to the risk PennEast faces as a new market entrant,
        constructing a new greenfield pipeline system.

        60.   NJRC’s reliance on the Commission’s decision in First ECA Midstream is
        misplaced. That proceeding did not involve a greenfield project undertaken by a new

        approving a 14 percent return on equity based on 50 percent debt and 50 percent equity
        ratios); Gulfstream Natural Gas System, L.L.C., 105 FERC ¶ 61,052, at n.26 (2003) and
        91 FERC ¶ 61,119, at 61,463 (2000) (approving 14 percent return on equity based on
        70 percent debt and 30 percent equity ratios); Georgia Strait Crossing Pipeline LP,
        98 FERC ¶ 61,271, at 62,054 (2002) (approving 14 percent return on equity based on
        70 percent debt and 30 percent equity ratios).
               78
                    MarkWest Pioneer, L.L.C., 125 FERC ¶ 61,165, at P 27 (2008).
               79
                 See, e.g., Rate Regulation of Certain Natural Gas Storage Facilities, Order
        No. 678, 115 FERC ¶ 61,343, at P 127 (2006) (“As a going concern with existing
        customers and financial relationships, the risk associated with acquiring financing is
        lower for incremental expansions than the risk associated with a greenfield project
        undertaken by a new entrant in the market.”).
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        entrant in the market. Rather, the applicant was an existing company proposing to
        operate its existing non-jurisdictional gathering system as an interstate pipeline. In
        approving a 10.55 percent return on equity, the Commission specifically found that the
        applicant had “more in common with existing pipelines than with the greenfield pipeline
        projects that have received returns of 14 percent.”80

        61.    In addition, we find no support for NJRC’s assertion that PennEast faces less risk
        than other new pipelines that have received returns of 14 percent due to its 90 percent
        subscription level. We have consistently approved equity returns of 14 percent for new
        pipelines that have firm contracts subscriptions equivalent or higher than PennEast’s
        90 percent subscription level.81 Moreover, the returns approved for electric utilities and
        LDCs are not relevant because there is no showing that these companies face the same
        level of risk as faced by greenfield projects proposed by a new natural gas pipeline
        company.82

        62.     Further, as explained below, we are requiring PennEast to file a cost and revenue
        study at the end of its first three years of actual operation to justify its existing cost-based
        rates. The three-year study will provide an opportunity for the Commission and the
        public to review PennEast’s original estimates, upon which its initial rates are based, to
        determine whether PennEast is over-recovering its cost of service with its approved initial
        rates, and whether the Commission should exercise its authority under section 5 of the
        NGA to establish just and reasonable rates. Alternatively, PennEast may elect to make a
        NGA section 4 filing to revise its initial rates. Should PennEast elect to make such a
        filing, the public would have an opportunity to review PennEast’s proposed return on
        equity and other cost of service components at that time and would have an opportunity
        to raise issues relating to the rate of return, as well as all other cost components.

        63.    In section 7 certificate proceedings, the Commission reviews initial rates for
        service using proposed new pipeline capacity under the public convenience and necessity
        standard, which is a less rigorous standard than the just and reasonable standard under


               80
                    First ECA Midstream at P 23.
               81
                  See, e.g. Florida Southeast Connection, LLC. 154 FERC ¶ 61,080 (2016).
        (approving a 14 percent return on equity where project was 94 percent subscribed);
        Sierrita Gas Pipeline, LLC, 147 FERC ¶ 61,192 (2014), clarified 149 FERC ¶ 61,101
        (2014) (approving a 14 percent return on equity where project was fully subscribed).
               82
                  The Commission has previously concluded that distribution companies are less
        risky than a pipeline company. See, e.g. Trailblazer Pipeline Co., 106 FERC ¶ 63,005,
        at P 94 (2004) (rejecting inclusion of LDCs in a proxy group because they face less risk
        than a pipeline company.).
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        NGA sections 4 and 5.83 As conditioned herein, we find that the approved initial rates
        will “hold the line” and “ensure that the consuming public may be protected,” until just
        and reasonable rates can determined through the more thorough and time-consuming
        ratemaking sections of the NGA.84

        Debt Costs

        64.    NJRC argues that PennEast has not supported its request for a 6 percent cost of
        debt. Referencing a Moody’s report for Long-term Bond Yields in 2016, NJRC states
        that long-term utility bond rates have declined from January 2016 to July.85 Thus,
        NJRC asserts that the Commission should impute a debt cost consistent with “actual debt
        market rates” and consistent with the Commission’s approval of a debt cost of
        3 percent.86



               83
                  Atlantic Refining Co. v. Public Serv. Comm’n of New York, 360 U.S. 378,
        390-391 (1959) (Atlantic Refining). In Atlantic Refining, the Court contrasted the
        Commission's authority under sections 4 and 5 of the NGA to approve changes to
        existing rates using existing facilities and its authority under section 7 to approve initial
        rates for new services and services using new facilities. The court recognized “the
        inordinate delay” can be associated with a full-evidentiary rate proceeding and concluded
        that was the reason why, unlike sections 4 and 5, section 7 does not require the
        Commission to make a determination that an applicant's proposed initial rates are or will
        be just and reasonable before the Commission certificates new facilities, expansion
        capacity, and/or services. Id. at 390. The Court stressed that in deciding under
        section 7(c) whether proposed new facilities or services are required by the public
        convenience and necessity, the Commission is required to “evaluate all factors bearing on
        the public interest,” and an applicant's proposed initial rates are not “the only factor
        bearing on the public convenience and necessity.” Id. at 391. Thus, as explained by the
        Court, “[t]he Congress, in §7(e), has authorized the Commission to condition certificates
        in such manner as the public convenience and necessity may require when the
        Commission exercises authority under section 7,” id., and the Commission therefore has
        the discretion in section 7 certificate proceedings to approve initial rates that will "hold
        the line” and “ensure that the consuming public may be protected” while awaiting
        adjudication of just and reasonable rates under the more time-consuming ratemaking
        sections of the NGA. Id. at 392.
               84
                    Id. at 392.
               85
                    NJRC Comments at 15.
               86
                    First ECA Midstream LLC, 115 FERC ¶ 61,222 at PP 22-23.
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        65.    We find that PennEast’s proposed 6 percent cost of debt is consistent with the cost
        of debt the Commission has approved for recent greenfield pipeline projects. The
        Commission has approved cost of debt percentages ranging from 4.8 to 9.3.87 Moreover,
        as explained above, the initial rates established in First ECA Midstream, including
        approval of the applicant’s proposed 3 percent cost of debt, are inapplicable to this
        proceeding. Therefore, we will approve PennEast’s proposal to utilize a 6 percent cost of
        debt.

        Federal Corporate Tax Issues

        66.    As noted above, PennEast used a federal corporate income tax rate of 35 percent
        in calculating its proposed cost of service. However, effective January 2018, the
        Tax Cuts and Jobs Act of 2017 changed several provisions of the federal tax code,
        including a reduction in the federal corporate income tax rate to 21 percent and allowing
        certain investments to receive bonus depreciation treatment. Because these changes
        impact PennEast’s proposed cost of service and the resulting initial recourse rates, we
        direct PennEast to recalculate its initial recourse rates consistent with the new 2018
        federal corporate tax law when it files actual tariff records. In order to ensure compliance
        with this directive, we also require PennEast to provide supporting work papers in
        electronic spreadsheet format, including formulas.

                      2.     Negotiated Rates

        67.    PennEast states that it will provide service to the project’s shippers under
        negotiated rate agreements pursuant to its negotiated rate authority in section 24 of its
        pro forma General Terms and Conditions (GT&C). PennEast must file either its
        negotiated rate agreements or tariff records setting forth the essential terms of the
        agreements in accordance with the Alternative Rate Policy Statement88 and the




               87
                  UGI Sunbury, LLC, 155 FERC ¶ 61,115, at 20 (2016) (7 percent cost of debt);
        Florida Southeast Connection, LLC, 154 FERC ¶ 61,080 at n.141 (7 percent cost of
        debt); Ruby Pipeline, L.L.C., 128 FERC ¶ 61,224, at P 43 (2009) (9.3 percent cost of
        debt); Sierrita Gas Pipeline, LLC, 147 FERC ¶ 61,192, at P 40 (2014) (4.8 percent cost of
        debt).
               88
                  Alternatives to Traditional Cost-of-Service Ratemaking for Natural Gas
        Pipelines; Regulation of Negotiated Transportation Services of Natural Gas Pipelines,
        74 FERC ¶ 61,076 (1996); clarification granted, 74 FERC ¶ 61,194 (1996), order on
        reh'g, 75 FERC ¶ 61,024 (1996).
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        Commission’s negotiated rate policies.89 PennEast must file the negotiated rate
        agreements or tariff records at least 30 days, but not more than 60 days, before the
        proposed effective date for such rates.90

                        3.     Fuel

        68.    PennEast states it will use an in-kind fuel tracking mechanism to recover fuel and
        lost and unaccounted for gas (L&U) through a fuel retainage percentage (FRP). PennEast
        has proposed an initial FRP of 0.81 percent, calculated using engineering principles and
        manufacturer’s specifications for the proposed compressor engines, and an L&U
        percentage of 0.00 percent. We will approve PennEast’s proposed initial FRP rate of
        0.81 percent, and its proposed initial L&U rate of 0.00 percent.

        69.    In addition, PennEast proposes a fuel tracker as part of its pro forma tariff.
        Section 20.3(a) of the GT&C of PennEast’s pro forma tariff states:

                        With each filing hereunder for a specified calendar period Pipeline
                        shall calculate a FRP as the quotient obtained by dividing (a) the
                        projected annual quantities of Fuel for the upcoming calendar
                        period, plus the amount of any under-collection of Gas in-kind
                        pursuant to the prior period FRP or less the amount of any over-
                        collection of Gas in-kind pursuant to the prior period FRP and (b)
                        the projected annual throughput for the upcoming calendar period.

        70.    Section 154.403(c)(10) of the Commission’s regulations91 states that “[a] step-by
        step explanation of the methodology used to reflect changes in the fuel reimbursement
        percentage including the allocation and classification of the fuel use and unaccounted-for
        natural gas” must be included in the GT&C. PennEast is directed to revise section 20 of
        the GT&C to include an explanation of how the projected annual quantities of fuel and
        projected annual throughput are determined.



               89
                 Natural Gas Pipelines Negotiated Rate Policies and Practices; Modification of
        Negotiated Rate Policy, 104 FERC ¶ 61,134 (2003), order on reh’g and clarification,
        114 FERC ¶ 61,042 (2006), reh’g dismissed and clarification denied, 114 FERC ¶ 61,304
        (2006).
               90
                 Pipelines are required to file any service agreement containing non-conforming
        provisions and to disclose and identify any transportation term or agreement in a
        precedent agreement that survives the execution of the service agreement.
               91
                    18 C.F.R. § 154.403(c)(10) (2017).
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        71.     In addition, PennEast’s proposed language in section 20.3(b) of the GT&C
        explains that it will estimate the L&U quantities, but does not explain the methodology
        PennEast will use to calculate those estimates. Therefore, when PennEast files actual
        tariff records in accordance with the ordering paragraphs herein, it is directed to revise
        section 20 of the GT&C to include an explanation of how PennEast will calculate the
        estimates for the L&U quantities required for the upcoming calendar period.

                        4.     Three-Year Filing Requirement

        72.     Consistent with Commission precedent, PennEast is required to file a cost and
        revenue study no later than three months after the end of its first three years of actual
        operation to justify its existing cost-based firm and interruptible recourse rates.92 In its
        filing, the projected units of service should be no lower than those upon which
        PennEast’s approved initial rates are based. The filing must include a cost and revenue
        study in the form specified in section 154.313 of the Commission’s regulations to update
        cost of service data.93 PennEast’s cost and revenue study should be filed through the
        eTariff portal using a Type of Filing Code 580. In addition, PennEast is advised to
        include as part of the eFiling description, a reference to Docket No. CP15-558-000 and
        the cost and revenue study.94 After reviewing the data, the Commission will determine
        whether to exercise its authority under NGA section 5 to investigate whether the rates
        remain just and reasonable. In the alternative, in lieu of this filing, PennEast may make a
        NGA general section 4 rate filing to propose alternative rates to be effective no later than
        three years after the in-service date for its proposed facilities.

                        5.     Tariff

        73. As part of its application, PennEast filed a pro forma open-access tariff for the
        Commission’s approval. PennEast proposed tariff generally conforms to the
        Commission’s requirements. We will approve the tariff, as conditioned below.

                               Rate Schedule ITS

        74.    Section 2.5 of Rate Schedule ITS provides that the pipeline shall not be required
        to provide transportation service if the quantities tendered are so small as to cause
        operational difficulties, such as with measurement. Under sections 284.7(b) and 284.9(b)

               92
                 Bison Pipeline, LLC, 131 FERC ¶ 61,013, at P 29 (2010); Ruby Pipeline, LLC,
        128 FERC ¶ 61,224, at P 57 (2009) (Bison); MarkWest Pioneer, L.L.C., 125 FERC
        ¶ 61,165, at P 34 (2008).
               93
                    18 C.F.R. § 154.313 (2017).
               94
                    Electronic Tariff Filings, 130 FERC ¶ 61,047, at P 17 (2010).
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        of the Commission’s regulations, a transporter may not discriminate as to the level of
        volumes transported.95 In previous determinations, however, the Commission has
        allowed a pipeline to include a minimum volume restriction in its tariff when the pipeline
        was able to show that the transportation of quantities below the threshold were too small
        to be metered, and where the company has provided operational and cost justification for
        the restriction.96 For example, the Commission accepted a proposal for a 100 Dth/d
        threshold for connections of new receipt and delivery points, where the applicant
        demonstrated that serving small volume points presented operational challenges because
        these receipt points were difficult to measure, increasing the potential for lost system gas,
        and that the cost of operating these delivery points was greater than the maximum rate for
        service. In addition, the applicant demonstrated that the costs associated with operating
        small points would be greater than the maximum rate would cover.97

        75.    Here, PennEast has neither provided justification nor has it provided a proposed
        threshold for minimum volumes to be transported. Therefore, the Commission requires
        PennEast to eliminate the proposed minimum volume condition or, in the alternative,
        state what that minimum volume is and provide the justification to support it.

                              Rate Schedule PAL

        76.     Section 8.6 of Rate Schedule PAL provides that parked quantities of gas shall
        become the property of PennEast when: 1) a customer fails to comply with notifications
        that receipts of parked quantities are to be suspended or reduced; 2) a customer fails to
        comply with notifications that customer’s parked quantities must be removed; or 3) a
        PAL account reflects a balance at the termination date of a PAL Service Agreement. The
        Commission has found that a pipeline’s confiscation of gas is an operationally justified
        deterrent to shipper behavior that could threaten the system or degrade service to firm
        shippers. However, the Commission requires that the value of such confiscated gas be


               95
                  Section 284.7(b)(1) provides “[a]n interstate pipeline or intrastate pipeline that
        offers transportation service on a firm basis under Subpart B, C, or G must provide such
        service without undue discrimination, or preference, including undue discrimination or
        preference in the quality of service provided, the duration of service, the categories,
        prices, or volumes of natural gas to be transported, customer classification, or undue
        discrimination or preference of any kind.” (emphasis added). Section 284.9(b) applies
        these provisions regarding non-discriminatory access to interruptible service.
               96
                 See, e.g., Gulf South Pipeline Co., LP, 103 FERC ¶ 61,105, at P 13, n.7
        (2003) (Gulf South); Trailblazer Pipeline Co., 39 FERC ¶ 61,103, at 61,336 (1987);
        Texas Eastern Transmission Corp., 37 FERC ¶ 61,260, at 61,680-61,681 (1986).
               97
                    Gulf South, 103 FERC ¶ 61,105, at PP 9-13.
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        credited to existing customers.98 PennEast has not proposed a crediting mechanism in its
        tariff. Therefore, we direct PennEast to revise its tariff to include a mechanism to credit
        the value of any confiscated gas, net of costs, to non-offending shippers.

                             GT&C Section 5: Service Nomination Procedures

        77.    PennEast proposes at section 5.1(c) of the GT&C:

                      Pipeline shall have the right to refuse to receive or deliver any Gas
                      not timely and properly nominated. Pipeline shall not be liable to
                      Customer or any other person as a direct or indirect consequence of
                      such refusal and Customer shall indemnify Pipeline from and against
                      any and all losses, damages, expenses, claims, suits, actions and
                      proceedings whatsoever threatened, incurred or initiated as a result
                      of such refusal unless such refusal was due to Pipeline’s gross
                      negligence, undue discrimination or willful misconduct.

        78.     The Commission has found that a simple negligence standard is appropriate for the
        liability and indemnification provisions of open-access tariffs, as this standard prohibits
        pipelines from limiting their liability in a way that would immunize them from direct
        damages resulting from simple negligence and “gives service providers a powerful
        incentive to operate their systems in a reasonable and prudent manner.”99 The
        Commission, however, has allowed pipelines to limit their liability for simple negligence
        to direct damages, so that they are only liable for indirect, consequential, incidental or
        punitive damages where there is gross negligence, willful misconduct, or bad faith.100

        79.     PennEast’s proposed liability standard is inconsistent with Commission policy
        because it immunizes the pipeline from direct damages resulting from simple negligence.
        Therefore, when it submits its actual tariff filing, the Commission will require PennEast
        to revise its liability standard proposed in section 5.1(c) of the GT&C so as to not exclude
        it from liability for direct damages arising from its own simple negligence. Similarly,
        PennEast must revise sections 8.6 (Curtailment), 12.5 (Quality of Gas), and 37

               98
                 AES Sparrows Point LNG, LLC and Mid-Atlantic Express, LLC, 126 FERC
        ¶ 61,019, at P 42 (2009), (citing Colorado Interstate Gas Co., 122 FERC ¶ 61,256, at
        P 102 (2008)).
               99
                See, e.g., Trailblazer Pipeline Co. LLC, 142 FERC ¶ 61,007, at P 8 (2012);
        CenterPoint Energy Gas Transmission Co., LLC, 139 FERC ¶ 61,064, at P 19 (2012);
        Orbit Gas Storage, Inc., 126 FERC ¶ 61,095, at P 58 (2009)).
               100
                 See, e.g., Bison, 131 FERC ¶ 61,013, at P 37; El Paso, 130 FERC ¶ 61,096, at
        P 4-5; ANR Pipeline Co., 100 FERC ¶ 61,132, at 61,505 (2002).
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        (Nonrecourse Obligation of Pipeline’s Members and Operator) of the GT&C, which also
        immunize the pipeline from direct damages resulting from simple negligence.

                             GT&C Section 6: Service Scheduling

        80.  Section 6.1 of PennEast’s GT&C lists the priority order in which quantities
        nominated for transportation will be scheduled. Section 6.1(c) states:

                      Pro rata among firm service Customers utilizing a Secondary Point
                      or Points with at least one of such points being outside the Contract
                      Path or the nominated quantity being in excess of the firm
                      contractual entitlement(s) for any pipeline segment as described in
                      subsection (g) below. (emphasis added) 101

        The emphasized language above appears to address authorized overrun quantities.
        However, section 6.1(d) of the GT&C provides that authorized overrun quantities will
        have the same scheduling priority as interruptible services (“All interruptible service
        Customers, excluding park and loan service Customers, and Customers nominating
        authorized overrun quantities in sequence starting with the Customer paying the highest
        rate.”).102 Commission policy requires that nominations for authorized overrun and
        interruptible services should have the same scheduling priority.103 Thus, we find that the
        emphasized language in section 6.1 (c) of the GT&C that applies to authorized overrun
        quantities is inconsistent with Commission policy, as well as other provisions of
        PennEast’s tariff. We direct PennEast to delete this provision.




               101
                  Section 6.1(g) of the GT&C provides, in part, “[i]n addition, for any movement
        of Gas that traverses a segment(s) in which the total nominated quantity for that contract
        exceeds the firm contractual entitlement, the quantity in excess of the contractual
        entitlement shall be deemed to be outside of the Customer’s Contract Path.”
               102
                   Section 6 of Rate Schedule FTS also provides that authorized daily overrun
        quantities will be transported on an interruptible basis.
               103
                  Sierrita Gas Pipeline, LLC, 147 FERC ¶ 61,192, at P 66 (2014); Central New
        York Oil and Gas Co., LLC, 114 FERC ¶ 61,105, at P 9 (2006) (citing CNG Transmission
        Corp., 81 FERC ¶ 61,346, at 62,592 (1997) and Tennessee Gas Pipeline Co., 62 FERC ¶
        61,250, at 62,676 (1993)).
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                             GT&C Section 8: Curtailment

        81.    PennEast proposes at section 8.1 of the GT&C:

                      Pipeline shall have the right to curtail or discontinue transportation
                      services, in whole or in part, on all or a portion of its system at any time for
                      reasons of Force Majeure or when, in Pipeline’s sole judgment, capacity or
                      operating conditions so require or it is desirable or necessary to make
                      modifications, repairs or operating changes to its system. (emphasis
                      added.)

        82.     The Commission has held that pipelines should plan routine repair, maintenance,
        and improvements through the scheduling process, and should not curtail confirmed
        scheduling nominations in order to perform such work.104 The Commission has found
        that pipelines may only “curtail” service in an emergency situation or when an
        unexpected capacity loss occurs after the pipeline has scheduled service, and the pipeline
        is therefore unable to perform the service which it has scheduled.105 The term
        “modifications, repairs or operating changes” is not limited to an emergency situation or
        an unexpected loss of capacity, and the pipeline should take outages required for routine
        repair, maintenance, and operating changes into account when it is scheduling service,
        rather than curtailing service after it is scheduled. Therefore, PennEast is required to
        revise the emphasized phrase to comply with Commission policy.

        83.     In sections 8.2 (a) through (e) of the GT&C, PennEast provides the order in which
        it would curtail service. Sections 8.2 (d) and (e) of the GT&C set forth the priorities for
        curtailing firm service and provide:

                      (d)    Fourth, Pipeline shall curtail scheduled service to those Customers
                      receiving service under the firm rate schedule at a Secondary Point or
                      Points, with at least one of such points being outside the Contract Path, if
                      the operating condition that necessitates the curtailment affects a location
                      outside of the Customers’ Contract Path, on a pro rata basis among affected
                      Customers;

                      (e)    Fifth, Pipeline shall curtail scheduled service to those Customers
                      receiving service under the firm rate schedule at Primary Points of Receipt
                      and Primary Points of Delivery and at a Secondary Point or Points, which

               104
                 CenterPoint Energy Gas Transmission Co., LLC, 144 FERC ¶ 61,195, at P 75
        (CenterPoint).
               105
                Id.; Ryckman Creek Resources, LLC, 136 FERC ¶ 61,061, at P 68 (2011);
        MarkWest Pioneer, L.L.C., 125 FERC ¶ 61,165, at P 52 (2008).
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                       points are wholly within the Contract Path pro rata on the basis of
                       scheduled quantities.

        84.    The Commission rejects PennEast’s proposal as it relates to curtailing firm
        transportation services. Commission policy requires that once firm service is scheduled,
        all scheduled firm transactions, whether primary or secondary, must be curtailed on a
        pro rata basis.106 PennEast’s proposed tariff is inconsistent with this policy because it
        would curtail certain types of scheduled firm transportation before other scheduled
        firm transportation. PennEast is required, in its tariff compliance filing, to revise
        sections 8.2 (d) and (e) to provide that scheduled firm volumes may only be curtailed on
        a pro rata basis.

        85.   Section 8.4 of PennEast’s GT&C states:

                       All volumes received and/or taken in violation of Pipeline’s
                       curtailment or interruption orders shall constitute unauthorized
                       receipts or deliveries of Gas for which a penalty charge equal to the
                       higher of $50.00 per Dth and 150% times the Platts Gas Daily
                       “Daily Price Survey” High Common price for “Transco, zone 6 non-
                       N.Y. North” per Dth shall be assessed, in addition to any other
                       applicable rate, charge or penalty. (emphasis added).

        86.   In addition to the above penalty, PennEast’s tariff contains a “Usage Rate outside
        Tolerances”107 penalty provision that may result in penalizing the same infraction twice.
        Commission policy prohibits multiple penalties for the same infraction.108 Therefore,
        PennEast is directed to revise its tariff to be consistent with Commission policy.109



              106
                 Algonquin Gas Transmission Co., 104 FERC ¶ 61,118, at P 34 (2003); Order
        No. 636-B, 61 FERC ¶ 61,272, at 62,013 (1992).
              107
                   Sections 3.2.B(2) of Rate Schedule FTS and 3.2A(2) of Rate Schedule ITS
        provide, in part: “The Usage Charge outside Tolerances as set forth on the Statement of
        Rates for Rate Schedule FTS or the Statement(s) of Negotiated Rates, as applicable,
        multiplied by that portion of the total quantity of Gas deliveries on any Day pursuant to
        the effective Service Agreement, except for authorized overrun quantities, which is in
        excess of the lesser of 110% of scheduled service levels for such Day or 102% of MDQ.”
              108
                    Columbia Gas Transmission Corp., 100 FERC ¶ 61,084, at P 201 (2002).
              109
                   E.g. MoGas Pipeline LLC, 151 FERC ¶ 61,201, at PP 22-23 (2015) (approving
        tariff language that permitted the imposition of the greater penalty).
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                              GT&C Section 26: Force Majeure

        87.     PennEast’s proposed definition of force majeure events in section 26.1 of the
        GT&C includes “compliance with any court order, law, regulation or ordinance
        promulgated by any governmental authority having jurisdiction, whether federal, Indian,
        state or local, civil or military, the necessity for testing (as required by governmental
        authority or as deemed necessary for safe operation by the testing party).” PennEast’s
        proposed tariff language conflicts with Commission policy because it can be interpreted
        to include regular, periodic maintenance activities required to comply with government
        actions as force majeure events. The Commission has clarified the basic distinction as to
        whether outages resulting from governmental actions are force majeure or non-force
        majeure events.110 The Commission found that outages necessitated by compliance with
        government standards concerning the regular, periodic maintenance activities a pipeline
        must perform in the ordinary course of business to ensure the safe operation of the
        pipeline, including the Pipeline and Hazardous Materials Safety Administration’s
        (PHMSA) integrity management regulations, are non-force majeure events requiring full
        reservation charge credits. Outages resulting from one-time, non-recurring government
        requirements, including special, one-time testing requirements after a pipeline failure, are
        force majeure events requiring only partial crediting.111

        88.    In addition, PennEast’s proposed definition of force majeure events in section 26.1
        includes “any other cause, whether of the kind herein enumerated, or otherwise, not
        within the control of the party claiming suspension and which by the exercise of due
        diligence such party is unable to prevent or overcome.” (emphasis added). The
        Commission has defined force majeure outages as events that are both “unexpected and
        uncontrollable.”112 The Commission directs PennEast to revise section 26.1 of the
        GT&C to comply with Commission Policy, as discussed above.




               110
                  Kinder Morgan Louisiana Pipeline LLC, 154 FERC ¶ 61,145, at P 30 (2016);
        DBM Pipeline, LLC, 152 FERC ¶ 62,056, at 64,159 (2015); TransColorado Gas
        Transmission Co., LLC, 144 FERC ¶ 61,175, at PP 35-43 (2013); Gulf South Pipeline
        Co., LP, 141 FERC ¶ 61,224, at PP 28-47 (2012), order on reh’g, 144 FERC ¶ 61,215, at
        PP 31-34 (2013).
               111
                     See Algonquin Gas Transmission LLC, 153 FERC ¶ 61,038, at P 104 (2015).
               112
                  North Baja Pipeline, LLC v. FERC, 483 F.3d 819, 823 (D.C. Cir. 2007), aff’g,
        North Baja Pipeline, LLC, 109 FERC ¶ 61,159 (2004), order on reh’g, 111 FERC
        ¶ 61,101 (2005). See also Kinder Morgan Louisiana Pipeline LLC, 154 FERC ¶ 61,145,
        at P 29 (2016); Algonquin Gas Transmission LLC, 153 FERC ¶ 61,038 at P 103.
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                      GT&C Section 32: North American Energy Standards Board
                      (NAESB)

        89.     PennEast adopted the Business Practices and Electronic Communications
        Standards of NAESB Wholesale Gas Quadrant's (WGQ) Version 2.0. PennEast has
        identified those standards incorporated by reference in GT&C Section 32. Those
        standards not incorporated by reference by PennEast have also been identified, along
        with the tariff record in which they are located. In the event an updated version of the
        NAESB WGQ standards is adopted by the Commission prior to PennEast’s in-service
        date, the Commission directs PennEast to file revised tariff records, 30 to 60 days prior to
        its in-service date, consistent with the then current version.

                             GT&C Section 39: Reservation Charge Crediting

        90.    Sections 39.1 and 39.2 of the GT&C provide that the pipeline will provide full
        reservation charge credits to shippers during non-force majeure events and partial
        reservation credits during force majeure events, respectively, except as provided for in
        section 39.3.

        91.  Section 39.3 exempts PennEast from providing reservation charge credits in a
        number of circumstances including:

                      (xi)    if Customer is provided service pursuant to a negotiated rate
                      agreement executed after November 1, 2017, or any successor
                      negotiated rate agreement thereto, and such agreement does not
                      explicitly require reservation charge credits.”

        92.    The Commission has found that it is unreasonable for a pipeline to apply a
        proposed new contractual prerequisite for negotiated rate contracts to qualify for
        reservation charge credits to agreements entered into before the effective date of the
        proposed tariff language.113 Although section 39.3 (xi) of the GT&C provides such
        protection to the agreements prior to the filing of PennEast’s application, this provision
        does not address any agreements that may be reached with shippers before the effective
        date of the tariff. Acceptance of PennEast’s proposal with respect to existing negotiated
        rate agreements would unreasonably deny reservation charge credits to shippers which
        may have been unaware of PennEast’s future contracting requirement. Therefore, the
        Commission directs PennEast to revise this language to apply only to negotiated rate
        contracts entered into after the effective date of that tariff provision.



               113
                  Florida Southeast Connection, LLC, et al., 154 FERC ¶ 61,080, at P 176
        (2016); Iroquois Gas Transmission Sys., LP, 145 FERC ¶ 61,233, at PP 67-71 (2013).
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               E.       Environmental Analysis

                        1.     Pre-filing and Application Review

        93.     Commission staff began a pre-filing environmental review of the project on
        October 10, 2014. On January 13, 2015, Commission staff issued a Notice of Intent to
        Prepare an Environmental Impact Statement for the Planned PennEast Pipeline Project,
        Request for Comments on Environmental Issues, and Notice of Public Scoping Meetings
        (NOI). This notice was published in the Federal Register on February 3, 2015,114 and
        sent to more than 4,300 interested entities, including representatives of federal, state, and
        local agencies; elected officials; environmental and public interest groups; Native
        American tribes; potentially affected landowners as defined in the Commission’s
        regulations (i.e., landowners crossed or adjacent to pipeline facilities or within 0.5 mile of
        a compressor station); concerned citizens; and local libraries and newspapers. The NOI
        briefly described the project and the environmental impact statement (EIS) process,
        provided a preliminary list of issues identified by staff, invited written comments on the
        environmental issues that should be addressed in the EIS, and listed the date and location
        of five public scoping meetings.115 On January 28, 2015, Commission staff issued a
        Notice of Extension of Comment Period and Clarification of Location of Public Comment
        Meetings for the PennEast Pipeline Project, which extended the comment period until
        February 27, 2015.116 At the public scoping meetings, a total of 250 speakers provided
        verbal comments about the project. In addition, more than 6,000 letters were filed
        providing comments about the project.117

        94.    To satisfy the requirements of the National Environmental Policy Act (NEPA),
        Commission staff prepared a draft EIS for the project. The U.S. Army Corps of
        Engineers (USACE), U.S. Environmental Protection Agency (EPA), and the
        U.S. Department of Agriculture’s Natural Resources Conservation Service participated in
        the NEPA review as cooperating agencies. Commission staff issued the draft EIS for the
        project on July 22, 2016, which addressed the issues raised during the scoping period and
        included staff’s independent analysis of the environmental impacts of the project.


               114
                     80 Fed. Reg. 5744 (2015).
               115
                  Commission staff held the public scoping meetings between February 10 and
        12, 2015 and February 25 and 26, 2015 in Bethlehem, Jim Thorpe, and Wilkes-Barre,
        Pennsylvania; and Trenton and Hampton, New Jersey.
               116
                     80 Fed Reg. 4557 (2015).
               117
                  Table 1.4-1 of the final EIS provides a detailed and comprehensive list of issues
        raised during scoping.
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        95.    Notice of the draft EIS was published in the Federal Register on July 29, 2016,
        establishing a 45-day public comment period that ended on September 12, 2016.118 The
        draft EIS was mailed to over 4,280 stakeholders, which included the entities that were
        mailed the NOI and additional interested entities. Commission staff held six public
        comment sessions between August 15 and 17, 2016, to receive comments on the draft
        EIS.119 Approximately 670 individuals attended these public sessions, including 420 who
        provided verbal comments. A total of 4,169 comment letters were filed in response to the
        draft EIS before the comment period closed on September 12, 2016. The transcript of the
        public comment sessions and all written comments on the draft EIS are part of the public
        record for the project.

        96.    On September 23, 2016, PennEast filed 33 route modifications, totaling 21.3 miles
        in length, to address environmental and engineering concerns. On November 4, 2016,
        Commission staff issued a letter to newly affected landowners describing the route
        modifications and inviting comments on the route modifications, and opening an
        additional 30-day comment period, which concluded on December 5, 2016. Comments
        received after the close of the comment periods (between September 12 and November 4,
        2016, and after December 5, 2016) continued to be posted to the Commission’s eLibrary
        website and were reviewed by staff for substantive concerns.

        97.    The final EIS for the project was issued on April 7, 2017, and a public notice of
        the availability of the final EIS was published in the Federal Register on April 14,
        2017.120 The final EIS addresses all substantive comments received on the draft EIS, the
        November 4, 2016 letter, and comments received prior to December 31, 2016.121 The
        final EIS was mailed to the same parties as the draft EIS, as well as additional parties.122
        The final EIS addresses geology; soils; water resources; wetlands; aquatic resources;
        vegetation and wildlife; threatened, endangered, and special status species; land use,

               118
                     82 Fed. Reg. 49,971 (2017).
               119
                 Commission staff held draft EIS comment sessions in Bethlehem,
        Pennsylvania; Jim Thorpe, Pennsylvania; Clinton, New Jersey; Lahaska, Pennsylvania;
        Wilkes-Barre, Pennsylvania; and Trenton, New Jersey.
               120
                     82 Fed. Reg. 17,988 (2017).
               121
                  All comments received prior to the end of the comment period and in response
        to the November 4, 2016 letter that included additional substantive concerns are included
        in the comment responses contained in Appendix M of the final EIS (Volume II). Any
        new issues raised after December 31, 2016, which were not previously identified, are
        addressed in this order.
               122
                     The distribution list is provided in Appendix A of the final EIS.
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        recreation, and visual resources; socioeconomics; cultural resources; air quality and
        noise; reliability and safety; cumulative impacts; and alternatives. The major
        environmental issues raised during this proceeding, and comments from stakeholders not
        addressed in the final EIS, as well as substantive comments on the final EIS, are
        discussed below.

        98.     The final EIS concludes that while the project will result in some adverse
        environmental impacts, these impacts will be reduced to less than significant levels with
        the implementation of PennEast’s proposed impact avoidance, minimization, and
        mitigation measures, together with staff’s recommended environmental conditions, now
        adopted, as modified, as conditions in the attached Appendix A of this order. While, the
        Commission recognizes that there are incomplete surveys due to lack of access to
        landowner property, the conclusions in the final EIS, and affirmed by the Commission
        here, were based on the information contained in the record, including PennEast’s
        application and supplements, as well as information developed through Commission
        staff’s data requests, field investigations, the scoping process, literature research,
        alternatives analysis, and contacts with federal, state, and local agencies, as well as with
        individual members of the public. As part of its environmental review, staff developed
        specific mitigation measures that we find will adequately and reasonably reduce the
        environmental impacts resulting from the construction and operation of the PennEast
        Project. We believe that the substantial environmental record and mitigation measures
        sufficiently support reaching a decision on this project.

        99.    Once a certificate is issued, the Commission’s environmental staff is charged with
        ensuring that the project will be constructed in compliance with the Commission’s order,
        including the conclusions regarding the project’s expected impacts upon the environment.
        Recognizing that there are necessary field surveys that are outstanding on sections of the
        proposed route where survey access was denied, we are imposing several environmental
        conditions that require filing of additional environmental information for review and
        approval once survey access is obtained. This includes items such as site-specific plans,
        survey results, documentation of consultations with agencies, and additional mitigation
        measures. The additional information ensures the EIS’s analyses and conclusions are
        verified based on the best available data, enabling us to improve and finalize certain
        mitigation plans and ensure stakeholder concerns are addressed. The information will
        also provide Commission staff with the site-specific details necessary to appropriately
        evaluate compliance during the construction process. In addition, Environmental
        Condition 10 requires that before construction can commence, PennEast must file
        documentation that it has received all applicable authorizations required under federal
        law (or evidence of waiver thereof).

        100. Further, the final EIS has adequately identified, as required by section 1502.22 of
        the Council on Environmental Quality (CEQ) regulations, where information is
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        lacking.123 CEQ regulations recognize that some information simply may not be
        available.124 Moreover, the final EIS contains mitigation plans that provide for using the
        correct mitigation measures, sediment control measures, and restoration requirements
        based on the actual site conditions experienced during construction. The conditions in
        the order will ensure that all environmental resources will be adequately protected.

        101. The Commission needs to consider and study environmental issues before
        approving a project, but it does not require all environmental concerns to be definitively
        resolved before a project’s approval is issued. NEPA does not require every study or
        aspect of an analysis to be completed before an agency can issue a final EIS, and the
        courts have held that agencies do not need perfect information before it takes any
        action.125 In U.S. Department of the Interior v. FERC, the court held that “[v]irtually
        every decision must be made under some uncertainty; the question is whether the
        Commission’s response, given uncertainty, is supported by substantial evidence and is
        not arbitrary and capricious.”126 Similarly, in State of Alaska v. Andrus, the court stated
        that “[i]f we were to impose a requirement that an impact statement can never be
        prepared until all relevant environmental effects were known, it is doubtful that any
        project could ever be initiated.”127 There must, however, be sufficient information in the
        record to enable the Commission to take the requisite “hard look” required by NEPA. As
        indicated above, we believe the record in this proceeding meets that requirement.128




               123
                     40 C.F.R. § 1502.22 (2017).
               124
                     Id.
               125
                  U.S. Dep’t of the Interior v. FERC, 952 F.2d 538, 546 (D.C. Cir. 1992); State of
        Alaska v. Andrus, 580 F.2d 465, 473 (D.C. Cir. 1978), vacated in part sub nom. W. Oil &
        Gas Ass’n v. Alaska, 439 U.S. 922, 99 S. Ct. 303, 58 L. Ed. 2d 315 (1978) (“NEPA
        cannot be ‘read as a requirement that complete information concerning the environmental
        impact of a project must be obtained before action may be taken’”).
               126
                     U.S. Dep’t of the Interior v. FERC, 952 F.2d 538, 546.
               127
                     State of Alaska v. Andrus, 580 F.2d 465, 473.
               128
                   See also Independence Pipeline Co., 91 FERC ¶ 61,102, at 61,352 (2000)
        (finding that despite landowners denying survey access, the final EIS was sufficiently
        detailed to inform the Commission and the public for purposes of NEPA); Southern
        Natural Gas Co., 85 FERC ¶ 61,134, at 61,512 (1998) (finding paper record sufficient
        even though landowners denied pipeline survey access).
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                        2.      The EIS Process and Procedural Concerns

        102. Commenters requested public meetings be held in areas affected by PennEast’s
        minor route modifications, as identified in PennEast’s September 23, 2016 Supplemental
        Information filing. Commission staff mailed notice on November 4, 2016, to all
        landowners potentially affected by the modifications, government officials, and other
        stakeholders. The notice described the proposed route changes, invited participation, and
        opened a special 30-day limited scoping period. Over 400 comments were filed in
        response to the notice, which are addressed in the final EIS. Commission staff
        determined that additional public meetings were not required and that written comments
        received from the public were sufficient to identify potential concerns associated with the
        minor route changes.

        103. In addition, several commenters asserted that the comment period for the draft EIS
        was not sufficient, and should have been extended in order to allow parties additional
        time to study the draft EIS and provide comment. Commission staff continued to accept
        and review comments after the close of the comment period for the draft EIS. All filings
        are available on the docket for public review and inspection. For these reasons, we
        concur that an extended comment period was not needed.

                        3.      Major Environmental Issues and Comments on the Final EIS

                                a.     Geology

        104. Several commenters express concern regarding construction near active quarries
        and in karst terrain. Comments were also filed regarding the potential for naturally
        occurring arsenic to mobilize and contaminate groundwater, drinking water wells, and
        surface waters. Commenters also express concerns for landslide risks, as well as the
        potential for soil compaction.

        105. After the close of the draft EIS comment period, United States Representative
        Matt Cartwright of Pennsylvania forwarded a letter from his constituent, Phyllis
        Jacewicz, particularly for residences on East Saylor Avenue in Plains Township, Luzerne
        County, Pennsylvania, citing concerns about construction of the project near an active
        quarry. As stated in the final EIS, PennEast has adjusted the pipeline route through
        Luzerne County to avoid future expansion of the quarry, PennEast also evaluated average
        quarry blasting vibration, concluding there would be no effect from these activities on the
        pipeline.129 Additionally, PennEast provided documentation regarding the expansion of
        the Trap Rock Quarry located at milepost (MP) 99 in Delaware Township, New Jersey,
        and provided a blasting assessment based on site-specific data (geology, distance and
        wave propagation) and a scaling relationship to solve for blast-induced effects (peak

               129
                     See final EIS at 4-5.
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        particle velocity) on the pipeline. Based on the blasting analysis, the EIS concludes that
        no impacts on the pipeline from quarry blasting are anticipated.130 In response to
        comments received regarding the accuracy of the explosive weights for the blasting
        analysis, Environmental Condition 14 requires PennEast to file an updated report
        verifying the explosive weights used by the quarry operator; incorporate this information
        this into the final design of the project; and to seek concurrence from Trap Rock Quarry
        regarding the input parameters to the blasting analysis. The updated report will be
        reviewed by Commission staff prior to construction to confirm the conclusions in the EIS
        remain valid.

        106. In comments on the final EIS, Susan D. Meacham discusses the potential risks of
        construction in karst areas and the potential risk for scouring where the pipeline will cross
        the floodplain along the New Jersey side of the proposed horizontal directional drill
        (HDD) crossing of the Delaware River. The final EIS determines that there are
        approximately 13.8 miles of the project, in Carbon, Northampton, and Bucks Counties,
        Pennsylvania, and Hunterdon County, New Jersey, where a karst hazard may be present;
        approximately 50 percent of the karst survey has been completed.131 As discussed in the
        EIS, PennEast developed a project-specific Karst Mitigation Plan, as well as a specific
        HDD plan for drilling through karst terrain. The project-specific Karst Mitigation Plan,
        which provides guidance to mitigate karst-related concerns during construction, was
        developed using maps of known or suspected karst areas, and field investigations
        completed to-date. The HDD Drilling Plan for Karst Terrain establishes operational
        procedures and responsibilities for the prevention, containment, and clean-up of
        inadvertent returns of drilling muds and losses associated with HDD through karst areas.
        Further, we note that PennEast continues to complete additional geophysical
        investigations as landowner access becomes available, and will incorporate the findings
        into an updated Karst Mitigation Plan. The final updated plan will enable PennEast to
        finalize its HDD design based on a detailed understanding of the subsurface conditions,
        and more precisely identify locations where the approved mitigation procedures will be
        implemented. Accordingly, Environmental Condition 16 requires PennEast to file for
        approval a final Karst Mitigation Plan prior to construction, which includes the results of
        all outstanding field investigations, as well as requirements of the Pennsylvania
        Department of Environmental Protection (PADEP), New Jersey Department of
        Environmental Protection (NJDEP) and local planning commissions. Based on staff’s
        review of the Karst Mitigation Plan, the HDD Drilling Plan for Karst Terrain, and
        compliance with Environmental Condition 16, we agree with the final EIS’s conclusion
        that PennEast will adequately minimize impacts in geologically sensitive areas.132
               130
                     Id. at 4-5.
               131
                     Id. at 4-10.
               132
                     See final EIS at ES-5.
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        Regarding the risk of scour, PennEast’s HDD of the Delaware River will drill underneath
        the river’s flood plain, with the HDD entry/exit point on the New Jersey side of the river
        approximately 1,100 feet east of the river’s edge, outside of the flood zone and below the
        potential scour depth. The segment of pipeline installed by HDD will be considerably
        deeper than sections of pipeline installed by standard trenching and will be below the
        potential scour depths. Thus, scour from flooding on the Delaware River will not affect
        the pipeline.

        107. Several commenters expressed concern that the final EIS contains an inadequate
        analysis of the potential for construction and operation of the project to contribute to
        arsenic contamination of groundwater and the release of radioactivity. Comments were
        filed from stakeholders, including a letter from Congressman Brian Fitzpatrick on behalf
        of Bucks County, Pennsylvania, from Dr. Tullis Onstott from the Princeton University
        Department of Geosciences, Dr. Julia Barringer, a retired U.S. Geologic Survey research
        geochemist, and from the Township of Kingwood, New Jersey, regarding the potential
        risk of arsenic contamination of groundwater. Drs. Onstott and Barringer contend that
        the final EIS fails to address the potential for the project to increase arsenic mobility, as
        well as the release of radioactivity. Drs. Onstott and Barringer also comment that the
        pipeline has the potential to cause boron contamination of the Lambertville, New Jersey
        drinking water supply reservoir, and further state that cathodic protection on the pipeline
        has the potential to “promote the growth of microbes that stimulate arsenic” while a
        potential methane leak would input carbon into the soil, which could serve to stimulate
        microbial activity, which in turn could stimulate arsenic.133 Further, Drs. Barringer and
        Onstott state that the final EIS fails to fully analyze the potential release of arsenic to
        local streams from HDDs. In addition, several comments were filed stating that the final
        EIS does not sufficiently address the risk of uranium and uranium decay product
        radionuclides potentially being released by blasting of Newark Basin sedimentary
        bedrock.

        108. PennEast conducted a laboratory arsenic mobilization study, leaching experiments,
        and dilution modeling to determine if trench excavation and the use of HDDs will
        oxidize, release, and mobilize naturally occurring arsenic and potentially increase arsenic
        exposure to nearby groundwater users and/or ecological receptors within waterbodies.
        The results of the laboratory study demonstrate that broken fragments of naturally
        occurring arsenic-enriched rock generated during trenching activities and subsequently
        returned as backfill, would not result in an increased risk of arsenic mobilization in
        groundwater; that drilling mud would not become contaminated with particles of
        naturally occurring arsenic enriched rock; and that concentrations of arsenic in
        groundwater will be below the EPA maximum contaminant level (MCL) of

               133
                See Comments of Drs. Julia Barringer and Tullis Onstott, filed May 5, 2017 in
        Docket No. CP15-558-000.
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        10 micrograms per liter (ug/L) for public water supplies and the New Jersey MCL of
        5 micrograms per liter (µg/L) for both public and private water supplies. Regarding
        comments on the project’s ability to contaminate Lambertville’s water supply from
        boron, the EIS found that the pipeline alignment does not cross any stream that provides
        water to Lambertville’s water supply and the Lambertville reservoir is located up-
        gradient of the planned PennEast pipeline.

        109. As discussed in the final EIS, Drs. Onstott and Barringers’ comments regarding
        the chemical mechanisms that could mobilize arsenic and other analytes during
        construction and operation were found to be speculative, based upon misapplication of
        physical principles, containing misinformation about pipeline corrosion and corrosion
        prevention systems, and not supported by empirical data for construction and operation of
        natural gas pipelines. Further, the final EIS found that radionuclides present in
        groundwater and household air are “absolutely not specific” to Newark Basin
        sedimentary bedrock (Stockton, Lockatong, and Passaic formations), and that human
        exposure issues related to radionuclides are not likely to play a role in the construction
        and operation of natural gas pipelines. Regarding the potential for methane leaks to
        increase arsenic mobility, PennEast has committed to several specific measures to reduce
        the risk of methane leaks, which would in turn further reduce the risk of increased arsenic
        mobility.134

        110. PennEast has prepared a Well Monitoring Plan and proposes to conduct
        groundwater quality testing of potentially affected wells prior to construction. This will
        provide a baseline to determine whether any arsenic increases in groundwater occur after
        the pipeline is installed. In the unlikely event that construction results in any arsenic
        impacts on a water-supply well, PennEast will provide a treatment system to remove
        arsenic from the drinking water at individual properties or find an alternative water
        source.

        111. In its September 20, 2016 comments on the DEIS, the United States Department
        of the Interior (DOI) expressed concern regarding the potential for arsenic mobilization,
        and the potential for arsenic contamination of individual wells, drinking water, and
        groundwater. To address these concerns, we require in Environmental Condition 23 that
        PennEast revise and file for review and approval its above-described Well Monitoring
        Plan to incorporate the well sampling quality assurance/quality control elements
        suggested by the DOI into its well sampling protocol and to include provisions for
        treatment for groundwater users impacted by increased arsenic levels, as well as
        provisions for monitoring and maintaining such treatment systems.

        112. In comments on the final EIS, Lorraine Crown of Holland Township expressed
        concern regarding Route Deviation 1710, which she claims would lead to an increased

               134
                     Id. at 4-250.
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        risk of landslides on Gravel Hill. The final EIS’ conclusion that that landslide incidences
        are low in New Jersey is based on PennEast’s Phase I Terrain Mapping and Geohazard
        Risk Evaluation, which included the review of federal, state and local geographic
        information system data, published maps, available print and digitized terrain data, and
        site-specific data collected by PennEast. The final EIS notes that while generalized data
        from the United States Geological Survey indicates that there is a low risk of landslide
        potential for the New Jersey portion of the project, several locations in New Jersey have
        recorded landslides in close proximity to the proposed pipeline.135 This includes the area
        near steep slopes 75 and 76 near route deviation 1710 as identified in Phase 1 of
        PennEast’s Terrain Mapping and Geohazard Risk Evaluation Report. PennEast identified
        these as areas where it will conduct further field investigation and analysis. We require
        in Environmental Condition 15 that, prior to construction, PennEast shall file results of
        the outstanding site-specific Phase 2 and 3 portions of the Geohazard Risk Evaluation
        Report, which will include a final landslide hazard inventory. The finalized report will
        also include any specific measures and locations where PennEast will implement
        specialized pipeline design to mitigate for potential soil stability or landslide hazards; and
        include a post-construction monitoring plan.

        113. In comments on the final EIS, the NJDEP submitted a letter referencing previous
        comments by the New Jersey Geological and Water Survey (NJGWS) which indicate that
        there are important paleontological sites that are significantly closer than 0.25 mile to the
        proposed route. The NJDEP requests that PennEast consult with Dr. William Gallagher
        and provide him with the proposed project route alignment shape files as over 90 percent
        of the route crosses rock formations within the Newark Basin.

        114. PennEast provided the NJGWS with updated mapping of the proposed pipeline
        route in relation to sites identified as significant paleontological locations containing
        trace Triassic-age fossils and various casts, including footprints. After analyzing the
        NJDEP comments on the final EIS, we determined there is potential for fossilized
        vertebrate footprints to be affected by construction of the project through Newark Basin
        sedimentary bedrock. Therefore, we have included a new condition to address potential
        discovery of paleontological resources during project construction. Environmental
        Condition 20 requires that PennEast prepare an unanticipated discovery plan for
        paleontological resources in coordination with the NJGWS and Dr. William Gallagher.
        The plan shall be focused on areas where bedrock would have allowed preservation of
        any significant paleontological resource. We believe that Environmental Condition 20
        sufficiently addresses NJDEP’s concerns and that any adverse impacts on significant
        paleontological resources will be appropriately mitigated.




               135
                     Id. at 4-7.
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                                b.      Soils

        115. The project will cross numerous soil types, which may be affected by pipeline
        construction activities, such as clearing, grading, trench excavation, backfilling, and the
        movement of construction equipment along the right-of-way.

        116. In comments on the final EIS, Emma A. Switzler discusses the potential for soil
        compaction from an HDD work space proposed on her property. PennEast identified
        certain measures which will be implemented to reduce the potential for soil compaction,
        including regular testing of topsoil and subsoil for compaction. PennEast indicated that it
        would avoid construction during periods of high soil saturation in order to minimize the
        risk of soil compaction. Severely compacted topsoil will be plowed or a green manure
        such as alfalfa will be planted and plowed to decrease bulk density and improve soil
        structure.136 Given these measures and PennEast’s adherence to the Commission’s
        Upland Erosion Control, Revegetation, and Maintenance Plan (Plan), which includes
        specific measures designed to mitigate for soil compaction, the final EIS finds that the
        project activities will not result in significant adverse soil structural damage or
        compaction.137

        117. As stated in the final EIS, implementation of PennEast’s Erosion and Sediment
        Control Plan (E&SCP), FERC’s Plan and FERC’s Wetland and Waterbody Construction
        and Mitigation Procedures (Procedures), and other project-specific plans, will adequately
        avoid, minimize, or mitigate construction impacts on soil resources. Permanent impacts
        on soils will mainly occur at the aboveground facilities where the sites will be converted
        to industrial use. Based on the final EIS, we conclude that potential impacts on soils will
        be avoided or effectively minimized or mitigated.

                                c.      Water Resources

        118. The project will cross 269 waterbodies.138 Approximately 74 percent of these
        waterbodies are classified as minor, 22 percent as intermediate, and 3 percent classified
        as major. Numerous commenters expressed concern regarding the potential effects of the
        construction and operation of the project on state designated streams, with a particular
        emphasis on locations where HDD crossing would occur. The final EIS states that while
        minor impacts on waterbodies may occur during construction, with the implementation of
        PennEast’s planned, and the Commission’s required mitigation plans, no long-term
        effects on surface waters are anticipated. In addition, PennEast will comply with state

               136
                     Id. at 4-28.
               137
                     Id. at 4-21 to 4-22.
               138
                     Id. at 4-45 (table 4.3.2-1).
20180119-3110 FERC PDF (Unofficial) 01/19/2018
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        regulations regarding riparian buffers. Finally, PennEast will comply with regulatory
        permit conditions that address scour and sedimentation, flooding, or the introduction of
        foreign or toxic substances into the aquatic system. Accidental spills and leaks during
        construction and operations will be prevented or adequately minimized through
        implementation of PennEast’s Spill Prevention Control and Countermeasure Plan.

        119. Several comments addressed potential impacts on state-designated waterbodies.
        Appendices G-7 through G-9 of the final EIS provide state classifications for individual
        waterbody crossings in Pennsylvania and New Jersey by milepost. The final EIS
        analyzes construction impacts on waterbodies, and determines that the mitigation
        measures identified in our Procedures will adequately minimize impacts on Pennsylvania
        and New Jersey state-designated waters, including High Quality, Exceptional Value and
        Category 1 waters.139 Generally, PennEast will minimize impacts on state-designated
        waterbodies and associated riparian zones by locating temporary workspace in actively
        disturbed areas with a vegetation buffer between the workspace and the riparian zone.
        Where the riparian zone cannot be avoided entirely, PennEast will reduce the workspace
        to 75 feet in width and relocate additional temporary workspaces upslope, or into actively
        disturbed areas, to the extent practicable. For dry-crossings, the workspace through the
        waterbody will be reduced to 60 feet in width and the workspace outside the waterbody
        will have a total width of 75 feet on both sides of the waterbody until actively disturbed
        areas are encountered. Where site constraints are favorable, PennEast will use the HDD
        method, which will not require tree clearing or workspace adjacent to the waterbody, to
        directly avoid impacts within the waterbody. PennEast has committed to preparing site-
        specific plans prior to construction for each waterbody to be crossed via HDD. These
        site-specific HDD Plans would include a description of the HDD work site, justification
        of the work space required, cleanup plans in the event of the inadvertent release of
        drilling mud, as well as a contingency plan in the event the HDD is unsuccessful.140

        120. In comments on the final EIS, West Amwell Township, New Jersey, expresses
        concern regarding the crossing of Alexauken Creek, including the feasibility of and
        dangers associated with using the HDD crossing method; potential temperature and
        sedimentation impacts; and PennEast’s plans for hydrostatic testing. The majority of the
        HDD crossings have had some geotechnical work performed, and staff reviewed this data
        along with PennEast’s HDD Inadvertent Returns and Contingency Plan and HDD
        profiles. We require in Environmental Condition 19 that PennEast file the final design
        plans for each HDD crossing for review and approval. The final design plan will include
        the results for all geotechnical borings conducted at each HDD crossing (lithology,
        standard penetration testing and bedrock quality designation), and a HDD feasibility

              139
                    See final EIS at 4-49.
              140
                    Id. at 4-62.
20180119-3110 FERC PDF (Unofficial) 01/19/2018
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        assessment based on the soil boring results, including an assessment of the risk for
        hydrofracturing and inadvertent return of drilling fluids at each crossing. Completion of
        all geotechnical borings for each specific crossing will allow for a comprehensive HDD
        feasibility and hydrofracture/inadvertent return analysis that staff will review to ensure
        PennEast has adequately minimized environmental risks in the final design of the HDD.

        121. Further, as indicated above and in the final EIS, PennEast will prepare a detailed
        plan for each waterbody that will be crossed via HDD that includes site-specific
        construction diagrams of work areas; identification of any aboveground disturbance or
        clearing between the HDD entry and exit; and a contingency plan for crossing the
        waterbody or wetland in the event the HDD is unsuccessful. PennEast’s HDD crossing
        of the Alexauken Creek will avoid any in-stream disturbance and any direct impact to the
        riparian areas between the drilling entry and exit sites, thus minimizing any potential for
        sedimentation or temperature changes. In the unlikely event that PennEast is required to
        cross this waterbody using an alternative crossing method, Commission staff must review
        and approve the plans to verify appropriate mitigation measures will be implemented to
        minimize sedimentation. Furthermore, PennEast’s Erosion and Sedimentation Control
        Plan requires site-specific plans to mitigate sedimentation.

        122. We reviewed the hydrostatic test water source and discharge locations provided by
        PennEast. However, during exceptional dry periods when low flow conditions may be
        encountered, PennEast will assess if alternative sources would be necessary. Thus,
        Environmental Condition 28 requires that PennEast file its final hydrostatic test plan
        identifying the final hydrostatic test water sources and discharge locations and provide
        documentation that it has obtained all necessary permits and approvals for withdrawal
        from each source prior to construction. PennEast has indicated that its hydrostatic testing
        program will comply with state- and Delaware River Basin Commission-issued water
        withdrawal and National Pollutant Discharge Elimination System permits.

        123. Several comments were received regarding potential impacts on groundwater
        supplies, specifically supplies from private wells and community aquifers. The final EIS
        evaluates potential impacts on groundwater resources, and because PennEast has not
        yet completed surveys for water supply wells along the entire project, includes a
        recommendation that PennEast complete all necessary surveys for water supply wells and
        groundwater seeps and springs, identify public and private water supply wells within the
        construction workspace, and file a revised list of wells, seeps, and springs within 150 feet
        of any construction workspace (500 feet in areas characterized by karst terrain).141 We
        incorporate this requirement as Environmental Condition 21 in Appendix A.

        124. Although the precise locations of all water supply wells have not yet been
        determined, the avoidance and mitigation measures that will be implemented are

               141
                     Id. at 4-38.
20180119-3110 FERC PDF (Unofficial) 01/19/2018
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        evaluated in the EIS. The final EIS determines that no significant impacts to
        groundwater resources are anticipated from the construction or operation of the project.
        Installation of the pipeline would include digging a trench approximately 7-10 feet deep,
        which would have minor impacts on surficial aquifers, and not impact deeper bedrock or
        sole-source aquifers, including their discharge and recharge patterns.142 In addition
        PennEast reviewed publicly available information regarding wellhead protection areas to
        formulate alternatives and has committed to several mitigation measures in order to
        further reduce the potential for impacts to wellhead protection areas, including
        prohibition of certain activities and material storage in proximity to these areas, and
        consultation with the appropriate wellhead protection authorities.143

        125. Several comments were received regarding PennEast’s Well Monitoring Plan.
        The final EIS concludes that the current Well Monitoring Plan contains acceptable
        measures. As part of its initial Well Monitoring Plan, PennEast commits to conduct
        pre- and post-construction monitoring for water quality and yield for private and public
        wells within 150 feet of the proposed construction workspace (500 feet in areas of karst
        terrain), with the well owner’s permission.144 However, the final EIS recommends
        additional information regarding DOI’s comments on PennEast’s initial Well Monitoring
        Plan, and landowner comments on the draft EIS. Therefore, as is discussed above, we
        require in Environmental Condition 23 that PennEast file a revised Well Monitoring Plan.
        The revised plan will provide responses to address the DOI’s comments on the draft plan;
        include an analysis and mitigation for radon, radium 226, and radium 228; and provide
        more information regarding the types of treatment systems used, including provisions for
        monitoring and maintenance of any treatment systems PennEast provides.

        126. Several commenters raised concerns regarding impacts to the Swan Creek Upper
        Reservoir, which is the primary source of drinking water for the City of Lambertville. As
        discussed in the final EIS, the Swan Creek Upper Reservoir is located approximately
        400 feet east of the proposed pipeline route, with the water supply intake structure
        located upstream of the pipeline. Due to the downstream location of the proposed
        pipeline crossing, water quality of the active reservoir will not be adversely affected.
        Blasting is not anticipated near the Swan Creek Reservoir; however, geotechnical
        evaluations are ongoing.145 Therefore, we require in Environmental Condition 25 that
        PennEast provide the results of investigations regarding any anticipated blasting near the
        Swan Creek Reservoir prior to construction.

              142
                    Id. at 4-42 – 4-43.
              143
                    See final EIS at 4-37.
              144
                    See final EIS at 4-38.
              145
                    See final EIS at 4-52.
20180119-3110 FERC PDF (Unofficial) 01/19/2018
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        127. In comments on the final EIS, the EPA recommends that PennEast consult with
        state drinking water authorities to ensure state-defined source water protection areas are
        not crossed by the project. PennEast and Commission staff consulted with federal, state
        and regional entities to identify source water protection areas to be crossed by the project.
        As noted above, PennEast has proposed several mitigation measures to prevent impacts
        to wellhead protection areas that staff determined will adequately address potential
        impacts. In addition, the final EIS responds to concerns about blasting impacts on an
        existing water transmission tunnel managed by the Bethlehem Authority. The pipeline
        will be installed substantially above the location of the tunnel, with about 480 feet of
        clearance at the point where it first crosses the tunnel, and about 75 feet of clearance at
        the second crossing. Environmental Condition 44 requires that PennEast file additional
        information on the crossing, including a site-specific crossing plan and details regarding
        potential blasting within 2,000 feet of the water tunnel, and documentation of working
        meetings with water authority to ensure its concerns are adequately addressed, prior to
        construction.

        128. Several commenters, including the USACE, PADEP, and the New Jersey
        Highlands Water Protection and Planning Council, commented on the final EIS and
        PennEast’s PADEP/USACE Joint Permit Application, stating that more surveys needed
        to be completed before the applications could be processed, and the true environmental
        impacts could be assessed. On April 25, 2017, the PADEP filed a letter concerning the
        same application. The PADEP and USACE state that the application was incomplete due
        to lack of survey access. On April 26 and 28, 2017, the NJDEP commented on the final
        EIS and PennEast’s freshwater wetlands individual permit application, stating that
        PennEast’s application was determined administratively deficient, and that until an
        application is determined by the NJDEP to be complete, it is not possible to issue the
        permit or to determine a proposed permit issuance date.

        129. As previously noted, we are aware that remaining field surveys need to be
        completed prior to construction. For areas where PennEast was unable to complete field
        surveys, remote-sensing resources were used to approximate the locations and boundaries
        of wetlands and waterbodies within the project area. Remote-sensing delineations were
        conducted using a combination of high-resolution aerial photographic imagery, National
        Wetland Inventory data, National Hydrography Dataset data, hydric soil data maintained
        by the Natural Resources Conservation Service, floodplain and flood elevations
        maintained by the Federal Emergency Management Agency, watershed data from the
        USGS, and field survey results on adjacent land parcels where access could be obtained.
        Once surveys are completed following issuance of this order, PennEast will submit any
        outstanding survey information to the USACE, PADEP, and NJDEP to enable the final
        processing of its permit applications. Further, we require in Environmental Condition 10
        that no construction will be allowed to commence until PennEast provides documentation
        that it has received all applicable authorizations required under federal law.
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        130. Sondra Wolferman filed comments on the final EIS regarding the potential impact
        to waterways and wetlands within Beltzville State park that could occur if inadvertent
        releases of HDD drilling muds were to occur. PennEast will be required to describe, in
        the site specific plan for Beltzville State Park and Reservoir, how an inadvertent release
        of drilling mud will be contained and cleaned up.146 In the unlikely event of any release
        of drilling muds, including any occurring in or near the Beltzville State Park, PennEast
        will implement the mitigation measures in its HDD Inadvertent Returns and Contingency
        Plan.147

        131. Based on the foregoing, and on PennEast’s proposed and the Commission’s
        required prevention and mitigation measures, we agree with the final EIS’s conclusion
        that the construction and operation of the PennEast project will not have adverse long-
        term impacts on waterbodies, including surface water and groundwater resources.

                               d.     Wetlands

        132. Construction of the project will temporarily impact approximately 36 acres of
        wetlands (20 acres in Pennsylvania and 16 acres in New Jersey) and permanently impact
        about 20 acres of wetlands (12 acres in Pennsylvania and 8 acres in New Jersey).
        Construction impacts include 17.3 acres of forested wetlands, 3.0 acres of scrub-shrub
        wetlands, 6.6 acres of emergent wetlands, 0.2 acre of vernal pools, and 8.8 acres of
        modified agricultural wetlands.148 With the exception of 0.01 acre of palustrine emergent
        wetland, no permanent fills or loss of wetlands will result from the construction or
        operation of the project.

        133. As described in the final EIS, construction activities at wetland crossings will be
        performed in accordance with applicable regulatory requirements, PennEast’s E&SCP,
        and FERC’s Plan and Procedures. PennEast is currently developing project-specific
        mitigation measures in consultation with the USACE and state agencies.

        134. PennEast will also conduct routine wetland monitoring of all wetlands affected by
        construction until revegetation is successful. Once wetland delineations are completed
        and available, we require in Environmental Condition 30 that PennEast file with the
        Commission its wetland delineation report as submitted to the USACE and applicable
        state agencies. As described above, the EIS utilized remote-sensing surveys to analyze
        wetlands for areas where access was denied. Completion of the wetland delineations will
        allow for a more precise determination of wetland boundaries in order for PennEast to

              146
                    See final EIS at 2-12.
              147
                    See final EIS at 4-14.
              148
                    See final EIS at 4-81 (table 4.4.2-1).
20180119-3110 FERC PDF (Unofficial) 01/19/2018
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        accurately apply wetland construction and restoration methods in the appropriate
        locations.

        135. In its comments on the final EIS, the EPA recommends that PennEast develop a
        compensatory mitigation plan for waterbodies and wetlands to include appropriate
        success criteria, compensation for exceptional value resources, and consideration of
        temporal loss. PennEast has agreed to provide offsite compensatory mitigation in
        accordance with agency-approved compensatory wetland mitigation plans. As mitigation
        design progresses, further coordination with USACE, PADEP, and the NJDEP Mitigation
        Unit will be required to incorporate site-specific design features and/or modifications, as
        applicable. Accordingly, we require in Environmental Condition 32 that PennEast file a
        final project-specific Wetland Restoration Plan developed in consultation with the
        USACE and applicable state agencies in Pennsylvania and New Jersey.

        136. With implementation of the acceptable avoidance and minimization measures, as
        well as the environmental conditions in Appendix A of this order, we agree with the final
        EIS’s conclusion that impacts on wetland resources, including exceptional value
        wetlands, will be appropriately mitigated and reduced to less than significant levels.149

                                e.     Vegetation, Forested Land, and Wildlife

        137. The project area currently supports a diverse array of wildlife species, including
        wildlife adapted to natural forested and open habitat types, as well as disturbed habitats
        such as residential, industrial, and agricultural areas. Forested areas will be the most
        common habitat type affected by the project (consisting of approximately 37 percent of
        the project’s impacts), followed by agricultural areas, residential/industrial/commercial
        areas, open lands, and open water habitats. The project will affect vegetation
        communities of special concern, including ephemeral/fluctuating natural pools,
        herbaceous vernal ponds, Leatherleaf – Cranberry bog shrubland, Pitch pine – rhodora –
        scrub oak woodland, and red spruce palustrine woodland. To avoid and minimize effects
        on interior forest habitat, PennEast routed the pipeline adjacent to existing rights-of-way
        when possible, with 44.5 miles of the pipeline collocated with existing right-of-ways.150
        The project will affect 220.6 acres of interior forest during construction and 63.6 acres
        during operation.151 Additionally, the project will have an indirect impact (through edge




               149
                     See final EIS at 5-7.
               150
                     See final EIS at 4-101.
               151
                     See final EIS at 4-90 (table 4.5.1-2).
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        effects, potentially resulting in avoidance of habitats or decreased habitat quality) on
        1,725 acres of interior forest.152

        138. In response to the final EIS, West Amwell Township discusses the Goat Hill
        Natural Heritage Priority site. West Amwell Township notes in its comments that
        PennEast has repeatedly and erroneously understated the impacts on the Goat Hill
        Natural Heritage Priority site, and misidentified its location. PennEast believed the
        priority site was strictly contained in the park near George Washington Road, but it has
        been demonstrated that in fact the Goat Hill Priority Site encompasses the entire hill (as
        West Amwell Township indicated in a map submitted to FERC showing the Priority Site
        Delineation, and where PennEast will be impacting it). The final EIS acknowledges the
        biological importance of Goat Hill and Gravel Hill,153 and the potential for the area to
        contain sensitive biological resources. As identified in the final EIS, and based on
        consultations with the NJDEP, the Goat Hill Priority Site may contain several vegetative
        communities of special concern and is known to support three state endangered plant
        species. Though state-required mitigation measures have not been determined for state
        listed plant species, the EIS identifies procedures that have been successfully
        implemented for rare plants by similar projects, including flagging/fencing the plant or
        population to facilitate avoidance during construction, minor alignment shifts to avoid
        larger populations, topsoil segregation, and relocation of individual plants and/or
        collection of seeds for cold storage/stockpiling and replanting at a later date. These
        measures also typically include monitoring to ensure that they are successful. PennEast
        will adhere to the recommendations and requirements of NJDEP-Division of Fish and
        Wildlife in order to avoid or minimize impacts on these species, including completing all
        necessary surveys for state species.154

        139. The Goat Hill Priority Site is located in the Sourland Mountain region. The final
        EIS evaluated route alternatives in the Sourland Mountain area and determined that the
        proposed route will have less environmental impacts than the alternative routes. In
        addition, the pipeline will be collocated with an existing utility line in this area, further
        minimizing impacts. In addressing visual impacts, the pipeline will cross Sourland
        Mountain region for about 0.75 mile to the east of Goat Hill Overlook. The pipeline will
        be separated from the overlook by about 0.75 mile of mature forest and therefore will
        have minimal visual impact in this area. Once surveys are completed, PennEast will file
        its survey findings and documentation of consultations/permits required and Commission



               152
                     See final EIS at 4-90 (table 4.5.1-2).
               153
                     See Appendix M of the final EIS at M-266.
               154
                     See final EIS at 4-139.
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        staff will review and verify that the new biological information does not alter the EIS
        conclusions.155

        140. In comments on the final EIS, the EPA recommends that PennEast develop a
        revegetation plan for nature preserves and parklands and that PennEast plant larger plant
        stocks (as opposed to seedlings). Areas temporarily disturbed during construction will be
        reseeded in accordance with our Plan and Procedures, as well as any recommendations
        made by the local soil conservation district or land managing agency/individual. In
        accordance with PennEast’s E&SCP, PennEast will implement and monitor revegetation
        efforts to ensure successful post-construction revegetation as outlined in our Plan and
        Procedures. The seed mixes used for reseeding will be selected based on consultation
        with local soil conservation districts, or appropriate land management agencies.
        Therefore, we find that recommending revegetation plans and additional measures
        regarding revegetation are not warranted.

        141. In comments on the final EIS, the NJDEP comments that the project is subject to
        the New Jersey No Net Loss Compensatory Reforestation Act (NNLRA) and
        recommends that the Commission require compensatory mitigation for impacts on
        forested areas. To mitigate impacts on forested areas, the final EIS states that PennEast
        will assess the purchase and permanent conservation of forested lands in key watersheds
        and reforest areas within the same municipality in which the impact occurs; or develop
        mitigation measures for restoring areas of temporary project impacts in New Jersey.
        Compensation will be determined based on final project acreage impacts and grid method
        assessment techniques consistent with the NNLRA requirements.156

        142. We received comments concerning construction impacts on forest disease, as well
        as concern with noxious weeds invading revegetation efforts. The final EIS addresses
        these issues and concludes that with implementation of the measures in the E&SCP and
        our Plan, the measures will minimize forest disease spread and deter noxious weeds from
        occurring/spreading. However, further mitigation measures are needed to address
        invasive species. Based on staff’s analysis of the proposed project route, invasive species
        were observed in areas that were surveyed along the pipeline. An Invasive Species
        Management Plan has yet to be developed by PennEast. Therefore, we support the
        recommendation in the final EIS and require in Environmental Condition 33 that, prior to
        construction, PennEast file complete results of its noxious weed surveys and a final
        Invasive Species Management Plan for review and approval that includes measures
        PennEast will implement during construction and operation to minimize invasive and
        noxious species from occurring on the right-of-way.


               155
                     See Appendix M of the final EIS at M-266.
               156
                     See final EIS at 4-91.
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        143. Impacts will be short-term in non-forested areas, and it is expected that these
        non-forested areas will, with implementation of PennEast’s E&SCP and the
        Commission’s Plans and Procedures, be successfully restored within three years
        following construction.157 However, all impacts on forested habitats will be considered
        long-term because of the time required to restore woody vegetation to preconstruction
        conditions (i.e., more than 30 years, and possibly hundreds of years for some forested
        areas).158

        144. Regarding wildlife, PennEast will implement restrictions on the timing and
        location of construction, based on the requirements of local and state wildlife agencies, in
        order to mitigate impacts on wildlife and their habitat. Further, PennEast will prepare a
        Migratory Bird Conservation Plan, and implement the U.S. Fish and Wildlife Service’s
        (FWS) recommended measures, to protect bald eagles and comply with the Migratory
        Bird Treaty Act. We require in Environmental Condition 34 that PennEast file a
        migratory Bird Conservation Plan developed in consultation with the FWS.

        145. Based on the analysis in the final EIS, and PennEast’s proposed and the
        Commission’s required mitigation measures, we have determined that the project will not
        significantly impact vegetation, forested land or wildlife.

                                f.     Threatened, Endangered, and Other Special Status
                                       Species

        146. Based on input from the FWS, the final EIS identified eight federally-listed
        species that potentially occur in the project area: the Indiana bat, northern long-eared bat,
        bog turtle, dwarf wedge mussel, rusty patched bumble bee, northeastern bulrush, Atlantic
        sturgeon, and Shortnose sturgeon.159 The final EIS concludes that the project may affect
        and is likely to adversely affect the northern long-eared bat, Indiana bat, bog turtle, and
        northeastern bulrush, while it may affect but is not likely to adversely affect the dwarf
        wedge mussel.160 The final EIS found that the Atlantic sturgeon and the Shortnose
        sturgeon, while found downstream of the project, do not occur in the project area and will
        not be affected. The final EIS concludes that the project may affect and is likely to
        adversely affect the rusty patched bumble bee; however, based on information made
        available by the FWS since issuance of the final EIS,161 Commission staff has changed

               157
                     See final EIS at 4-89.
               158
                     See final EIS at 4-89.
               159
                     Final EIS at 4-109 (table 4.6-1).
               160
                     Id.
               161
                 Notes from April 24, 2017 teleconference between FWS, Pennsylvania Field
        (continued ...)
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        the determination for this species, finding that the project would not affect the rusty
        patched bumble bee. Complete surveys of all potentially suitable habitat within the
        project area have yet to be completed, due to lack of access granted by affected
        landowners. In accordance with section 7 of the Endangered Species Act, Commission
        staff prepared a Biological Assessment to support formal consultation with the FWS for
        the northern long-eared bat, Indiana bat, bog turtle, and northeastern bulrush. The
        Biological Assessment was submitted to the FWS on July 14, 2017.

        147. On November 29, 2017, the FWS provided its biological opinion (BO) for the
        project, along with its recommended conservation measures. The FWS has determined
        that the project is not likely to adversely affect the dwarf wedge mussel, Indiana bat, and
        the northeastern bulrush. In addition, the FWS stated that the project, as proposed, is not
        likely to jeopardize the continued existence of the bog turtle or northern long-eared bat.
        Accordingly, after receiving the FWS’ BO, we are not including the final EIS’s
        Environmental Conditions 33, 34, and 36 through 41 (which are obviated by the BO) in
        this order, and are adding to this order a new Environmental Condition 36, which requires
        that PennEast adopt the recommended measures in FWS’ BO into its project-specific
        implementation plan. These include implementing reasonable and prudent measures,
        adopting terms and conditions for the bog turtle; avoidance measures for bulrush; and
        adopting monitoring and reporting requirements; consulting with the FWS regarding
        conservation recommendations for the bog turtle and the northern long-eared bat; and
        providing FWS with all remaining survey results for FWS comment. With
        implementation of these measures we conclude our consultation with the FWS under
        section 7 of the Endangered Species Act for the bog turtle, Indiana bat, northern long-
        eared bat, and northeastern bulrush.

        148. Based on input from state wildlife management agencies, the EIS identified
        24 state listed species that could potentially occur in the project area.162 PennEast has
        stated that it will adhere to the recommendations and requirements of the respective state
        agencies with jurisdiction over state listed species and state species of concern (including
        the Pennsylvania Game Commission, Pennsylvania Fish and Boat Commission,
        Pennsylvania Department of Conservation and Natural Resources (PADCNR), and
        NJDEP-Division of Fish and Wildlife) in order to avoid or minimize impacts on these
        species, including completing all necessary surveys for state species. PennEast has
        indicated that ongoing permit review by Pennsylvania and New Jersey wildlife agencies
        may result in the identification of additional avoidance, minimization, or mitigation
        measures that will be attached as permit conditions from respective state agencies with


        Office, and PennEast, as provided to Commission staff by the FWS via email on May 22,
        2017.
               162
                     Table 4.6-2 in the final EIS features a complete listing of all state listed species.
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        jurisdiction over state listed species and state species of concern. As recommended in the
        final EIS, we require in Environmental Condition 39 that prior to construction, PennEast
        file a comprehensive list of measures developed in consultation with applicable state
        wildlife agencies to avoid or mitigate impacts on state-listed species and state species of
        concern. Commission staff will review these measures prior to construction to verify
        consistency with the Commission’s order.

        149. Comments were received from several individuals regarding potential impacts on
        bird species, including bald eagles and peregrine falcons. The final EIS recommends that
        PennEast develop a Migratory Bird Conservation Plan and implement measures
        recommended by the FWS to protect bald eagles in order to comply with the Migratory
        Bird Treaty Act and Bald and Golden Eagle Protection Act. As a result, we require in
        Environmental Condition 34 that PennEast file a Migratory Bird Conservation Plan
        developed in consultation with the FWS. In addition, PennEast has committed to
        following the FWS’ recommendations for implementation of adaptive management
        practices to minimize impacts on migratory birds during construction and operation of the
        project, as well as adhering to a more restrictive window (September 11 to March 14) for
        vegetation maintenance activities.163

        150. After the close of the draft EIS comment period, comments were filed on behalf of
        Dr. Ned Heindel, Dr. Linda Heindel, and the Linda Heindel Living Trust concerning
        potentially occurring threatened and endangered species on their property, including
        species within vernal pools. As stated above, we acknowledge that not all surveys for
        threatened and endangered species have been completed due to lack of survey access. To
        address sensitive vernal pools that may be crossed, we require in Environmental
        Condition 31 that PennEast survey all areas mapped as being potential vernal pool habitat
        and identify if any vernal pool habitat will be affected by project construction and/or
        operation. Such survey shall be submitted for review. Based on current information, the
        final EIS identifies less than 0.3 acre of vernal pool habitat that will be impacted by
        construction, with about 0.1 acre permanently impacted during operation. Should
        additional vernal habitats be discovered in supplemental surveys, PennEast will
        implement a time of year restriction if vernal habitats cannot be avoided. This time of
        year restriction would be observed during the key breeding period (i.e., March through
        June) for obligate and facultative amphibian species. All disturbed areas would be
        restored to pre-construction conditions following pipeline installation. Based on the
        mitigation measures and completion of remaining surveys, the EIS concludes that
        impacts on vernal pools would be effectively minimized or mitigated.164



               163
                     See final EIS at 4-104 to 4-105.
               164
                     See final EIS at 5-7.
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        151. In comments on the final EIS, Sondra Wolferman states that the Habitat
        Mitigation Plan discussed in the final EIS is insufficient to protect the northern flying
        squirrel, a Pennsylvania-listed endangered species, and suggests additions to the Habitat
        Mitigation Plan for the species in Hickory Run State Park. In general, PennEast has
        stated that it will adhere to the recommendations and requirements of the respective state
        agencies with jurisdiction over state-listed species and state species of concern.
        Pennsylvania Game Commission requires a northern flying squirrel mitigation plan
        related to the species’ loss of habitat as a result of the project. PennEast has not yet
        developed this plan, but has committed to working with the state agencies to develop an
        adequate plan.165 We are confident that the Habitat Mitigation Plan developed with
        Pennsylvania Game Commission will be sufficient to protect the northern flying squirrel.

        152. In comments on the final EIS, NJDEP notes two discrepancies in tables 4.3.3-1
        and G-13 of the final EIS. NJDEP notes that channel catfish (Ictalurus punctatus) and
        northern pike (Esox luclus) are listed in table 4.3.3 - twice. Both species are
        representative fish species in waterbodies crossed by the project in Pennsylvania and
        New Jersey, therefore they are listed twice. NJDEP also notes that Atlantic sturgeon
        (Acipenser oxyrinchus) is noted as “Not Listed” for Federal Status in table G-13. The
        Federal Status of this species is correctly identified in table 4.6-1 of the final EIS. There
        are four distinct population segments (DPS) of the Atlantic sturgeon that are listed as
        endangered: the New York Bight DPS, the Chesapeake Bay DPS, the Carolina DPS, and
        the South Atlantic DPS; the Gulf of Maine DPS is listed as threatened. None of these
        DPS occur within the project area, but the New York Bight DPS could occur downstream
        of the project area.166 The final EIS concludes that there will be no effect on the Atlantic
        sturgeon, given that its known occurrence is at least 20 miles downstream of the
        Delaware River crossing, which will be avoided via HDD. We concur.

        153. Based on implementation of these measures and the environmental conditions in
        Appendix A of this order, we agree with the final EIS’s conclusion that impacts on
        special-status species will be adequately avoided or minimized.

                                g.     Land Use, Recreation, and Visual Resources

        154. Construction of the project will impact about 1,588 acres. About 61 percent of
        this acreage will be utilized for the pipeline facilities, including the construction right-of-
        way and additional temporary work space. The remaining acreage affected during
        construction will be associated with aboveground facilities (4 percent), pipe and
        contractor ware yards (25 percent), and access roads (9 percent). 167 During operation, the
               165
                     See final EIS at 4-127 to 4-128.
               166
                     See final EIS at (table 4.6-1).
               167
                     Due to rounding error, percentages do not add up to 100.
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        new permanent pipeline right-of-way, aboveground facilities, and permanent access roads
        will impact 788 acres.168 Land uses impacted by the project will include forest,
        agriculture, open land, residential, industrial/commercial, and some open water. About
        37 percent of the pipeline will be collocated with existing rights-of-way. We agree with
        the final EIS’s conclusion that, with adherence to PennEast’s proposed impact avoidance,
        minimization, and mitigation plans, and implementation of the environmental conditions
        in Appendix A of this order, the overall impacts on land use will be adequately
        minimized.

        155. Several comments were received regarding the use of public and private roads as
        access roads, including driveways and the historic “Stymiest Road.” The final EIS lists
        the access roads proposed for use for the project, whether their use is temporary or
        permanent, and considers these impacts. PennEast is committed to maintaining access
        for landowners to residences, driveways, fields, and other agricultural facilities during
        construction to the extent possible.169 PennEast continues to communicate at the state,
        county, local, and private level in its effort to minimize impacts on access roads, and
        discuss potential post-construction restoration, and PennEast has stated it would repair
        any damage to public or private roadways resulting from construction. All temporary
        access roads used for construction will be restored in accordance with the provisions in
        PennEast’s ECS&P, our Plan, and landowner agreements after construction. In addition,
        PennEast will determine current average daily transit and evaluate current conditions to
        finalize its Residential Access and Traffic Management Plan. To further ensure PennEast
        takes all appropriate mitigation measures to minimize impacts on traffic and landowner
        access, we require in Environmental Condition 40 that PennEast file a revised Residential
        Access and Traffic Management Plan which includes traffic counts, peak traffic volumes,
        and site-specific mitigations measures.

        156. West Amwell Township filed comments on the final EIS regarding the impact on
        septic systems, contending that the final EIS and PennEast erred in stating that no septic
        systems were located within 150 feet of the pipeline and that such systems may be
        adversely impacted during construction and operation of the project. Because pipeline
        construction could damage septic systems, including septic tanks, distribution piping, and
        drain fields, we have included a new condition to address potential septic system impacts.
        Environmental Condition 22 requires that PennEast identify septic systems within
        150 feet of any construction workspace and develop a plan that describes how PennEast
        will avoid impacts on septic systems where possible, as well as how PennEast will
        mitigate or restore impacted systems to applicable regulatory requirements.



              168
                    See final EIS at 4-140.
              169
                    See final EIS at 4-153.
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        157. William E. Markus filed comments regarding impacts on a structure on his
        property which could be damaged due to HDD operation and requests that PennEast
        re-route the project to the opposite side of the property. The final EIS points out that
        PennEast has responded to landowner concerns, and has evaluated, and incorporated,
        several pipeline variations based on landowner requests. We acknowledge that PennEast
        will continue to evaluate minor route changes. To ensure that Residential Construction
        Plans address landowner comments such as Mr. Markus’, we require in Environmental
        Condition 41 that PennEast file additional information for residences in close proximity
        to the project prior to construction.

        158. Several comments were received discussing potential impacts on protected lands,
        including conservancies and lands held in trust. In addition, the EPA recommends that
        additional measures be taken to monitor whether protected land impacted by new
        easements lose quality and value to conservancy patrons. Impacts on conservation
        easements are addressed fully in section 4.7.2 of the final EIS. There are no changes
        expected in the conservation status of public lands crossed by the project, including state
        game lands and state highways and maintenance areas. No changes are expected in the
        conservation status of private lands crossed by the project in Pennsylvania. New Jersey
        parcels crossed by the project that are subject to types of conservation or open space
        protective easements will generally retain their conservation and open space
        characteristics, except with respect to the limited circumstance of New Jersey State
        Agriculture Development Committee (SADC) easements, as described in section 4.7.4 of
        the final EIS.

        159. The SADC asserts that table G-17 from Appendix G of the final EIS is
        incomplete, as three New Jersey farms encumbered by farmland preservation
        development easements and impacted by the project are not included. This comment is
        noted. The description of impacts and mitigation for impacts on farmlands with
        preservation easements included in sections 4.7.4.2 and 4.7.4.4 of the final EIS apply to
        the three farms identified from SADC, even though they are not listed in table G-17 of
        the final EIS.

        160. The New Jersey Highlands Water Protection and Planning Council states that the
        final EIS does not adequately address the Highlands Region, nor the Highlands Regional
        Master Plan. The final EIS states that the New Jersey Highlands Water Protection and
        Planning Council will review the proposed project against the Highland Regional Master
        Plan and will be responsible for issuing a Consistency Determination in accordance with
        the Highlands Water Protection and Planning Act Rules.170 Additionally, PennEast has
        indicated that it will voluntarily prepare a Comprehensive Mitigation Plan to detail
        proposed efforts to avoid, minimize, and mitigate impacts on resources associated with


               170
                     N.J. Admin. Code §§ 7:15, 7:38-1.1 (2017).
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        the New Jersey Highlands Region.171 Based on PennEast’s voluntary commitment to
        prepare the Comprehensive Mitigation Plan, we find these concerns have been adequately
        addressed.

        161. In response to the USACE’s Draft Finding of No Significant Impacts, Sondra
        Wolferman asserts that it will be impossible to restore Beltzville State Park to its original
        condition after project construction. Ms. Wolferman argues that the project right-of-way
        will permanently and significantly alter the appearance of the trails within the park.
        However, we believe that any impacts to visual of park patrons will be minimal, since
        PennEast will keep a 300-foot recreational and aesthetic buffer around these areas and
        adhere to any vegetation management request from the PADCNR.172

        162. Several comments were filed regarding the potential for impacts on visual
        resources, particularly for recreational and conserved lands in New Jersey. PennEast
        prepared site-specific crossing plans for federal, state, and local lands that are used
        recreationally and the EIS concludes the mitigation measures proposed by PennEast,
        including site-specific safety measures, modified construction schedules, and the use of
        special construction techniques, adequately mitigate potential visual impacts resulting
        from the project.

        163. In general, the final EIS concludes that the effects of the project on recreational
        and special interest areas occurring outside of forestland will be temporary and limited to
        the period of active construction, which typically lasts several weeks or months in any
        one area.173 These effects will be minimized by implementing the measures in
        PennEast’s E&SCP, FERC’s Plan and Procedures, and other project-specific construction
        plans. In addition, we require in Appendix A of this order that PennEast continue to
        consult with the owners and managing agencies of recreation and special interest areas
        regarding the need for specific construction mitigation measures.174

                                h.     Socioeconomics

        164. Construction of the project will require approximately 2,400 workers, with a
        maximum of 600 people working on any one section at any one time. PennEast estimates
        that up to 40 percent of the workforce will consist of local hires; operation of the project
        will require 24 new permanent employees to operate the new pipeline and compressor

               171
                     See final EIS at 4-170 to 4-171.
               172
                     See final EIS at 4-164.
               173
                     See final EIS at 5-11.
               174
                     See Environmental Conditions 42 and 43 in Appendix A.
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        station. Temporary impacts on traffic during construction will result from the workforce
        commuting daily to the construction site; however, PennEast will explore site-specific
        mitigation measures in its revised Residential Access and Traffic Management Plan that
        it may implement to minimize impacts on local traffic.175 The project would cross one
        census block that could be considered a minority population, and one census block that
        could be considered low-income; however, construction and operation of the project is
        not expected to have high and adverse human health or environmental effects on any
        nearby communities or result in adverse and disproportionate human health or
        environmental effects to minority or low income communities.

        165. After the close of the draft EIS comment period, Phyllis Jacewicz filed comments
        regarding the potential increase in homeowner’s insurance due to proximity to the
        project. As noted in the final EIS, insurance advisors consulted on previous natural gas
        projects have indicated that natural gas pipelines do not impact the rates or eligibility for
        residential insurance applications. The final EIS finds that homeowner’s insurance rates
        would be unlikely to change due to construction and operation of the proposed project.176
        However, to address any potential insurance-related issues, we require in Environmental
        Condition 45 that PennEast file reports describing any documented complaints from a
        homeowner that the construction of a pipeline, or the existence of a pipeline right-of-way,
        directly impacted a homeowner’s insurance. Additionally, as is typical for similar
        projects, PennEast will maintain insurance coverage for the project from the start of the
        survey process through the lifetime of the project, with coverage that will apply to
        qualifying claims from third-parties, including landowners.177

        166. In comments on the final EIS, Kelly Kappler discusses potential impacts on local
        tourism. The final EIS finds that while the potential exists for the project to have
        localized effects on recreation resources, construction and operation of the project would
        not be expected to substantially impact the recreation and tourism sector in the affected
        counties.178 We concur. Emma Switzler comments on the final EIS that noise from
        construction will impact her son’s ability to teach tennis lessons. As discussed further
        below, any noise impacts from construction will be highly localized and temporary.

        167. In its comments on the final EIS, the EPA recommends that meaningful
        coordination and outreach be conducted with communities of concern, including
        Environmental Justice communities. Consistent with Executive Order 12898, all public

               175
                     See Environmental Condition 40 in Appendix A.
               176
                     See final EIS at 4-195.
               177
                     See final EIS at 4-195.
               178
                     See final EIS at 4-185.
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        documents, notices, and meetings were made readily available to the public during the
        Commission’s review of the project. The final EIS provides additional detail about
        coordination and outreach as well as an assessment of impacts on Environmental Justice
        communities. As noted above, the final EIS concludes that construction and operation of
        the project will not have high and adverse human health or environmental effects on any
        nearby communities or result in adverse and disproportionate human health or
        environmental effects to minority or low income communities.179

                                i.     Cultural Resources

        168. The final EIS identifies ten archaeological sites in Pennsylvania and three sites in
        New Jersey in the direct area of potential effect. Additionally, there are 110 aboveground
        historic resources identified in Pennsylvania and 41 in New Jersey. This is based on
        completed cultural resources identification surveys for 69 miles in Pennsylvania and
        15 miles in New Jersey, as well as desktop research.180 Although the Pennsylvania and
        New Jersey State Historic Preservation Offices (SHPOs) concurred with some of the final
        EIS recommendations, they did not agree with all of the recommendations by PennEast.
        Consultation is ongoing with the Pennsylvania and New Jersey SHPOs.

        169. Commission staff consulted, and PennEast conducted outreach, with 15 federally
        recognized tribes, as well as several other non-governmental organizations, local
        historical societies, museums, historic preservation heritage organizations, conservation
        districts, and other potential interested parties to provide them an opportunity to comment
        on the project.181 We have not received any responses to the letters sent to the federally
        recognized tribes.

        170. On January 24, 2017, after the close of the draft EIS comment period, John P.
        Hencheck filed comments regarding potential impacts on “The Road Along the Rocks,” a
        historic resource associated with the American Revolution. PennEast has a number of
        evaluation studies, reports, and potential treatment plans pending, including an
        architectural survey of The Road Along the Rocks.182

        171. In letters dated August 7 and August 9, 2017, the New Jersey SHPO commented
        on two historic architecture survey report addenda for Hunterdon and Mercer Counties,
        New Jersey. The New Jersey SHPO agreed that no additional studies were necessary for

               179
                     See final EIS at 4-197 to 4-202.
               180
                     See final EIS at 5-14.
               181
                     See final EIS at 4-210 to 4-211.
               182
                     See final EIS at 4-226 (table 4.9.2-7).
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        ten of the properties investigated. Further, they stated that the John Moore Farmhouse
        and Angel Farmstead are considered eligible for listing on the National Register of
        Historic Places. However, five properties (Kappus Farm, Cedarknoll Farm, Flemington
        Branch of the Belvidere-Delaware Railroad Historic District, Rock Road/Rocktown
        Road/Road Along the Rocks/Bungtown Road, and 1465 NJ Route 179- Olde York Road)
        would require additional information from PennEast for the New Jersey SHPO to provide
        comments. Additionally, the New Jersey SHPO noted that the Hopewell Township
        Historic Preservation Commission should be provided an opportunity to review and
        comment on cultural resources reports for the Hopewell Township within Mercer County.
        Environmental Condition 47 requires PennEast to file the results of the New Jersey
        SHPO’s assessment of these properties, and any related site avoidance or mitigation
        plans. We find this adequate to address the concerns raised.

        172. On May 25, 2017, in comments on the final EIS, the NJDEP submitted a letter
        noting that 68 percent of the project alignment in New Jersey still needed to be surveyed
        for historic properties. As identified in the final EIS, compliance with Section 106 of the
        NHPA is not complete due to pending surveys, evaluation of certain archaeological sites
        and historic architecture, as well as avoidance and potential treatment plans for the
        project, both in New Jersey and Pennsylvania. These activities are specifically identified
        in tables 4.9.2-2, 4.9.2-4, 4.9.2-5 and 4.9.2-7 of the final EIS. In addition, Environmental
        Conditions 46 through 50 identify certain assessments, mitigation plans, and
        consultations that PennEast must complete and file with the Secretary prior to
        construction to address stakeholder comments and address mitigation requirements
        identified by Commission staff. To ensure that our compliance with section 106 of the
        National Historic Preservation Act,183 we require in Environmental Condition 51 that
        PennEast not begin construction until any additional required surveys are completed, and
        survey reports and treatment plans (if necessary) have been reviewed by consulted
        parties, including the appropriate SHPO, and all appropriate documentation is filed with
        the Secretary. Commission staff will review all filings to ensure PennEast completes all
        pending activities identified in the final EIS, and required by Environmental Conditions
        46 through 51. Fulfillment of these conditions will enable the Commission to complete
        section 106 consultation, thereby, along with the foregoing discussion, addressing all
        concerns on this subject.

                               j.     Air Quality Impacts

        173. General Conformity Determinations stem from section 176(c) of the Clean Air
        Act,184 which requires a federal agency to demonstrate that a proposed action conforms to
        the applicable State Implementation Plan, a state’s plan to attain the National Ambient

               183
                     54 U.S.C.A. §§ 300101 et seq. (West 2016).
               184
                     42 U.S.C. § 7506(c) (2012).
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        Air Quality Standards (NAAQS) for nonattainment pollutants. A General Conformity
        Determination is required when the federal agency determines that an action will generate
        emissions exceeding conformity threshold levels of pollutants in the nonattainment area,
        in order to assess whether the federal action will indeed conform to the State
        Implementation Plan. Because portions of the project will be located in five different
        counties with a nonattainment or maintenance designation for at least one pollutant,
        Commission staff reviewed the criteria pollutant emissions expected to be generated
        during construction of the project and compared them to the General Conformity
        thresholds in section 93.153(b)(1) of the EPA’s regulations.185

        174. Based on PennEast’s May 2016 revised construction emission estimates, the final
        EIS determines that project construction emissions will not exceed any General
        Conformity applicability thresholds.186 Because no thresholds are triggered, a General
        Conformity Determination is not required to be made. To ensure this finding is based on
        the most up-to-date information, however, Environmental Condition 52 requires
        PennEast to file revised construction emissions estimates if changes to the project
        construction schedule and/or design occur that will materially impact the construction
        nitrogen oxide (NOx) emissions generated in a calendar year. If the revised emissions
        exceed a General Conformity applicability threshold, then the Commission will need to
        prepare a draft General Conformity Determination at that time and prior to any
        construction.

        175. In comments on the final EIS, the NJDEP expresses concerns over the potential air
        emissions associated with the USACE permits, and whether these emissions were
        included in the General Conformity analysis, as well as the emission totals presented in
        tables 4.10.1-4 and 4.10.1-5 of the final EIS. The project will not include any additional
        facilities related to the USACE permit. Therefore, no additional emissions are
        anticipated.

        176. NJDEP states that its Bureau of Evaluation and Planning previously submitted a
        comment on the draft EIS asking whether air emissions associated with transporting pipe
        within the nonattainment/maintenance areas to the staging areas/worksites were included
        in tables 4.10.1-4 and 4.10.1-5, and states that Appendix M does not appear to respond to
        the Bureau of Evaluation and Planning’s comment. These pipe transport emissions
        are accounted for by the “Float, Lowboy, Tractor Trucks” line items provided in
        Appendix L-2 of Resource Report 9 in PennEast’s application, and are accounted for in
        Tables 4.10.1-4 and 4.10.1-5 in the final EIS.



              185
                    40 C.F.R. § 93.153(b)(1) (2017).
              186
                    See final EIS at 4-240.
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        177. NJDEP states that the Bureau of Evaluation and Planning previously submitted a
        comment on the draft EIS inquiring as to whether the construction equipment list
        included HDD, and if tables 4.10.1-4 and 4.10.1-5 included emissions associated with
        HDD activity, and states that Appendix M does not appear to respond to the Bureau of
        Evaluation and Planning’s comment. NJDEP further comments that the 150 horsepower
        rating for the category of “Skidder, Trencher, Boring” equipment (as provided by
        PennEast in Appendix L-2 of Resource Report 9), may not be the appropriate horsepower
        rating for HDD equipment used on a “major” crossing such as the Delaware River.
        NJDEP requests that the horsepower rating used for the HDD equipment be re-evaluated
        and that the HDD air emissions for the Delaware River crossing, as well as the emission
        totals used in the General Conformity analysis and in tables 4.10.1-4 and 4.10.1-5, be
        revised accordingly.

        178. The comments from the Bureau of Evaluation and Planning that were included in
        NJDEP’s September 12, 2016 letter on the draft EIS do not refer to HDD activity.
        Regardless, the construction equipment list, as provided by PennEast in Appendix L-2 of
        Resource Report 9, includes HDD equipment, and that tables 4.10.1-4 and 4.10.1-5 of the
        final EIS appropriately include air emissions associated with HDD activity. However, we
        acknowledge the possibility that the HDD crossing of the Delaware River may require
        HDD equipment with higher horsepower ratings than those used to estimate construction
        emissions in the EIS. Incorporating the increased emissions associated with using
        appropriately-sized HDD equipment for the Delaware River crossing into the General
        Conformity analysis will not change the conclusion, as the increase in emissions will be
        insignificant relative to overall total construction emissions. As demonstrated below,
        even by updating the General Conformity analysis to include updated HDD equipment,
        construction emissions in Bucks County, Pennsylvania, and Hunterdon County, New
        Jersey, will remain well below the applicability thresholds that would trigger the
        requirement for a General Conformity determination.

        179. In order to approximate the potential increase in construction emissions due to
        higher-rated HDD equipment for the Delaware River crossing, we scaled up emissions
        provided for the “Skidder, Trencher, Boring” equipment in Pipeline Spread 3 (which
        encompasses the Delaware River crossing), and applied the net emission increase to the
        values presented in tables 4.10.1-4 and 4.10.1-5 of the final EIS. The provided “Skidder,
        Trencher, Boring” emissions were based on a horsepower rating of 150, and we scaled
        these up by a factor of 3.33 to approximate a horsepower rating of 500 hp, which was the
        rating used by another similar pipeline project, as suggested by NJDEP. Tables 4.10.1-4
        and 4.10.1.-5 of the final EIS are reproduced below with the emission increase applied,
        and show that the increased emissions will remain well below the General Conformity
        applicability thresholds.

                                                       TABLE 4.10.1-4


                                         General Conformity Applicability Evaluation
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                                                                                                 General Conformity         General
                                                         County
                                       Location                                                  “de minimis” rates       Conformity
                  Project                            Nonattainment           Construction
                                       (County,                                                   for Nonattainment      Determination
                 Component                           or Maintenance          Emissions c/
                                        State)                                                      or Maintenance        Required?
                                                     Pollutants a/ b/
                                                                                                        Areas              (Yes/No)
               23.1 miles of
                                     Luzerne, PA            None                    N/A                  N/A                     No
               pipeline
               28.2 miles of
               pipeline,                                                    28.2 tons NOx        100 tpy NOx
                                     Carbon, PA     O3                                                                           No
               Compressor                                                   3.4 tons VOC         50 tpy VOC
               Station
                                                                            82.5 tons PM2.5      100 tpy PM2.5
               24.8 miles of                        PM2.5                   0.1 tpy SO2          100 tpy SO2
                                     Northampton,
               pipeline, 2.1                                                                                                     No
                                     PA             O3                      21.7 tons NOx        100 tpy NOx
               miles of lateral
                                                                            2.7 tons VOC         50 tpy VOC
                                                                            4.6 tons PM2.5       100 tpy PM2.5
               1.7 miles of                         PM2.5                   0.0 tpy SO2          100 tpy SO2
                                     Bucks, PA                                                                                   No
               pipeline                             O3                      1.9 tons NOx         100 tpy NOx
                                                                            0.3 tons VOC         50 tpy VOC
               26.6 miles of                                                20.7 tons NOx        100 tpy NOx
                                     Hunterdon,
               pipeline, 1.9                        O3                                                                           No
                                     NJ                                     2.6 tons VOC         50 tpy VOC
               miles of lateral
                                                                            25.0 tons PM2.5      100 tpy PM2.5
               9.6 miles of                                                 0.0 tpy SO2          100 tpy SO2
                                     Mercer, NJ     O3                                                                           No
               pipeline                                                     6.7 tons NOx         100 tpy NOx
                                                                            0.8 tons VOC         50 tpy VOC


               Notes:
                   a/ Marginal or Moderate Nonattainment for the 2008 8-hour Ozone standard
                   b/ Maintenance Area for the 1997 and/or 2006 PM2.5 Standards
                   c/ Emissions of all major construction activities would occur during one calendar year



                                                                        TABLE 4.10.1-5


                                          Project Facility and Pipeline Construction Activity Combined Emissions
                                                                                                    Pollutants (Tons)
                               Project Total Emissions
                                                                    NOX        CO         VOC     PM10    PM2.5   SO2      CO2e       HAPs
                      Pipeline Diesel Non-Road Equipment
                                                                    95.9      25.1        9.9     6.3      6.1    0.27    30,227      0.72
                                   Totals
                               Diesel and Gas On-Road                   5     22.8        2.53    0.29     0.17   0.03    1,690       0.18
                         Construction Activity Fugitive Dust            -       -          -     1,927     287      -        -         -
                                  Roadway Fugitive Dust                 -       -          -      132       21      -        -         -
                      Comp. Station Construction Sub-Total              6       5          1       28         4   0.02    1,712       0.05
                                          Total                     107        53         13     2,093     318    0.32    33,629      0.95




        180. NJDEP comments on the final EIS that the emission factors and load factors used
        for on-road and off-road construction equipment appear to represent the use of (lower-
        emitting) Tier 3 and Tier 4 engines. NJDEP further notes that while the final EIS
        includes a recommendation that Tier 3 and Tier 4 engines be used when possible, it
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        doesn’t require this, leaving open the possibility that lower-tier, higher-emitting engines
        could be used. NJDEP therefore requests that the emission factors, load factors, and
        estimated construction emissions be re-evaluated to better reflect the actual equipment
        that may be used, and that the General Conformity analysis and tables 4.10.1-4 and
        4.10.1-5 be revised accordingly.

        181. Environmental Condition 53 requires that PennEast implement several measures
        for on-road vehicles and non-road diesel construction equipment, including a requirement
        that “all non-road diesel construction equipment greater than 100 horsepower used for
        more than ten days shall have engines that meet the EPA Tier 4 non-road emission
        standards or the best available control technology that is technologically feasible and
        verified by EPA or the California Air Resources Board as a diesel emission control
        strategy.” This requirement will ensure that PennEast will use low-emission-rated
        engines for all construction equipment that will be utilized long enough to potentially
        impact the construction emissions of the project.

        182. Air quality impacts associated with construction of the project will include
        emissions from fossil-fueled construction equipment and fugitive dust. Local emissions
        may be elevated, and nearby residents may notice elevated levels of fugitive dust, but
        these will not be significant or permanent. We agree with the final EIS’s conclusion that,
        with implementation of PennEast’s proposed mitigation measures and the environmental
        conditions in Appendix A of this order, air quality impacts from construction activities,
        such as elevated dust levels near construction areas, will be temporary or short term, and
        will not result in a significant impact on local and regional air quality.187

        183. PennEast conducted modeling of emissions from the proposed Kidder Compressor
        Station to analyze potential impacts associated with the operation of the proposed new
        sources, including monitored background. Based on this modeling analysis, the final EIS
        concludes the air quality impacts from the sources at the proposed Kidder Compressor
        Station are estimated to be below the NAAQS for all pollutants.188

        184. We agree with the final EIS’s conclusion that, with implementation of the
        environmental conditions in Appendix A of this order, operational emissions will not
        have a significant impact on local or regional air quality.189




               187
                     See final EIS at 4-245.
               188
                     See final EIS at 4-253.
               189
                     See final EIS at 5-15.
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                               k.      Noise

        185. Pipeline construction noise impacts would be temporary as construction activities
        move along the corridor. During construction, PennEast will employ a combination of
        noise mitigation methods, including equipment noise controls, temporary noise barriers,
        and administrative measures.190

        186. The primary source of operational noise for the project will be the Kidder
        Compressor Station. Ambient sound measurements were collected in the vicinity of the
        Kidder Compressor Station location, as well as the vicinity of other operational sound
        sources like the mainline valves and meter stations, to establish existing conditions.
        PennEast will be required to meet the most restrictive noise level limits established by
        jurisdictional agencies. The Commission limit of 55 decibel A-weighted (dBA) day-
        night sound level (Ldn), which is equivalent to a continuous noise level of 49 dBA, would
        be the governing limit for those areas where a more restrictive county, local, or station-
        specific regulation does not exist.191 We require in Environmental Condition 55 that
        PennEast conduct a noise survey of the Kidder Compressor Station area, while the station
        is operating at full load, to ensure that operational noise is at or below this limit. With the
        implementation of PennEast’s proposed mitigation measures and Environmental
        Condition 55, we conclude that the compressor station’s operational noise will not result
        in significant noise impacts on residents and the surrounding areas.

        187. Notable sources of intermittent noise include blasting and drilling. PennEast’s
        Blasting Plan includes mitigation measures related to blasting noise,192 and
        Environmental Condition 54 requires that PennEast provide an HDD Noise Mitigation
        Plan, which must be approved prior to construction. On April 14, 2017, Emma A.
        Switzler commented on the final EIS regarding noise mitigation for HDD activities.
        However, with the implementation of PennEast’s proposed mitigation measures and
        Environmental Condition 54, we conclude that construction of the project will not result
        in significant noise impacts on residents and the surrounding areas.

                               l.      Safety

        188. As described in the final EIS, PennEast will design, construct, operate, and
        maintain the proposed facilities to meet or exceed the U.S. Department of
        Transportation’s (DOT) Minimum Federal Safety Standards set forth in Title 49 Code of
        Federal Regulations Part 192. DOT’s Pipeline and Hazardous Materials Safety

               190
                     See final EIS at ES-15.
               191
                     See final EIS at ES-15.
               192
                     See final EIS at 4-294.
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        Administration’s (PHMSA) Office of Pipeline Safety administers the national regulatory
        program to ensure the safe transportation of natural gas and other hazardous materials by
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        pipeline.193 In general, the Commission appropriately relies on PHMSA to monitor the
        pipeline’s construction and operation of natural gas facilities to determine compliance
        with its design and safety standards.194

        189. Based on available data, we agree with the final EIS’s conclusions that PennEast’s
        implementation of the above-mentioned DOT minimum Federal safety standards, and
        implementation of the required Environmental Conditions, will minimize the risk of
        public harm related to the construction and operation of the project.

        190. Numerous commenters question the safety of the project, and take particular issue
        with the pipeline route’s proximity to existing natural gas pipelines and quarries. In
        addition, several commenters, including the Medical Society of New Jersey, express
        concerns regarding potential effects of a pipeline rupture and natural gas ignition (the
        area of potential effect is sometimes referred to as the potential impact radius). While a
        pipeline rupture does not necessarily ignite in every instance, the DOT’s regulations
        define high consequence areas where a gas pipeline accident could do considerable harm
        to people and property, and require an integrity management program to minimize the
        potential for an accident in these areas. PennEast routed the pipeline to minimize risks to
        local residents and vulnerable locations/populations (e.g., hospitals, prisons, schools,
        daycare facilities, retirement or assisted-living facilities) and will follow federal safety
        standards for pipeline class locations based on population density. PennEast has also
        followed federal safety standards with respect to pipeline spacing.195 The DOT
        regulations are designed to ensure adequate safety measures are implemented to protect
        all populations. In addition, PennEast will take specific measures to reduce the risk of
        methane and volatile organic compound leaks.196



               193
                   Final EIS at 4-30; see also 49 U.S.C. § 60112 (authorizing the Department of
        Transportation to determine that a pipeline facility is hazardous and order the operator of
        the facility to take corrective action).
               194
                  See EarthReports, Inc. v. FERC, 828 F.3d 949, 959 (D.C. Cir. 2016) (the
        “opinions and standards of – and [LNG operator’s] future coordination with – federal and
        local authorities” were a reasonable component of the Commission’s public safety
        evaluation); City of Pittsburgh v. Fed. Power Comm’n, 237 F.2d 741, 754 (D.C.
        Cir.1956) (explaining that the Commission “would . . . do well to respect the views of . . .
        other agencies as to those problems” for which those other agencies “are more directly
        responsible and more competent than this Commission”).
               195
                     See 40 C.F.R. § 192.325 (2017).
               196
                     See final EIS at 4-250.
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        191. In its comments on the final EIS, the EPA recommends that the pipeline design
        be upgraded to Class 2 pipe specifications where there are significant liquefaction or
        landslide hazards identified in Phases 2 and 3 of the Geohazard Risk Evaluation.
        Because PennEast is conducting further field investigation and analysis regarding
        geohazard risks, we require in Environmental Condition 15 that PennEast provide the
        results of the outstanding Phase 2 and 3 portions of the Geohazard Risk Evaluation
        Report, as well as any specific measures and locations where specialized pipeline design
        will be implemented to mitigate the potential for soil stability or landslide hazards for
        staff review and approval prior to construction.

        192. Several commenters expressed concern that the final EIS does not sufficiently
        address safety concerns regarding routing the pipeline near active quarries, specifically
        two quarries in Plains Township, New Jersey, which would be located within 0.23 mile
        of the project area. As noted in the final EIS, PennEast routed the project to avoid any
        future expansion of the quarries, and determined that the average radius of quarry
        blasting vibrations would have no effect on the pipeline.197 PennEast conducted similar
        site-specific outreach and blast monitoring for other quarry locations, and we are satisfied
        that PennEast has routed the project to adequately minimize the risk from blasting and
        other quarry operations.

                                m.     Upstream and Downstream Impacts

        193. Several commenters, including U.S. Senators Cory Booker and Robert Menendez,
        and Oil Change International,198 raise concerns regarding the potential for increased
        upstream natural gas production associated with construction and operation of the project.
        Commenters request that the final EIS include the greenhouse gas (GHG) emissions
        associated with the upstream production and downstream combustion of the natural gas
        to be transported by the project. Oil Change International also submitted a white paper,
        which states that the final EIS fails to address upstream emissions, and takes issues with
        the final EIS’ analysis of downstream emissions and methane leakage.

        194. CEQ’s regulations direct federal agencies to examine the direct, indirect, and
        cumulative impacts of proposed actions.199 Indirect impacts are defined as those “which

               197
                     See final EIS at 4-4 – 4-5.
               198
                  Oil Change International filed comments on behalf of the Sierra Club,
        Earthworks, Appalachian Voices, Chesapeake Climate Action, 350.org, Bold Alliance,
        Environmental Action, Blue Ridge Environmental Defense League, Protect Our Water,
        Heritage and Rights (Virginia & West Virginia), Friends of Water, Mountain Lakes
        Preservation Alliance, Sierra Club West Virginia, and Sierra Club Virginia.
               199
                     40 C.F.R. § 1508.25(c) (2017).
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        are caused by the action and are later in time or farther removed in distance, but are still
        reasonably foreseeable.”200 Further, indirect effects “may include growth inducing
        effects and other effects related to induced changes in the pattern of land use, population
        density or growth rate, and related effects on air and water and other natural systems,
        including ecosystems.”201 Accordingly, to determine whether an impact should be
        studied as an indirect impact, the Commission must determine whether it: (1) is caused
        by the proposed action; and (2) is reasonably foreseeable.

        195. With respect to causation, “NEPA requires ‘a reasonably close causal relationship’
        between the environmental effect and the alleged cause”202 in order “to make an agency
        responsible for a particular effect under NEPA.”203 As the Supreme Court explained, “a
        ‘but for’ causal relationship is insufficient [to establish cause for purposes of NEPA].”204
        Thus, “[s]ome effects that are ‘caused by’ a change in the physical environment in the
        sense of ‘but for’ causation,” will not fall within NEPA if the causal chain is too
        attenuated.205 Further, the Court has stated that “where an agency has no ability to
        prevent a certain effect due to its limited statutory authority over the relevant actions, the
        agency cannot be considered a legally relevant ‘cause’ of the effect.”206



               200
                     Id. § 1508.8(b).
               201
                     Id. § 1508.8(b).
               202
                 U.S. Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, at 767 (2004) (quoting
        Metropolitan Edison Co. v. People Against Nuclear Energy, 460 U.S. 766, at 774
        (1983)).
               203
                     Id.
               204
                  Id.; see also Freeport LNG, 827 F.3d at 46 (FERC need not examine everything
        that could conceivably be a but-for cause of the project at issue); Sierra Club v. FERC,
        827 F.3d 59, 68 (D.C. Cir. 2016) (Sabine Pass LNG) (FERC order authorizing
        construction of liquefied natural gas export facilities is not the legally relevant cause of
        increased production of natural gas).
               205
                     Metro. Edison Co., 460 U.S. at 774.
               206
                    Pub. Citizen, 541 U.S. at 770; see also Freeport LNG, 827 F.3d at 49
        (affirming that Public Citizen is explicit that FERC, in authorizing liquefied natural gas
        facilities, need not consider effects, including induced production, that could only occur
        after intervening action by the DOE); Sabine Pass LNG, 827 F.3d at 68 (same);
        EarthReports, Inc. v. FERC, 828 F.3d 949, 955-56 (D.C. Cir. 2016) (same).
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        196. An effect is “reasonably foreseeable” if it is “sufficiently likely to occur that a
        person of ordinary prudence would take it into account in reaching a decision.”207 NEPA
        requires “reasonable forecasting,” but an agency is not required “to engage in speculative
        analysis” or “to do the impractical, if not enough information is available to permit
        meaningful consideration.”208

                                   i.     Impacts from Upstream Natural Gas Production

        197. As we have previously concluded in natural gas infrastructure proceedings, the
        environmental effects resulting from natural gas production are generally neither caused
        by a proposed pipeline (or other natural gas infrastructure) project nor are they
        reasonably foreseeable consequences of our approval of an infrastructure project, as
        contemplated by CEQ regulations.209 A causal relationship sufficient to warrant
        Commission analysis of the non-pipeline activity as an indirect impact would only exist if
        the proposed pipeline would transport new production from a specified production area
        and that production would not occur in the absence of the proposed pipeline (i.e., there
        will be no other way to move the gas).210 To date, the Commission has not been
        presented with a proposed pipeline project that the record shows will cause the
        predictable development of gas reserves. In fact, the opposite causal relationship is more
        likely, i.e., once production begins in an area, shippers or end users will support the
        development of a pipeline to move the produced gas.



              207
                 Sierra Club v. Marsh, 976 F.2d 763, 767 (1st Cir. 1992). See also City of
        Shoreacres v. Waterworth, 420 F.3d 440, 453 (5th Cir. 2005).
              208
                  N. Plains Res. Council, Inc. v. Surface Transp. Bd., 668 F.3d 1067, 1078 (9th
        Cir. 2011).
              209
                  See, e.g., Central New York Oil and Gas Co., LLC, 137 FERC ¶ 61,121, at
        PP 81-101 (2011), order on reh'g, 138 FERC ¶ 61,104, at PP 33-49 (2012), petition for
        review dismissed sub nom. Coal. for Responsible Growth v. FERC, 485 Fed. Appx. 472,
        474-75 (2012) (unpublished opinion).
              210
                   See cf. Sylvester v. U.S. Army Corps of Engineers, 884 F.2d 394, 400 (9th Cir.
        1989) (upholding the environmental review of a golf course that excluded the impacts of
        an adjoining resort complex project). See also Morongo Band of Mission Indians v. FAA,
        161 F.3d 569, 580 (9th Cir. 1998) (concluding that increased air traffic resulting from
        airport plan was not an indirect, “growth-inducing” impact); City of Carmel-by-the-Sea v.
        U.S. Dep’t of Transportation., 123 F.3d 1142, 1162 (9th Cir. 1997) (acknowledging that
        existing development led to planned freeway, rather than the reverse, notwithstanding the
        project’s potential to induce additional development).
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        198. Even accepting, arguendo, that a specific pipeline project will cause natural gas
        production, we have found that the potential environmental impacts resulting from such
        production are not reasonably foreseeable. As we have explained, the Commission
        generally does not have sufficient information to determine the origin of the gas that will
        be transported on a pipeline. It is the states, rather than the Commission, that have
        jurisdiction over the production of natural gas and thus would be most likely to have the
        information necessary to reasonably foresee future production. There are no forecasts in
        the record which would enable the Commission to meaningfully predict production-
        related impacts, many of which are highly localized. Thus, even if the Commission
        knows the general source area of gas likely to be transported on a given pipeline, a
        meaningful analysis of production impacts would require more detailed information
        regarding the number, location, and timing of wells, roads, gathering lines, and other
        appurtenant facilities, as well as details about production methods, which can vary per
        producer and depending on the applicable regulations in the various states. Accordingly,
        the impacts of natural gas production are not reasonably foreseeable because they are “so
        nebulous” that we “cannot forecast [their] likely effects” in the context of an
        environmental analysis of the impacts related to a proposed interstate natural gas
        pipeline.211

        199. Nonetheless, we note that the Department of Energy has examined the potential
        environmental issues associated with unconventional natural gas production in order to
        provide the public with a more complete understanding of the potential impacts.212 The
        Department of Energy has concluded that such production, when conforming to

               211
                   Habitat Education Center v. U.S. Forest Service, 609 F.3d 897, 902 (7th Cir.
        2010) (finding that impacts that cannot be described with enough specificity to make
        their consideration meaningful need not be included in the environmental analysis). See
        also Sierra Club v. U.S. Department of Energy, D.C. Cir. No. 15-1489, slip op. at 16-18
        (August 15, 2017) (accepting DOE’s “reasoned explanation” as to why the indirect
        effects pertaining to induced natural gas production were not reasonably foreseeable
        where DOE noted the difficulty of predicting both the incremental quantity of natural gas
        that might be produced and where at the local level such production might occur, and that
        an economic model estimating localized impacts would be far too speculative to be
        useful).
               212
                   U.S. Department of Energy, Addendum to Environmental Review Documents
        Concerning Exports of Natural Gas from the United States, 79 Fed. Reg. 48,132
        (Aug. 15, 2014) (DOE Addendum),
        http://energy.gov/sites/prod/files/2014/08/f18/Addendum.pdf. The U.S. Court of Appeals
        for the D.C. Circuit upheld DOE’s reliance on the DOE Addendum to supplement its
        environmental review of the proposed export of LNG. See Sierra Club v. U.S.
        Department of Energy, D.C. Cir. No. 15-1489, slip op. at 12, 19.
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        regulatory requirements, implementing best management practices, and administering
        pollution prevention concepts, may have temporary, minor impacts to water resources.213
        With respect to air quality, the Department of Energy found that natural gas development
        leads to both short- and long-term increases in local and regional air emissions.214 It also
        found that such emissions may contribute to climate change.215 But to the extent that
        natural gas production replaces the use of other carbon-based energy sources, the
        U.S. Department of Energy found that there may be a net positive impact in terms of
        climate change.216 We find the information provided in the Department of Energy (DOE)
        Addendum to be helpful to generally inform the public regarding potential impacts of
        increased natural gas production and therefore consider the DOE Addendum to be
        supplemental material to our environmental review.

        200. The record in this proceeding does not demonstrate the requisite reasonably close
        causal relationship between the impacts of future natural gas production and the proposed
        project that would necessitate further analysis. The fact that natural gas production and
        transportation facilities are all components of the general supply chain required to bring
        domestic natural gas to market is not in dispute. This does not mean, however, that
        approving this particular project will induce further shale gas production. Rather, as we
        have explained in other proceedings, a number of factors, such as domestic natural gas
        prices and production costs drive new drilling.217 If this project were not constructed, it is
        reasonable to assume that any new production spurred by such factors would reach

               213
                   DOE Addendum at 19; see also Oil and Gas; Hydraulic Fracturing on Federal
        and Indian Lands, 80 Fed. Reg. 16,128, 16,130 (Mar. 26, 2015) (Bureau of Land
        Management promulgated regulations for hydraulic fracturing on federal and Indian lands
        to “provide significant benefits to all Americans by avoiding potential damages to water
        quality, the environment, and public health”).
               214
                     DOE Addendum at 32.
               215
                     Id. at 44.
               216
                     Id.
               217
                  Rockies Express Pipeline LLC, 150 FERC ¶ 61,161, at P 39 (2015). See also
        Sierra Club v. Clinton, 746 F. Supp. 2d 1025, 1045 (D. Minn. 2010) (holding that the
        U.S. Department of State, in its environmental analysis for an oil pipeline permit,
        properly decided not to assess the transboundary impacts associated with oil production
        because, among other things, oil production is driven by oil prices, concerns surrounding
        the global supply of oil, market potential, and cost of production); Florida Wildlife Fed’n
        v. Goldschmidt, 506 F. Supp. 350, 375 (S.D. Fla. 1981) (ruling that an agency properly
        considered indirect impacts when market demand, not a highway, would induce
        development).
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        intended markets through alternate pipelines or other modes of transportation.218 Again,
        any such production would take place pursuant to the regulatory authority of state and
        local governments.219

        201. Moreover, even if a causal relationship between our action here and additional
        production were presumed, the scope of the impacts from any induced production is not
        reasonably foreseeable. That there may be incentives for producers to locate wells close
        to pipeline infrastructure does not change the fact that the location, scale, and timing of
        any additional wells are matters of speculation, particularly regarding their relationship to
        the proposed project. As we have previously explained, a broad analysis, based on
        generalized assumptions rather than reasonably specific information, will not provide
        meaningful assistance to the Commission in its decision making, e.g., evaluating
        potential alternatives to a specific proposal.220

        202. As noted above, upstream impacts of the type described by commenters do not
        meet the definition of indirect impact, therefore, they are not mandated as part of the
        Commission’s NEPA review. However, to provide the public additional information,
        Commission staff, after reviewing publicly-available DOE and EPA methodologies, has
        prepared the following analyses regarding the potential impacts associated with
        unconventional natural gas production. As summarized below, these analyses provide
        only an estimate of the upper limit of upstream effects using general Marcellus shale well
        information.


               218
                     Rockies Express Pipeline LLC, 150 FERC ¶ 61,161 at P 39.
               219
                   We acknowledge that NEPA may obligate an agency to evaluate the
        environmental impacts of non-jurisdictional activities. That states, however, not the
        Commission, have jurisdiction over natural gas production and associated development
        (including siting and permitting) supports the conclusion that information about the scale,
        timing, and location of such development and potential environmental impacts are even
        more speculative. See Sierra Club v. U.S. Department of Energy, D.C. Cir. No. 15-1489,
        slip op. at 18 (DOE’s obligation under NEPA to “drill down into increasingly speculative
        projections about regional environmental impacts [of induced natural gas production] is
        also limited by the fact that it lacks any authority to control the locale or amount of
        export-induced gas production, much less any of its harmful effects”) (citing Pub.
        Citizen, 541 U.S. at 768).
               220
                   Rockies Express Pipeline LLC, 150 FERC ¶ 61,161 at P 40. See also Sierra
        Club v. U.S. Department of Energy, No. 15-1489, slip op. at 14 (D.C. Cir. August 15,
        2017) (holding that the dividing line between what is reasonable forecasting and
        speculation is the “usefulness of any new potential information to the decision-making
        process”).
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        203. The final EIS discusses the direct GHG impacts from construction and operation
        of the project and other projects that were considered in the Cumulative Impacts analysis,
        climate change impacts in the region, the regulatory structure for GHGs under the Clean
        Air Act. The final EIS quantified GHG emissions from PennEast Project construction
        (33,276 metric tons, CO2 equivalent [metric tons per year (tpy) CO2e221) and operation
        (259,717 metric tpy CO2e).222 The final EIS does not include upstream emissions.
        However, presuming all gas transported represents new, incremental production (as
        opposed, e.g., to production which would otherwise have been transported on another
        pipeline), Commission staff has conservatively estimated the upstream GHG emissions as
        910,000 metric tpy CO2e from extraction, 1.7 million metric tpy CO2e from processing,
        and 400,000 metric tpy CO2e from the non-project pipelines (both upstream and
        downstream transportation pipelines). Again, this is an upper-bound estimate that
        involves a significant amount of uncertainty.

        204. With respect to upstream impacts, Commission staff estimated the impacts
        associated with the production wells that would be required to provide 100 percent of the
        volume of natural gas to be transported by the PennEast Project, on an annual basis for
        GHGs. Commission staff also estimated land-use and water use within the Marcellus
        shale basin for the life of the project. Commission staff estimated that approximately
        1.48 acres of land is required for each natural gas well pad and associated infrastructure
        (i.e., road infrastructure, water impoundments, and pipelines). Based upon the project
        volume and the expected estimated ultimate recovery of Marcellus shale wells, between
        2,400 and 4,600 wells would be required to provide the gas over the estimated 30-year
        lifespan of the project. Therefore, on a normalized basis, these assumptions result in an
        estimate of an upper limit of an additional 120 to 230 acres per year that may be impacted
        by well drilling. This estimate of impacts is subject to a significant amount of
        uncertainty.

        205. Commission staff also estimates the amount of water required for the drilling and
        development of these wells over the 30 year period using the same assumptions. Recent
        estimates show that an average Marcellus shale well requires between 3.88 and
        5.69 million gallons of water for drilling and well development, depending on whether
        the producer uses a recycling process in the well development. Therefore, the production
        of wells required to supply the project could require the normalized consumptive use of
        as much as 300 to 880 million gallons of water per year over the 30-year life of the
        project.

        206. Oil Change International’s white paper provided an a estimated figure of
        24 million metric tons of CO2e per year from upstream natural gas production, using the

              221
                    See final EIS at 4-245 (Table 4.10.1-5).
              222
                    See final EIS at 4-250 (Table 4.10.1-9).
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        Intergovernmental Panel on Climate Change’s 20-year global warming potential (GWP)
        for methane, rather than the 100-year GWP that is used by EPA in its official GHG
        inventories, as well as in its mandatory GHG emission reporting program.223 The 20-year
        GWP for methane is 86, meaning that each unit of CH4 mass emissions is considered to
        have the same warming potential as 86 units of CO2 mass emissions. By comparison, the
        conventional 100-year GWP for methane is 25. EPA supported the 100-year time period
        over the 20-year time period in its summary of comments and responses in the final
        rulemaking, 2013 Revisions to the Greenhouse Gas Reporting Rule and Final
        Confidentiality Determinations for New or Substantially Revised Data Elements.224
        Neither Sierra Club, nor Oil Change International present any reason why the 20-year
        GWP is preferable to the 100-GWP. Further, the final EIS notes that fugitive methane
        leaks along the PennEast pipeline would only increase the potential annual GHG
        emissions by approximately 0.05 percent.225

                                      ii.     Impacts from Downstream Combustion of Project-
                                              Transported Natural Gas

        207. As noted above, Oil Change International takes issue with final EIS’ analysis of
        impacts from the downstream combustion of natural gas transported by the project. The
        court in Sabal Trail held that where it is known that the natural gas transported by a
        project will be used for end-use combustion, the Commission should “estimate[] the
        amount of power-plant carbon emissions that the pipelines will make possible.”226 The
              223
                    40 C.F.R. § 98, et al. (2017).
              224
                    78 Fed. Reg. 71,904 (2013).
              225
                    See final EIS at 4-249.
              226
                  Sierra Club v. FERC, 867 F.3d 1357, 1371 (D.C. Cir. 2017) (Sabal Trail). The
        Commission’s environmental review of the PennEast Project is distinguishable from its
        environmental review of the project at issue in Sabal Trail. In Sabal Trail, the court
        determined that the Commission should have examined the GHG impacts of burning the
        natural gas to be delivered by that project. In this case, as discussed above, the
        Commission has estimated the GHG emissions associated with burning the gas to be
        transported by PennEast, consistent with the quantification that the Sabal Trail court
        required. The methodology used here is similar to that in a number of recent cases. See
        NEXUS Gas Transmission, LLC et al., 160 FERC ¶ 61,022 at PP 172-173 (NEXUS
        Project National Fuel Gas Supply Corp., 158 FERC ¶ 61,145, at PP 189-190 (Northern
        Access 2016 Project); Dominion Carolina Gas Transmission, LLC, 158 FERC ¶ 61,126,
        at P 81 (Transco to Charleston Project); Transcontinental Gas Pipe Line Co., LLC,
        158 FERC ¶ 61,125, at P 143 (Atlantic Sunrise Project); Tennessee Gas Pipeline Co.,
        158 FERC ¶ 61,110, at P 104 (Orion Project); and Rover Pipeline, LLC, 158 FERC
        ¶ 61,109, at P 274 (Rover Pipeline Project). Further, Sabal Trail and this case are
        (continued ...)
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        final EIS does precisely this.227 Thus, the Commission and the public were fully
        informed of the potential impacts from the project.

        208. The final EIS conservatively estimates that if all 1.1 million dekatherms per day of
        natural gas were transported to combustion end uses, downstream end-use would result in
        the emission of about 21.3 million metric tpy of CO2e. We note that this CO2e estimate
        represents an upper bound for the amount of end-use combustion that could result from
        the gas transported by this project. This is because some of the gas may displace fuels
        (i.e., fuel oil and coal) which could result in lower total CO2e emissions. It may also
        displace gas that otherwise would be transported via different means, resulting in no
        change in CO2e emissions or be used as a feedstock. This estimate also assumes the
        maximum capacity is transported 365 days per year, which is rarely the case because
        many projects are designed for peak use. As such, it is unlikely that this total amount of
        GHG emissions would occur, and emissions are likely to be significantly lower than the
        above estimate. In addition, these estimates are generic in nature because no specific end
        uses have been identified.

        209. In an effort to put these emissions in to context, we examined both the regional228
        and national emissions of GHGs. If only the regions identified potentially served by the
        Transco system and interstate interconnection are considered, the volume of GHG
        emissions by the PennEast Project will result in a 0.7-1 percent increase of GHG




        factually distinct, in that the record in Sabal Trail showed that the natural gas to be
        transported on the new project would be delivered to specific destinations – power plants
        in Florida – such that the court concluded that the burning of the gas in those plants was
        reasonably foreseeable and the impacts of that activity warranted environmental
        examination. In contrast, the gas to be transported by PennEast will be delivered on
        behalf of 12 separate shippers, consisting of LDCs, marketers, and an interstate pipeline,
        into the interstate natural pipeline grid, and will serve a variety of end-uses.
              227
                    See final EIS at 4-254.
              228
                   Staff looked at the Transco, Columbia, and Texas Eastern systems to identify
        the states those pipeline systems serve. The natural gas can move anywhere on these
        systems. Thus we used the combined inventory of (1) states served by Transco’s system,
        (2) states served by Transco and Columbia, and (3) states served by Transco and Texas
        Eastern (the Columbia system overlapped the Texas Eastern system). We compared the
        2014 inventory of these states served by the three systems in comparison to the
        downstream emissions to arrive at the potential increase in GHG emissions.
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        emissions from fossil fuel combustion in these states.229 From a national perspective,
        combustion of all the gas transported by the PennEast Project will result in a 0.4 percent
        increase of national GHG emissions. Based on the myriad of existing and potential
        future interconnections with other pipeline systems, it is impossible to define which states
        and which facilities may ultimately consume gas transported by the PennEast
        Project. From a practical sense, we know that as more states are considered, the
        percentage of increase contributed by the PennEast Project would decline. Therefore,
        speculating on the wider distribution does little to clarify the impact. In any case, the
        greatest possible contribution to GHG emissions at a regional level is 1 percent.

        210. The final EIS acknowledged that the emissions would increase the atmospheric
        concentration of GHGs, in combination with past and future emissions from all other
        sources, and contribute incrementally to climate change.230 However, as the final EIS
        explained, because the project’s incremental physical impacts on the environment caused
        by climate change cannot be determined, it also cannot be determined whether the
        project’s contribution to cumulative impacts on climate change would be significant.231

                                n.     Alternatives

        211. Based on comments and feedback from landowners, agencies and municipalities,
        PennEast incorporated 70 route variations into the proposed route to avoid or reduce
        effects on environmental or other resources, resolve engineering or constructability
        issues, or address stakeholder concerns.232 The total length of these 70 route variations is
        68.4 miles.233 Commission staff reviewed the route variations and agreed with
        PennEast’s conclusions regarding their incorporation into the proposed route.
        Alternatives considered, which are described in the final EIS, include the No Action
        alternative, system alternatives, major pipeline route alternatives, minor pipeline route
        variations, and aboveground facilities alternatives.



               229
                 The 22 states included in the GHG emissions analysis are: Alabama, Arkansas,
        Delaware, Florida, Georgia, Illinois, Indiana, Kentucky, Louisiana, Maryland,
        Mississippi, Missouri, New Jersey, New York, North Carolina, Ohio, Pennsylvania,
        South Carolina, Tennessee, Texas, Virginia, and West Virginia.
               230
                     See final EIS at 4-335.
               231
                     Id.
               232
                     See final EIS at 3-24 to 3-32.
               233
                     See final EIS at 3-26 to 3-31 (Table 3.3.2-1).
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        212. Several commenters suggested renewable energy sources be considered as an
        alternative to the proposed project. As noted in the final EIS, electric generation from
        renewable energy sources is a reasonable alternative for reviewing generating facilities
        powered by fossil fuels. It is the states, however, not this Commission, that regulate
        generating facilities. Authorizations related to how markets would meet demands for
        electricity are not part of the applications before the Commission. Because the proposed
        project’s purpose is to transport natural gas, and electric generation from renewable
        energy resources is not a natural gas transportation alternative, it was not considered in
        the EIS.234

        213. The final EIS evaluates five major route alternatives including three potential
        major route alternatives that would avoid the Sourland Mountain Region in New
        Jersey.235 After the close of the draft EIS comment period, several comments were filed
        regarding the viability of Sourland Mountain Alternative 1, which would cross into
        Bucks County, Pennsylvania. Several of these comments appear to assume the Sourland
        Mountain Alternative 1 was incorporated into the proposed pipeline route, and expressed
        concern that there was not an opportunity to comment on the alternative, because it was
        filed by PennEast after the close of the draft EIS comment period. We clarify here that
        the Sourland Mountain Alternative 1 is not part of the proposed route, as the final EIS did
        not determine that the Sourland Mountain Alternative 1 was preferable to the proposed
        route.

        214. The final EIS evaluates an alternate access road for the Kidder Compressor
        Station.236 On January 9, 2017, after the close of the draft EIS comment period,
        Sondra Wolferman filed comments regarding the alternate access road adjacent to the
        existing pipeline right-of-way for access to the Kidder Compressor Station. Specifically,
        Ms. Wolferman disagrees with the claim that the access road will be located on an
        existing road, and asserts that the I-80 alternative to the proposed access road is both
        reasonable and preferable. On November 28, 2016, PennEast filed a conceptual plan
        drawing and comparison of the proposed access road and the access road alternative in
        response to EPA's comments on the draft EIS. As discussed in the final EIS, the potential
        advantages of the access road alternative are collocation of most of the station’s new
        permanent access road with the new and existing pipeline rights-of-way, and reduced
        forest clearing. Although the access road alternative would reduce forest clearing by
        about 2.3 acres and collocate the clearing with the pipeline right-of-way, it would result
        in greater permanent impacts on forested wetland, and would have to cross approximately
        400 feet of waterbody, whereas the proposed access road would only cross approximately
               234
                     See final EIS at 3-3.
               235
                     See final EIS at 3-9 to 3-24.
               236
                     See final EIS at 3-16.
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        120 feet of waterbody. PennEast has sited the proposed access road to partially utilize
        (approximately 400 feet of the 2,000-foot-long road) an existing road (which would need
        improvements), and to avoid wetland areas. Therefore, the final EIS determined that the
        compressor station access road alternative would not be environmentally preferable to the
        proposed access road location. We agree.

        215. The final EIS evaluates an alternate site for the interconnection with Transco at a
        site approximately 2.1 miles southwest of the proposed interconnection.237 PennEast
        filed an analysis of this alternative on November 23, 2016. The primary advantage of
        this alternative is that it would eliminate about 2.5 miles of the proposed pipeline within
        Hopewell Township, New Jersey, where the pipeline would cross residential areas,
        farmlands, a portion of planned Hopewell Township affordable housing, and a parcel
        planned for a Hopewell Township emergency services facility. PennEast states that the
        Transco Interconnect Alternative would not meet the project’s delivery needs as
        negotiated with Transco. We believe that an alternative interconnect on the same
        Transco pipeline approximately 2.1 miles from the proposed interconnect may be similar
        enough to the proposed delivery point to allow the alternative to meet the project’s
        delivery needs, and warrants further analysis. Therefore, we require in Environmental
        Condition 13 that, prior to construction, PennEast provide additional details on the
        feasibility of incorporating the Transco Interconnect Alternative site.

                        4.      Environmental Analysis Conclusion

        216. We have reviewed the information and analysis contained in the final EIS
        regarding potential environmental effects of the project, as well as other information in
        the record. We are adopting the environmental recommendations in the final EIS, as
        modified herein, and are including them as environmental conditions in Appendix A to
        this order. Compliance with the environmental conditions appended to our orders is
        integral to ensuring that the environmental impacts of approved projects are consistent
        with those anticipated by our environmental analyses. Thus, Commission staff carefully
        reviews all information submitted. Only when satisfied that the applicant has complied
        with all applicable conditions will a notice to proceed with the activity to which the
        conditions are relevant be issued. We also note that the Commission has the authority to
        take whatever steps are necessary to ensure the protection of all environmental resources
        during construction and operation of the project, including authority to impose any
        additional measures deemed necessary to ensure continued compliance with the intent of
        the conditions of the order, as well as the avoidance or mitigation of unforeseen adverse
        environmental impacts resulting from project construction and operation.

        217. Based on our consideration of this information and the discussion above, we agree
        with the conclusions presented in the final EIS and find that the project, if constructed

               237
                     See final EIS at 3-37 to 3-39.
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        and operated as described in the final EIS, is an environmentally acceptable
        actions. Further, for the reasons discussed throughout the order, as stated above, we find
        that the project is in the public convenience and necessity.

        218. Any state or local permits issued with respect to the jurisdictional facilities
        authorized herein must be consistent with the conditions of this certificate. The
        Commission encourages cooperation between interstate pipelines and local authorities.
        However, this does not mean that state and local agencies, through application of state or
        local laws, may prohibit or unreasonably delay the construction or operation of facilities
        approved by this Commission.238

        219. The Commission on its own motion received and made part of the record in this
        proceeding all evidence, including the application, as supplemented, and exhibits thereto,
        and all comments submitted, and upon consideration of the record,

        The Commission orders:

               (A) A certificate of public convenience and necessity is issued to PennEast,
        authorizing it to construct and operate the proposed PennEast Project, as described and
        conditioned herein, and as more fully described in the application.

               (B)    The certificate authority issued in Ordering Paragraph (A) is conditioned
        on:
                      (1)    PennEast’s proposed project being constructed and made available
                      for service within two years of the date of this order pursuant to section
                      157.20(b) of the Commission’s regulations;

                      (2)    PennEast’s compliance with all applicable Commission regulations,
                      particularly the general terms and conditions set forth in Parts 154, 157, and
                      284, and paragraphs (a), (c), (e), and (f) of section 157.20 of the
                      Commission’s regulations; and

                      (3)  PennEast’s compliance with the environmental conditions listed in
                      Appendix A to this order.
               238
                  See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
        considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
        Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
        authority over the transportation of natural gas is preempted) and Dominion
        Transmission, Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and
        local regulation is preempted by the NGA to the extent it conflicts with federal
        regulation, or would delay the construction and operation of facilities approved by the
        Commission).
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               (C) A blanket construction certificate is issued to PennEast under Subpart F of
        Part 157 of the Commission’s regulations;

               (D) A blanket transportation certificate is issued to PennEast under Subpart G
        of Part 284 of the Commission’s regulations;

               (E)     PennEast shall file a written statement affirming that it has executed firm
        contracts for the capacity levels and terms of service represented in signed precedent
        agreements, prior to commencing construction.

                 (F)   PennEast’s initial rates and tariff are approved, as conditioned and modified
        above.

               (G) PennEast is required to file actual tariff records reflecting the initial rates
        and tariff language that comply with the requirements contained in the body of this order
        not less than 30 days and not more than 60 days prior to the commencement of interstate
        service consistent with Part 154 of the Commission’s regulations.

               (H) As described in the body of this order, PennEast must file any negotiated
        rate agreement or tariff record setting forth the essential terms of the agreement
        associated with the project at least 30 days, but not more than 60 days before the
        proposed effective date of such rates.

                (I)   No later than three months after the end of its first three years of actual
        operation, as discussed herein, PennEast must make a filing to justify its existing cost-
        based firm and interruptible recourse rates. PennEast’s cost and revenue study should be
        filed through the eTariff portal using a Type of Filing Code 580. In addition, PennEast is
        advised to include as part of the eFiling description, a reference to Docket No. CP15-558-
        000 and the cost and revenue study.

                 (J)   The requests for an evidentiary hearing are denied.

              (K) PennEast shall notify the Commission’s environmental staff by telephone
        or e-mail of any environmental noncompliance identified by other federal, state, or local
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        agencies on the same day that such agency notifies PennEast. PennEast shall file written
        confirmation of such notification with the Secretary of the Commission within 24 hours.

        By the Commission. Commissioners LaFleur and Chatterjee are concurring with
                           separate statements attached. Commissioner Glick is dissenting
                           with a separate statement attached.

        (SEAL)




                                                     Nathaniel J. Davis, Sr.,
                                                       Deputy Secretary.
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                                              Appendix A

                        Environmental Conditions for the PennEast Pipeline Project


        As recommended in the final environmental impact statement (EIS) and otherwise
        amended herein, this authorization includes the following conditions. The section
        number in parentheses at the end of a condition corresponds to the section number in
        which the measure and related resource impact analysis appears in the final EIS.

        1.    PennEast Pipeline, LLC (PennEast) shall follow the construction procedures and
              mitigation measures described in its application and supplements (including
              responses to staff data requests) and as identified in the EIS, unless modified by
              the order. PennEast must:
              a.      request any modification to these procedures, measures, or conditions in a
                      filing with the Secretary of the Commission (Secretary);
              b.      justify each modification relative to site-specific conditions;
              c.      explain how that modification provides an equal or greater level of
                      environmental protection than the original measure; and
                      receive approval in writing from the Director of the Office of Energy
                      Projects (OEP) before using that modification.
        2.    The Director of OEP, or the Director’s designee, has delegated authority to
              address any requests for approvals or authorizations necessary to carry out the
              conditions of the order, and take whatever steps are necessary to ensure the
              protection of all environmental resources during construction and operation of the
              project. This authority shall allow:
              a.     the modification of conditions of the order;
              b.     stop-work authority; and
              c.     the imposition of any additional measures deemed necessary to ensure
                     continued compliance with the intent of the conditions of the order as well
                     as the avoidance or mitigation of unforeseen adverse environmental impacts
                     resulting from project construction and operation.
       3.     Prior to any construction, PennEast shall file an affirmative statement with the
              Secretary, certified by a senior company official, that all company personnel,
              Environmental Inspectors (EIs), and contractor personnel will be informed of the
              EIs’ authority and have been or will be trained on the implementation of the
              environmental mitigation measures appropriate to their jobs before becoming
              involved with construction and restoration activities.
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        4.    The authorized facility locations shall be as shown in the EIS, as supplemented by
              filed alignment sheets. As soon as they are available, and before the start of
              construction, PennEast shall file with the Secretary any revised detailed survey
              alignment maps/sheets at a scale not smaller than 1:6,000 with station positions for
              all facilities approved by the order. All requests for modifications of
              environmental conditions of the order or site-specific clearances must be written
              and must reference locations designated on these alignment maps/sheets.
              PennEast’s exercise of eminent domain authority granted under the Natural Gas
              Act (NGA) section 7(h) in any condemnation proceedings related to the order
              must be consistent with these authorized facilities and locations. PennEast’s right
              of eminent domain granted under NGA section 7(h) does not authorize it to
              increase the size of its natural gas facilities to accommodate future needs or to
              acquire a right-of-way for a pipeline to transport a commodity other than natural
              gas.
        5.    PennEast shall file with the Secretary detailed alignment maps/sheets and aerial
              photographs at a scale not smaller than 1:6,000 identifying all route realignments
              or facility relocations, and staging areas, pipe storage-yards, new access roads, and
              other areas that will be used or disturbed and have not been previously identified
              in filings with the Secretary. Approval for each of these areas must be explicitly
              requested in writing. For each area, the request must include a description of the
              existing land use/cover type, documentation of landowner approval, whether any
              cultural resources or federally listed threatened or endangered species will be
              affected, and whether any other environmentally sensitive areas are within or
              abutting the area. All areas shall be clearly identified on the maps/sheets/aerial
              photographs. Each area must be approved in writing by the Director of the OEP
              before construction in or near that area.
              This requirement does not apply to extra workspace allowed by the FERC’s
              Upland Erosion Control, Revegetation, and Maintenance Plan (Plan) and/or
              minor field realignments per landowner needs and requirements that do not affect
              other landowners or sensitive environmental areas such as wetlands.
              Examples of alterations requiring approval include all route realignments and
              facility location changes resulting from:
              a.      implementation of cultural resources mitigation measures;
              b.      implementation of endangered, threatened, or special concern species
                      mitigation measures;
              c.      recommendations by state regulatory authorities; and
              d.      agreements with individual landowners that affect other landowners or
                      could affect sensitive environmental areas.
        6.    At least 60 days prior to beginning construction, PennEast shall file an
              Implementation Plan with the Secretary for review and written approval by the
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              Director of the OEP. PennEast must file revisions to the plan as schedules change.
              The plan shall identify:
              a.    how PennEast will implement the construction procedures and mitigation
                    measures described in its application and supplements (including responses
                    to staff data requests), identified in the EIS, and required by the order;
              b.    how PennEast will incorporate these requirements into the contract bid
                    documents, construction contracts (especially penalty clauses and
                    specifications), and construction drawings so that the mitigation required at
                    each site is clear to on-site construction and inspection personnel;
              c.    the number of EIs assigned per spread, and how the company will ensure
                    that sufficient personnel are available to implement the environmental
                    mitigation;
              d.    company personnel, including EIs and contractors, who will receive copies
                    of the appropriate material;
              e.    the location and dates of the environmental compliance training and
                    instructions PennEast will give to all personnel involved with construction
                    and restoration (initial and refresher training as the project progresses and
                    personnel change), with the opportunity for OEP staff to participate in the
                    training session(s);
              f.    the company personnel (if known) and specific portion of PennEast's
                    organization having responsibility for compliance;
              g.    the procedures (including use of contract penalties) PennEast will follow if
                    noncompliance occurs; and
              h.    for each discrete facility, a Gantt or PERT chart (or similar project
                    scheduling diagram), and dates for:
                    (i)      the completion of all required surveys and reports;
                    (ii)     the environmental compliance training of on-site personnel;
                    (iii)    the start of construction; and
                    (iv)     the start and completion of restoration.
        7.    PennEast shall employ a team of EIs (i.e., two or more or as may be established by
              the Director of the OEP) per construction spread. The EIs shall be:
              a.    responsible for monitoring and ensuring compliance with all mitigation
                    measures required by the order and other grants, permits, certificates, or
                    other authorizing documents;
              b.    responsible for evaluating the construction contractor's implementation of
                    the environmental mitigation measures required in the contract (see
                    condition 6 above) and any other authorizing document;
              c.    empowered to order correction of acts that violate the environmental
                    conditions of the order, and any other authorizing document;
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              d.     a full-time position, separate from all other activity inspectors;
              e.     responsible for documenting compliance with the environmental conditions
                     of the order, as well as any environmental conditions/permit requirements
                     imposed by other federal, state, or local agencies; and
              f.     responsible for maintaining status reports.
        8.    Beginning with the filing of its Implementation Plan, PennEast shall file
              updated status reports with the Secretary on a weekly basis until all construction
              and restoration activities are complete. On request, these status reports will also
              be provided to other federal and state agencies with permitting responsibilities.
              Status reports shall include:
              a.     an update on PennEast’s efforts to obtain the necessary federal
                     authorizations;
              b.     the construction status of each spread, work planned for the following
                     reporting period, and any schedule changes for stream crossings or work in
                     other environmentally sensitive areas;
              c.     a listing of all problems encountered and each instance of noncompliance
                     observed by the EIs during the reporting period (both for the conditions
                     imposed by the Commission and any environmental conditions/permit
                     requirements imposed by other federal, state, or local agencies);
              d.     a description of the corrective actions implemented in response to all
                     instances of noncompliance, and their cost;
              e.     the effectiveness of all corrective actions implemented;
              f.     a description of any landowner/resident complaints that may relate to
                     compliance with the requirements of the order, and the measures taken to
                     satisfy their concerns; and
              g.     copies of any correspondence received by PennEast from other federal,
                     state, or local permitting agencies concerning instances of noncompliance,
                     and PennEast’s response.
        9.    PennEast shall develop and implement an environmental complaint resolution
              procedure, and file such procedure with the Secretary, for review and approval by
              the Director of OEP. The procedure shall provide landowners with clear and
              simple directions for identifying and resolving their environmental mitigation
              problems/concerns during construction of the project and restoration of the right-
              of-way. Prior to construction, PennEast shall mail the complaint procedures to
              each landowner whose property will be crossed by the project.
              a.     In its letter to affected landowners, PennEast shall:
                     (i) provide a local contact that the landowners should call first with their
                             concerns; the letter should indicate how soon a landowner should
                             expect a response;
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                    (ii)    instruct the landowners that if they are not satisfied with the response,
                            they should call PennEast's Hotline; the letter should indicate how
                            soon to expect a response; and
                     (iii) instruct the landowners that if they are still not satisfied with the
                            response from PennEast's Hotline, they should contact the
                            Commission’s Landowner Helpline at 877-337-2237 or at
                            LandownerHelp@ferc.gov.
              b.     In addition, PennEast shall include in its weekly status report a copy of a
                     table that contains the following information for each problem/concern:
                     (i)     the identity of the caller and date of the call;
                     (ii)    the location by milepost and identification number from the
                             authorized alignment sheet(s) of the affected property;
                     (iii) a description of the problem/concern; and
                             an explanation of how and when the problem was resolved, will be
                             resolved, or why it has not been resolved.
        10.   PennEast must receive written authorization from the Director of OEP before
              commencing construction of any project facilities. To obtain such
              authorization, PennEast must file with the Secretary documentation that it has
              received all applicable authorizations required under federal law (or evidence of
              waiver thereof).
        11.   PennEast must receive written authorization from the Director of the OEP before
              placing the project into service. Such authorization will only be granted
              following a determination that rehabilitation and restoration of the right-of-way
              and other areas affected by the project are proceeding satisfactorily.
        12.   Within 30 days of placing the authorized facilities in service, PennEast shall
              file an affirmative statement with the Secretary, certified by a senior company
              official:
              a.     that the facilities have been constructed in compliance with all applicable
                     conditions, and that continuing activities will be consistent with all
                     applicable conditions; or
              b.     identifying which of the Certificate conditions PennEast has complied with
                     or will comply with. This statement shall also identify any areas affected
                     by the project where compliance measures were not properly implemented,
                     if not previously identified in filed status reports, and the reason for
                     noncompliance.

        13.   Prior to construction, PennEast shall file with the Secretary further details on the
              feasibility of incorporating the Transcontinental Gas Pipe Line (Transco)
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              Interconnect Alternative site along the CSX Railroad south of MP 111.8R2. At a
              minimum, PennEast shall include:
              a.    a map showing the extent of the CSX Railroad right-of-way and Jersey
                    Central Power & Light easement on the east side of the CSX right-of-way,
                    and the CSX Railroad right-of-way adjacent to the Merrill Lynch property;
              b.    a map showing apparently undeveloped parcels adjacent to the Transco
                    right-of-way where the Transco right-of-way crosses the CSX Railroad, and
                    that could potentially be used for the interconnect;
              c.    a map showing wetlands along both the east and west sides of the CSX
                    Railroad;
              d.    records of consultation with Transco regarding feasibility of using the
                    alternative site as the project delivery point to the Transco system; and
              e.    details that support if the interconnect with Transco at the alternative site
                    could meet delivery needs of the project shippers. (Section 3.4.4)
        14.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, an updated report that verifies explosive
              weights used by the Trap Rock Quarry operator, including concurrence from Trap
              Rock Quarry that the correct inputs were used. The results of this study shall be
              incorporated in the final design of the project. (Section 4.1.4)
        15.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, results of the outstanding Phase 2 and 3
              portions of the Geohazard Risk Evaluation Report and include the following in its
              pipeline design geotechnical report:
              a.    an evaluation of soil stability hazards along the pipeline route at the
                    proposed compressor station site and at locations with above-ground
                    facilities;
              b.    a final landslide hazard inventory;
              c.    any specific measures and locations where PennEast will implement
                    specialized pipeline design to mitigate for potential soil stability or
                    landslide hazards; and
              d.    a post-construction monitoring plan. (Section 4.1.5.2)

        16.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, a final Karst Mitigation Plan that
              incorporates the results of all outstanding geophysical and geotechnical field
              investigations in karst areas including stream crossings proposed with the
              horizontal directional drill (HDD) method. The final Karst Mitigation Plan shall
              incorporate all Best Management Practices developed based on the results of the
              final geophysical and geotechnical field investigations for construction through
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              karst areas, including any requirements of the Pennsylvania Department of
              Environmental Protection (PADEP), New Jersey Department of Environmental
              Protection (NJDEP), and local planning commissions. (Section 4.1.5.4)
        17.   Prior to construction, PennEast shall file with the Secretary the results of its
              ongoing geotechnical evaluation of working, not active, and abandoned mines near
              the proposed crossing of the Susquehanna River. The evaluation shall include
              final documentation of coordination with the Pennsylvania Bureau of Abandoned
              Mine Reclamation, along with the results of the geotechnical investigation to
              confirm the final design. PennEast shall include this documentation in the Phase 2
              and 3 portions of the Geohazard Risk Evaluation Report. (Section 4.1.5.4)
        18.   Prior to construction, PennEast shall file with the Secretary an updated table
              identifying all areas that may require blasting. This table shall incorporate the
              results of the on-going geophysical and geotechnical evaluations. (Section 4.1.6)
        19.   Prior to construction, PennEast shall file with the Secretary the final design plans
              of each HDD crossing, for review and written approval by the Director of OEP.
              The final design plans will include the results for all geotechnical borings
              conducted at each HDD crossing (lithology, standard penetration testing, and
              bedrock quality designation), and an HDD feasibility assessment based on the soil
              boring results, including an assessment of the risk for hydrofracturing and
              inadvertent returns of drilling fluids at each crossing. (Section 4.1.7)
        20.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, an unanticipated discovery plan for
              paleontological resources. The discovery plan shall be developed in coordination
              with the New Jersey Geological and Water Survey and Dr. William Gallagher.
              The significance of each resource shall be defined in the discovery plan. This plan
              shall describe proposed measures to avoid or minimize impacts on significant
              paleontological resources and include measures that will be implemented in the
              event of a discovery of paleontological resources during construction.
        21.   Prior to construction, PennEast shall complete all necessary surveys for water
              supply wells and groundwater seeps and springs, identify public and private water
              supply wells within the construction workspace, and file with the Secretary a
              revised list of water wells and groundwater seeps and springs within 150 feet of
              any construction workspace (500 feet in areas characterized by karst terrain).
              (Section 4.3.1.6)
        22.   Prior to construction, PennEast shall identify all septic systems within the
              construction work space, and file with the Secretary a list of septic systems within
              150 feet of any construction workspace. PennEast shall also file with the
              Secretary, a plan which describes how PennEast will avoid septic systems, as well
              as how PennEast will mitigate or restore septic systems to applicable regulatory
              requirements, for review and approval by the Director of OEP.
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        23.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, a final Well Monitoring Plan that
              incorporates:
              a.     PennEast’s response (Serfes 2016) to U.S. Department of the Interior (DOI)
                     comments;
              b.     an analysis for radon, radium 226, and radium 228 for wells in Hunterdon
                     and Mercer Counties, New Jersey, in accordance with the New Jersey
                     Private Well Testing Act; and
              c.     revisions to section 3.0 of the Well Monitoring Plan to include the types of
                     treatment that PennEast will provide to impacted groundwater users with
                     increased arsenic in groundwater concentrations above the NJDEP
                     established maximum contaminant level (MCL) of 5 microgram per liter
                     (µg/L), and the U.S. Environmental Protection Agency (EPA) MCL of 10
                     µg/L for wells in Pennsylvania, as well as other contaminants detected in
                     post-construction monitoring that are above their respective NJDEP or EPA
                     MCL, and provisions for monitoring and maintenance of any treatment
                     systems PennEast provides to impacted groundwater users. (Section
                     4.3.1.6)
        24.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, an updated Unanticipated Discovery of
              Contamination Plan for the project that identifies the management and field
              environmental professionals responsible for notification for contaminated sites.
              (Section 4.3.1.8)
        25.   Prior to construction, PennEast shall file with the Secretary the results of the
              investigations regarding any anticipated blasting near the Swan Creek Reservoir.
              (Section 4.3.2.2)
        26.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, site-specific crossing plans for all
              waterbodies with contaminated sediments (see table 4.3.2-5). The crossing
              method shall ensure that the potential suspension of sediments during construction
              shall be avoided or minimized to the greatest extent possible to limit any change to
              the bioavailability of any potential contaminants present. PennEast shall include
              documentation of consultation with pertinent agencies and identify any
              recommended minimization measures. (Section 4.3.2.2)
        27.   Prior to construction, PennEast shall file a revised Erosion and Sediment Control
              Plan (E&SCP) with the Secretary for review and written approval by the Director
              of the OEP. The revised E&SCP shall:
              a.     include a complete review of waterbody crossings with steep slopes; and
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              b.      address waterbody crossing methods for steep embankments and bank
                      stabilization issues, and include site-specific measures to address erosion,
                      sedimentation, and restoration of steep embankments. (Section 4.3.2.2)
        28.   Prior to construction, PennEast shall file with the Secretary its final hydrostatic
              test plan that identifies the final hydrostatic test water sources and discharge
              locations, and provides documentation that all necessary permits and approvals
              have been obtained for withdrawal from each source. PennEast’s plan shall
              provide the approximate water volume that will be withdrawn and discharged as
              both a project-total amount, and a daily amount, for each pipeline segment. Also,
              PennEast’s plan shall detail the decision process for determining when an
              alternative water source will be used during exceptional dry periods when low
              flow conditions may be encountered. (Section 4.3.2.4)
        29.   Prior to construction, PennEast shall file with the Secretary documentation after
              consulting with appropriate local, state, and federal agencies regarding any in-
              water timing restrictions which are more restrictive than those required by the
              Federal Energy Regulatory Commission (FERC) Wetland and Waterbody
              Construction and Mitigation Procedures (Procedures) (e.g., June 1 through
              September 30 to protect coldwater fisheries; and June 1 through November 30 to
              protect coolwater and warmwater fisheries). (Section 4.3.3.2)
        30.   Prior to construction, PennEast shall file with the Secretary a complete wetland
              delineation report for the entire project that includes all wetlands delineated in
              accordance with the U.S. Army Corps of Engineers (USACE) and the applicable
              state agency requirements. (Section 4.4.1)
        31.   Prior to construction, PennEast shall survey all areas mapped as being potential
              vernal pool habitat and identify if any vernal pool habitat will be affected by
              project construction and/or operation. The results of these surveys shall be filed
              with the Secretary and the appropriate state agency(ies) for review. (Section
              4.4.1.2)
        32.   Prior to construction, PennEast shall file with the Secretary a final project-
              specific Wetland Restoration Plan developed in consultation with the USACE and
              applicable state agencies in Pennsylvania and New Jersey, and file the plan with
              the Secretary. PennEast shall provide documentation of its consultation with the
              applicable federal and state agencies. (Section 4.4.2)
        33.   Prior to the construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, an Invasive Species Management Plan
              that includes documentation of consultation with the appropriate state agencies
              and measures it will implement during construction and operation to minimize the
              spread of invasive and noxious plant species. (Section 4.5.1.2)
        34.   Prior to construction, PennEast shall file with the Secretary, for review, a
              Migratory Bird Conservation Plan developed in consultation with the U.S. Fish
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              and Wildlife Service (FWS), along with documentation of consultation with the
              FWS. (Section 4.5.2.3)
        35.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of OEP, a list of locations by MP where the FWS
              will require tree clearing restrictions that are specifically applicable to federally
              listed bat species. (Section 4.6.1.1)
        36.   PennEast shall incorporate the conservation measures outlined in the FWS’
              November 29, 2017 Biological Opinion into its implementation plan, including:
              a.  implementing the reasonable and prudent measures;
              b.  abiding by the terms and conditions for the bog turtle;
              c.  adopting the monitoring and reporting requirements;
              d.  consulting with FWS on conservation recommendations for the bog turtle and
                  northern long-eared bat; and
              e. implementing specific requirements for bulrush as specified in the FWS BO.
              PennEast shall provide FERC and the FWS with all remaining survey results for
              their review and comment.
        37.   Prior to construction, if rare flora or fauna are discovered during PennEast’s
              planned surveys of groundwater seeps, PennEast shall develop a plan to avoid or
              minimize impacts on these species and consult with the FWS. PennEast shall file
              with the Secretary documentation of its consultation with the FWS, as well as any
              recommended measures. (Section 4.6.1.7)
        38.   Prior to construction, PennEast shall consult with the NJDEP regarding timing
              and activity restrictions that shall be applied within 300 feet of streams that
              contain wood turtles. PennEast shall file with the Secretary documentation of this
              consultation with the NJDEP, as well as any recommendations made by the
              NJDEP, and whether PennEast agrees to implement these recommendations. Such
              information regarding this consultation process shall be filed with the Secretary.
              (Section 4.6.2.7)
        39.   Prior to construction, PennEast shall file with the Secretary a comprehensive list
              of measures developed in consultation with applicable state wildlife agencies to
              avoid or mitigate impacts on state-listed species and state species of concern,
              which shall include but not be limited to measures applicable to the eastern small-
              footed bat, timber rattlesnake, eastern box turtle, northern cricket frog, long-tailed
              salamander, and Cobblestone tiger beetle, as well as all other State listed species
              that may be impacted. The NJDEP has recommended that PennEast use the
              State’s “Utility Right-of-Way No-Harm Best Management Practices” document
              while developing these project specific measures. (Section 4.6.2.28)
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        40.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, a revised Residential Access and
              Traffic Management Plan which includes the results of traffic counts and an
              inventory of roadway and intersection geometry, peak hour traffic volume
              collection, and related observations of traffic operations in the project area.
              PennEast shall also file any additional site-specific mitigation measures that it will
              implement to minimize impacts on local traffic in the project area, including any
              recommendations from state, county, and municipal agencies. (Section 4.7.1.6)
        41.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, the following information for
              residences in close proximity to the project:
              a.     the results of previously unsurveyed areas along the pipeline route and an
                     updated list of residences and commercial structures within 50 feet of the
                     construction right-of-way;
              b.     for all residences identified within 25 feet of a construction work area, a
                     final site-specific construction plan that includes all of the following: a
                     dimensioned site plan that clearly shows the location of the residence in
                     relation to the pipeline, the boundaries of all construction work areas, the
                     distance between the edge of construction work areas and the residence and
                     other permanent structures, and equipment travel lanes;
              c.     a description of how and when landowners will be notified of construction
                     activities;
              d.     documentation of landowner concurrence if a structure within the
                     construction work area will be relocated or purchased;
              e.     documentation of landowner concurrence if the construction work areas
                     will be within 10 feet of a residence; and
              f.     a description of how PennEast will provide temporary housing for residents
                     temporarily displaced during construction and whether PennEast will
                     compensate landowners for this cost. (Section 4.7.3.1)
        42.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, a final crossing plan for the
              Appalachian National Scenic Trail that includes: timing restrictions, closure
              schedules, and site-specific safety and mitigation measures including signage and
              barriers if needed; and documentation of consultation with the Pennsylvania Game
              Commission. (Section 4.7.5.1)
        43.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval of the Director of the OEP, plans regarding a gating or boulder
              access system for the pipeline right-of-way across Pennsylvania state lands,
              developed in consultation with the Pennsylvania Department of Conservation and
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              Natural Resources (PADCNR), to prevent unauthorized vehicle access while
              maintaining pedestrian access. (Section 4.7.5.2)
        44.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, additional information on the
              crossing of the Bethlehem Authority water transmission tunnel crossed at MPs
              51.0R2 and 51.6R2. Additional information shall include, but not be limited to:
              a.     a site-specific crossing plan for each crossing location, including
                     construction methods and measures used to avoid impacts on the water
                     transmission tunnel;
              b.     identification of any blasting that will be required within 2,000 feet of the
                     water tunnel;
              c.     a vibration monitoring program that will be implemented during
                     construction; and
              d.     documentation of working meetings with the Water Authority to ensure that
                     concerns related to construction and operation of the pipeline over the water
                     transmission tunnel are adequately addressed. (Section 4.7.5.3)
        45.   PennEast shall file with the Secretary reports describing any documented
              complaints from a homeowner that a homeowner’s insurance policy was
              cancelled, voided, or amended due directly to the grant of the pipeline right-of-
              way or installation of the pipeline and/or that the premium for the homeowner’s
              insurance increased materially and directly as a result of the grant of the pipeline
              right-of-way or installation of the pipeline. The reports shall also identify how
              PennEast has mitigated the impact. During construction, these reports shall be
              included in PennEast’s weekly status reports (see recommendation 8) and in
              quarterly reports for a 2-year period following in-service of the project. (Section
              4.8.8.2)
        46.   Prior to construction, PennEast shall assess potential project impacts on the
              Hickory Run Recreation Demonstration Area and file with the Secretary a
              recommendation of effects and the Pennsylvania State Historic Preservation
              Office’s (SHPO’s) comments. (Section 4.9.2.1)
        47.   Prior to construction, PennEast shall file with the Secretary all effects
              assessments related to historic districts crossed in New Jersey. PennEast shall also
              include site avoidance or mitigation plans and documentation of New Jersey
              SHPO’s comments. (Section 4.9.2.2)
        48.   Prior to construction, PennEast shall provide an assessment of potential project
              effects to Bridge #D-449 Worman Road along with comments of the New Jersey
              SHPO and any needed avoidance or treatment plans for the resource. (Section
              4.9.2.2)
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        49.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, a final vibration monitoring plan for
              historic properties within 150 feet of the construction workspace in consultation
              with the Pennsylvania and New Jersey SHPOs. (Section 4.9.5)
        50.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, a revised Blasting Plan that includes
              a review of potential effects on cultural resources, including caves, rock shelters,
              and aboveground historic structures, and how those impacts will be addressed.
              (Section 4.9.5)
        51.   PennEast shall not begin construction of facilities and/or use of all staging,
              storage, or temporary work areas, and new or to-be-improved access roads until:
              a.     PennEast files with the Secretary:
                     (i)    remaining cultural resources survey report(s);
                     (ii)   site or resource evaluation report(s) and avoidance/treatment plan(s),
                            as required;
                     (iii) the project's recommended effects to historic properties in
                            Pennsylvania and New Jersey; and
                     (iv) comments on the cultural resources reports and plans from the
                            Pennsylvania and New Jersey SHPOs, as appropriate;
              b.     the Advisory Council on Historic Preservation is afforded an opportunity to
                     comment if historic properties will be adversely affected; and
              c.     the FERC staff reviews and the Director of the OEP approves the cultural
                     resources reports and plans, and notifies PennEast in writing that treatment
                     plans/mitigation measures (including archaeological data recovery) may be
                     implemented and/or construction may proceed.
              All materials filed with the Commission containing location, character, and
              ownership information about cultural resources must have the cover and any
              relevant pages therein clearly labeled in bold lettering: “CUI\\PRIV - DO NOT
              RELEASE.” (Section 4.9.6)
        52.   If changes to the project construction schedule and/or design occur that will
              materially impact the amount of construction nitrogen oxide (NOx) emissions
              generated in a calendar year, PennEast shall file with the Secretary, prior to
              construction, revised construction emissions estimates prior to implementing the
              revised construction schedule and/or design modification demonstrating that the
              annual NOx emissions resulting from the revised construction schedule and/or
              design do not exceed general conformity applicability thresholds. In addition, if
              any such project revised construction schedule and/or design changes result in
              emissions that will exceed the general conformity applicability thresholds, then a
              draft general conformity determination will need to be prepared at that time, as
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              required under Section 93.157(d) of the Federal General Conformity regulation at
              40 Code of Federal Regulations Part 93, Subpart B. (Section 4.10.1.3)
        53.   PennEast shall implement the following measures for on-road vehicles and non-
              road diesel construction equipment used for construction of the project;
              a.     all on-road vehicles and non-road construction equipment operating at, or
                     visiting, a construction site shall comply with the three-minute idling limit,
                     and anti-idling signs shall be posted;
              b.     all non-road diesel construction equipment greater than 100 horsepower
                     used for more than ten days shall have engines that meet the EPA Tier 4
                     non-road emission standards or the best available control technology that is
                     technologically feasible and verified by EPA or the California Air
                     Resources Board as a diesel emission control strategy; and
              c.     all on-road diesel vehicles used to haul materials or traveling to and from a
                     construction site shall use designated truck routes that are designed to
                     minimize impacts on residential areas and sensitive receptors such as
                     hospitals, schools, daycare facilities, senior citizen housing, and
                     convalescent facilities. (Section 4.10.1.4)
        54.   Prior to construction, PennEast shall file with the Secretary, for review and
              written approval by the Director of the OEP, a HDD noise mitigation plan for each
              HDD location to reduce the projected noise level attributable to the proposed
              drilling operations at the 31 noise sensitive areas (NSAs) with the predicted noise
              levels above 55 decibel A-weighted (dBA) day-night sound level (Ldn). During
              drilling operations, PennEast shall implement the approved plan for all HDDs,
              monitor noise levels, include the noise monitoring results in its weekly status
              reports, and make all reasonable efforts to restrict the noise attributable to the
              drilling operations to no more than an Ldn of 55 dBA at the NSAs. (Section
              4.10.2.3)
        55.   PennEast shall file a noise survey with the Secretary no later than 60 days after
              placing the Kidder Compressor Station in service. If a full load noise condition
              survey is not possible, PennEast shall provide an interim survey at the maximum
              horsepower load and provide the full load survey within six months. If the noise
              attributable to the operation of the compressor station at full load exceeds an Ldn of
              55 dBA at any nearby NSA, PennEast shall file a report on what changes are
              needed and shall install the additional noise controls to meet the level within
              one year of the in-service date. PennEast shall confirm compliance with the
              above requirement by filing a second noise survey with the Secretary no later
              than 60 days after it installs the additional noise controls. (Section 4.10.2.3)
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        56.   Prior to construction, PennEast shall consult with the Federal Aviation
              Administration and the appropriate authority at the Trenton-Mercer Airport
              regarding any requirements or guidelines that need to be followed during
              construction or operation of the project. Records of these consultations, as well as
              any requirements made by the Federal Aviation Administration and the Trenton-
              Mercer Airport, shall be filed with the Secretary. (Section 4.11.3)
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                                UNITED STATES OF AMERICA
                         FEDERAL ENERGY REGULATORY COMMISSION



        PennEast Pipeline Company, LLC                               Docket No. CP15-558-000


                                         (Issued January 19, 2018)

        LaFLEUR, Commissioner concurring:

                In today’s order, the Commission authorizes the development of the PennEast
        Project, a natural gas pipeline from Luzerne County, Pennsylvania to Mercer County,
        New Jersey. I write separately to provide additional context regarding my conclusion
        that the PennEast Project is in the public interest.

                Deciding whether a project is in the public interest requires a careful balancing of
        the economic need for the project and its environmental impacts.1 In applying this
        balancing test to the extensive record developed in this case, I am persuaded that on
        balance, the PennEast Project is in the public interest. PennEast has demonstrated that
        approximately 90 percent of the project’s capacity has been subscribed, primarily by
        state-regulated local distribution companies and owners of natural gas-fired electric
        generation facilities. I believe that under existing Commission precedent, this evidence
        of precedent agreements supports the determination that the project is needed.

               I have carefully considered the environmental impacts of the PennEast Project,
        and agree with the order’s determination that, while the Project will result in some
        adverse environmental impacts, the environmental conditions imposed in today’s order
        will ensure that such impacts are reduced to acceptable levels. I do share the concerns of
        my colleagues that the record reflects a significant number of environmental surveys that
        are incomplete due to lack of access to landowner property. I am persuaded, however,
        that Commission staff has developed a sufficient record to adequately evaluate the
        environmental impacts resulting from the PennEast Project.2 Moreover, today’s order

               1
                 See Atlantic Coast Pipeline, LLC, 161 FERC ¶ 61,042 (2017) (LaFleur, Comm’r,
        dissenting); Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043 (2017) (LaFleur,
        Comm’r, dissenting).
               2
                 The order explains that the Commission relied upon “PennEast’s application and
        supplements, as well as information developed through Commission staff’s data requests,
        field investigations, the scoping process, literature research, alternative analyses, and
        (continued ...)
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        imposes a number of environmental conditions which are intended to specifically allow
        the Commission and Commission staff to carefully monitor PennEast’s ongoing
        compliance obligations, particularly related to the completion of those surveys, and any
        necessary avoidance, minimization, and mitigation measures that may be needed.

               I strongly support Chairman McIntyre’s announcement that the Commission will
        undertake a generic proceeding to look broadly at our pipeline certificate policies. I
        believe this review should include both our needs determination and our environmental
        review of proposed projects. Today’s order highlights the issue of how pipeline
        developers engage with landowners, which I believe should also be explored in the
        upcoming generic proceeding. For now, I will continue to take a case-by-case approach
        to pipeline applications, carefully applying the existing law that governs our certificate
        process to the factual record developed in each case. In this case, that review led me to
        conclude that the proposed pipeline is in the public interest.

               For these reasons, I respectfully concur.




               ________________________
               Cheryl A. LaFleur
               Commissioner




        contacts with federal, state, and local agencies, as well as with individual members of the
        public.”
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                                UNITED STATES OF AMERICA
                         FEDERAL ENERGY REGULATORY COMMISSION



        PennEast Pipeline Company, LLC                              Docket No. CP15-558-000


                                         (Issued January 19, 2018)


        CHATTERJEE, Commissioner, concurring:

               I concur in this order and agree with granting a certificate of public convenience
        and necessity to PennEast, authorizing it to construct and operate the proposed PennEast
        Project, subject to the conditions in the order. I believe a clear need has been
        demonstrated for the project. PennEast has executed long-term, firm precedent
        agreements with 12 shippers for approximately 90 percent of the project’s capacity. This
        additional gas infrastructure will provide additional natural gas transportation capacity
        into Pennsylvania and New Jersey.

                However, I do have concerns about the order’s impact on landowners. For this
        project, there are incomplete surveys due to lack of access to landowner property. I
        recognize that the rights of landowners are important, and do not take their concerns
        lightly. Under section 7 of the Natural Gas Act, once the Commission grants a
        certificate, a certificate holder is authorized to acquire the necessary land or property to
        construct the approved facilities by exercising the right of eminent domain if it cannot
        acquire the easement by an agreement with the landowner. It is important that the
        Commission have as much data as possible on which to base a determination that has
        such a momentous effect.

                I am supporting the project despite these concerns, because I believe the
        Commission has sufficient information in the record on which to make its decision – the
        certificate application and supplements, information developed through Commission
        staff’s data requests, field investigations, the scoping process, literature research,
        alternatives analysis, and contacts with federal, state, and local agencies, and individual
        members of the public. Additionally, the order imposes conditions requiring the filing of
        additional environmental information for review and approval once survey access is
        obtained.
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               But I would like to encourage pipeline companies and landowners to work with
        the Commission to maximize engagement and minimize the impacts on landowners
        going forward. I believe that a cooperative process leads to the best results for all
        stakeholders.

              For these reasons, I respectfully concur.



                                                              ___________________________
                                                              Neil Chatterjee, Commissioner
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                                     UNITED STATES OF AMERICA
                              FEDERAL ENERGY REGULATORY COMMISSION


        PennEast Pipeline Company, LLC                            Docket No.       CP15-558-000


                                         (Issued January 19, 2018)


        GLICK, Commissioner, dissenting:
                I respectfully dissent from today’s order because I believe that the record in this
        proceeding fails to demonstrate that the PennEast Project satisfies the requirements for a
        certificate of public convenience and necessity under the Natural Gas Act. Section 7 of
        the Natural Gas Act requires that, before issuing a certificate for new pipeline
        construction, the Commission find both a need for the pipeline and that, on balance, the
        pipeline’s benefits outweigh its harms.1 I disagree with the Commission’s conclusion
        that the PennEast Project meets these standards.
               In today’s order, the Commission relies exclusively on the existence of precedent
        agreements with shippers to conclude that the PennEast Project is needed.2 Pursuant to
        these agreements, PennEast’s affiliates hold more than 75 percent of the pipeline’s
        subscribed capacity.3 While I agree that precedent and service agreements are one of
        several measures for assessing the market demand for a pipeline, 4 contracts among

               1
                   15 U.S.C. § 717f (2012).
               2
                PennEast Pipeline Company, LLC, 162 FERC ¶ 61,053, at P 27 (2018)
        (explaining that “it is current Commission policy to not look beyond precedent or service
        agreements to make judgments about the needs of individual shippers”); id. P 29
        (“Where, as here, it is demonstrated that specific shippers have entered into precedent
        agreements for project service, the Commission places substantial reliance on those
        agreement to find that the project is needed.”).
               3
                   Id. P 6.
               4
                 Certification of New Interstate Natural Gas Pipeline Facilities, 88 FERC
        ¶ 61,227, 61,747 (1999) (Certificate Policy Statement) (“[T]he Commission will consider
        all relevant factors reflecting on the need for the project. These might include, but would
        not be limited to, precedent agreements, demand projections, potential cost savings to

        (continued ...)
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        affiliates may be less probative of that need because they are not necessarily the result of
        an arms-length negotiation.5 By itself, the existence of precedent agreements that are in
        significant part between the pipeline developer and its affiliates is insufficient to carry the
        developer’s burden to show that the pipeline is needed.
                Under these circumstances, I believe that the Commission must consider
        additional evidence regarding the need for the pipeline. As the Commission explained in
        the Certificate Policy Statement, this additional evidence might include, among other
        things, projections of the demand for natural gas, analyses of the available pipeline
        capacity, and an assessment of the cost savings that the proposed pipeline would provide
        to consumers.6 The Commission, however, does not rely on any such evidence in finding
        that there is a need for the PennEast Project.7 Accordingly, I do not believe that the
        Commission’s order properly concludes that the PennEast Project is needed.
               In addition to determining the need for a pipeline, the Natural Gas Act requires the
        Commission to find that, on balance, the pipeline’s benefits outweigh its harms. This
        includes weighing the risk of harm to the environment, landowners, and communities, as
        well as public safety more generally.8 And where, as in this proceeding, there is limited
        evidence of the need for the proposed project, it is incumbent on the Commission to
        engage in an especially searching review of the project’s potential harms to ensure that

        consumers, or a comparison of projected demand with the amount of capacity currently
        serving the market.”).
               5
                   Certificate Policy Statement at 61,744.
               6
                   Id. at 61,747.
               7
               Indeed, the Commission concludes that “the fact that 6 of the 12 shippers on the
        PennEast Project are affiliated with the project’s sponsors does not require the
        Commission to look behind the precedent agreements to evaluate project need.”
        PennEast Pipeline Company, LLC, 162 FERC ¶ 61,053 at P 33.
               8
                 As the United States Court of Appeals for the District of Columbia Circuit has
        explained, “[t]he broad public interest standards in the Commission’s enabling legislation
        are limited to ‘the purposes that Congress had in mind when it enacted this legislation.’”
        Pub. Utils. Comm’n of Cal. v. FERC, 900 F.2d 269, 281 (D.C. Cir. 1990) (quoting
        NAACP v. FERC, 425 U.S. 662, 670 (1976)). The Court explained that, for the Natural
        Gas Act, these purposes include “‘encourag[ing] the orderly development of plentiful
        supplies of . . . natural gas at reasonable prices’” as well as “‘conservation,
        environmental, and antitrust issues.’” Id. (quoting NAACP, 425 U.S. at 670 n.6).
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        the project is in fact in the public interest. In this case, PennEast’s certificate application
        lacks evidence that I believe is important to making the public interest determination.9
                The Commission addresses this lack of evidence by conditionally granting the
        certificate, subject to PennEast’s compliance with the environmental conditions. I
        recognize that the courts have upheld the Commission’s authority to issue conditional
        certificates. Nevertheless, doing so comes with significant consequences for landowners
        whose properties lie in the path of the proposed pipeline. Although the certificate is
        conditional, it gives the pipeline developer the authority to exercise eminent domain and
        condemn land as needed to develop the pipeline.10 In my view, Congress did not intend
        for the Commission to issue certificates so that certificate holders may use eminent
        domain to acquire the information needed to determine whether the pipeline is in the
        public interest.11 Further, under the Natural Gas Act, this eminent domain authority is

               9
                For instance, 68 percent of the project alignment in New Jersey has yet to be
        surveyed for the existence of historic and cultural resources. PennEast Pipeline
        Company, LLC, 162 FERC ¶ 61,053 at P 172. In addition, PennEast has not yet
        completed the geotechnical borings work needed to ensure that the environmental
        impacts of planned horizontal directional drilling will be adequately minimized. Id. P
        120.
               10
                  15 U.S.C. § 717f(h) (2012). State supreme courts, including New Jersey’s and
        Pennsylvania’s, have long recognized that the power of eminent domain is a harsh and
        extraordinary power that should be strictly construed. See Levin v. Twp. Comm. of Twp.
        of Bridgewater, 274 A.2d 1, 26 (N.J. 1971) (“Where . . . property is forcibly taken from
        one party for the purpose of being transferred to another, thereby excluding the consent
        of the owner and excluding all other prospective ultimate purchasers and developers
        except the one selected by the municipality, the facts which allegedly give rise to that
        municipal power should be closely scrutinized.”); Woods v. Greensboro Nat. Gas Co., 54
        A. 470, 470-72 (Pa. 1903) (“The exercise of the right of eminent domain, whether
        directly by the state or its authorized grantee, is necessarily in derogation of private right,
        and the rule in that case is that the authority is to be strictly construed.” (internal citations
        omitted)); see also Harvey v. Aurora & G. Ry. Co., 51 N.E. 163, 166 (Ill. 1898) (similar);
        Chesapeake & O. Ry. Co. v. Walker, 40 S.E. 633, 636 (Va. 1902) (similar); City of Little
        Rock v. Sawyer, 309 S.W.2d 30, 36 (Ark. 1958) (similar); La. Power & Light Co. v.
        Lasseigne, 257 La. 72, 89 (1970) (similar).
               11
                 See, e.g., Walker v. Gateway Pipeline Co., 601 So. 2d 970, 975 (Ala. 1992)
        (explaining that section 7(h) of the Natural Gas Act addresses eminent domain needed for
        the “actual construction of facilities, not entries that may take place prior to such
        construction and in preparation for acquiring a certificate of public convenience and
        necessity from the FERC”).
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        not limited to the extent needed to complete the surveys and other assessments used to
        satisfy the conditions imposed in the Commission’s order. As a result, there will not
        necessarily be any restriction on a pipeline developer’s ability to exercise eminent
        domain while the Commission waits to confirm that the pipeline is in the public interest.

                I recognize that part of the reason that the record in this proceeding is incomplete
        is that landowners have denied PennEast access to their land for the purpose of
        conducting the necessary studies and assessments. However, the question whether
        landowners should be required to provide pipeline developers with access to their
        property for the purpose of determining whether it is suitable for a proposed pipeline is
        one that is and should be left to the states to decide. The Commission should not use the
        pipeline certification process as an end run around states and landowners that choose not
        to grant access to their property before a certificate is issued.12
               For these reasons, I respectfully dissent.


               _______________________
               Richard Glick
               Commissioner




               12
                 Some states allow prospective interstate pipeline companies to rely on state law
        to access private property for surveying prior to obtaining a certificate of public
        convenience and necessity. See, e.g., Texas E. Transmission, LP v. Barack, 2014 WL
        1408058, at *3 (S.D. Ohio Apr. 11, 2014) (granting a pipeline company access under
        Ohio law to a property for purpose of surveying, appraising, and conducting any
        necessary examinations ). Other states, including New Jersey and Pennsylvania, do not
        provide pipeline companies this right prior to obtaining a certificate of public
        convenience and necessity from the Commission.
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